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                                        Southern District of Mississippi (Northern (Jackson))
                                      CIVIL DOCKET FOR CASE #: 3:21-cv-00674-KHJ-MTP


 The State of Mississippi, Ex Rel. Lynn Fitch Attorney General v. Eli Lilly and         Date Filed: 10/21/2021
 Company et al                                                                          Jury Demand: Both
 Assigned to: District Judge Kristi H. Johnson                                          Nature of Suit: 890 Other Statutory Actions
 Referred to: Magistrate Judge Michael T. Parker                                        Jurisdiction: U.S. Government Defendant
 Case in other court: Hinds County Chancery Court, 25CH1:21-cv-00738
 Cause: 28:1442 Notice of Removal
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                                                                                     LEAD ATTORNEY
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 Defendant
 CVS Health Corporation                                                  represented by A. Joshua Podoll - PHV
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                                                                                        680 Maine Avenue S.W.
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                                                                                        202-434-5092
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                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Atticus William DeProspo - PHV
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                                                                                     Enu Mainigi - PHV
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                                                                                      Email: emainigi@wc.com
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                                                                                      J. Cal Mayo , Jr.
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                                                                                      Katherine K. Smith
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                                                                                      601-965-1900
                                                                                      Fax: 601-965-1901
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                                                                                      TERMINATED: 12/03/2021
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sarah Katherine Embry
                                                                                      MAYO MALLETTE, PLLC
                                                                                      P. O. Box 1456
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                                                                                      662/236-0055
                                                                                      Fax: 662/236-0035
                                                                                      Email: kembry@mayomallette.com
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 Defendant
 CVS Pharmacy, Inc.                                                      represented by Atticus William DeProspo - PHV
 TERMINATED: 08/29/2022                                                                 (See above for address)
                                                                                        LEAD ATTORNEY
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                                                                                     R. Kennon Poteat - PHV , III
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                                                                                     Sarah Katherine Embry
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 Defendant
 Caremark RX, L.L.C.                                                     represented by A. Joshua Podoll - PHV
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
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                                                                                     Atticus William DeProspo - PHV
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                                                                                     Sarah Katherine Embry
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 Defendant
 Caremark PCS Health, L.L.C.                                             represented by A. Joshua Podoll - PHV
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
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 Defendant
 Caremark, L.L.C.                                                        represented by A. Joshua Podoll - PHV
                                                                                        (See above for address)
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                                                                                     J. Cal Mayo , Jr.
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                                                                                       Katherine K. Smith
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                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sarah Katherine Embry
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Defendant
 Unitedhealth Group, Inc.                                                represented by Brian D. Boone - PHV
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                                                                                       Kelley Connolly Barnaby - PHV
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                                                                                        San Francisco, CA 94105
                                                                                        415-243-1000
                                                                                        Fax: 415-243-1001
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                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Roy D. Campbell , III
                                                                                        BRADLEY ARANT BOULT CUMMINGS, LLP -
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 Defendant
 Optum, Inc.                                                             represented by Brian D. Boone - PHV
 TERMINATED: 08/15/2022                                                                 (See above for address)
                                                                                        LEAD ATTORNEY
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                                                                                        D. Andrew Hatchett - PHV
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                                                                                        Elizabeth Broadway Brown - PHV
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                                                                                        Jean E. Richmann - PHV
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                                                                                        Kelley Connolly Barnaby - PHV
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                                                                                        Lane Zuraw - PHV
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                                                                                        Roy D. Campbell , III
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
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 Defendant
 Optumrx Inc.                                                            represented by Brian D. Boone - PHV
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        PRO HAC VICE

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                                                                                     D. Andrew Hatchett - PHV
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                                                                                     Elizabeth Broadway Brown - PHV
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                                                                                     Jean E. Richmann - PHV
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                                                                                     Kelley Connolly Barnaby - PHV
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                                                                                     Lane Zuraw - PHV
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                                                                                     Roy D. Campbell , III
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                                                                                     Jonathan M. Barnes
                                                                                     BRADLEY ARANT BOULT CUMMINGS, LLP -
                                                                                     Jackson
                                                                                     P.O. Box 1789
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                                                                                     Jackson, MS 39215-1789
                                                                                     601-948-8000
                                                                                     Email: jbarnes@bradley.com
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 OptumInsight, Inc.                                                      represented by Roy D. Campbell , III
 TERMINATED: 08/15/2022                                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Defendant
 OptumRx Holdings, LLC                                                   represented by Roy D. Campbell , III
 TERMINATED: 08/15/2022                                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Defendant
 Medco Health Solutions, Inc.                                            represented by Jason R. Scherr - PHV
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Lindsey Titus Levy - PHV
                                                                                     (See above for address)
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                                                                                           Stephanie M. Rippee
                                                                                           (See above for address)
                                                                                           ATTORNEY TO BE NOTICED


  Date Filed        #   Docket Text
  10/21/2021         1 NOTICE OF REMOVAL by ESI Mail Pharmacy Services, Inc., Express Scripts Pharmacy, Inc., Express Scripts, Inc.
                       from Hinds County Chancery Court, case number 25CH1:21-cv-00738. ( Filing fee $ 402 receipt number AMSSDC-
                       4687868)

                        If the complete state court record is not attached as an Exhibit to the Petition for Removal, pursuant to Rule L.U.Civ.R.
                        5(b): within 14 days removing party must electronically file the entire state court record as a single filing; and all parties
                        shall, within fourteen days after the Case Management Conference, file as separate docket items any unresolved motions
                        that were filed in state court which they wish to advance. (Attachments: # 1 Exhibit A - Department of Defense Contract,
                        Part 1, # 2 Exhibit A - Department of Defense Contract, Part 2, # 3 Exhibit A - Department of Defense Contract, Part 3, #
                        4 Exhibit A - Department of Defense Contract, Part 4, # 5 Exhibit B - Second Amended Complaint, # 6 Civil Cover Sheet)
                        (KNS) (Entered: 10/21/2021)
  10/21/2021         2 ANSWER to Complaint Answer to Second Amended Complaint by ESI Mail Pharmacy Services, Inc., Express Scripts
                       Pharmacy, Inc., Express Scripts, Inc..(Rippee, Stephanie) (Entered: 10/21/2021)
  10/21/2021         3 Corporate Disclosure Statement by ESI Mail Pharmacy Services, Inc., Express Scripts Pharmacy, Inc., Express Scripts,
                       Inc. identifying Corporate Parent CIGNA Corporation for ESI Mail Pharmacy Services, Inc., Express Scripts Pharmacy,
                       Inc., Express Scripts, Inc.. (Rippee, Stephanie) (Entered: 10/21/2021)
  10/26/2021         4 NOTICE of Appearance by Christopher D. Morris on behalf of Novo Nordisk Inc. (Morris, Christopher) (Entered:
                       10/26/2021)
  10/27/2021         5 NOTICE of Appearance by R. David Kaufman on behalf of Sanofi-Aventis U.S. LLC (Kaufman, R.) (Entered:
                       10/27/2021)
  10/27/2021         6 NOTICE of Appearance by Martin Patrick McDowell on behalf of Sanofi-Aventis U.S. LLC (McDowell, Martin)
                       (Entered: 10/27/2021)
  10/27/2021         7 Unopposed MOTION for Extension of Time to File Answer by CVS Health Corporation, CVS Pharmacy, Inc., Caremark
                       PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C., Eli Lilly and Company, Evernorth Health, Inc., Express
                       Scripts Administrators, LLC, Novo Nordisk Inc., Optum, Inc., Optumrx Inc., Sanofi-Aventis U.S. LLC, Unitedhealth
                       Group, Inc. (Kaufman, R.) (Entered: 10/27/2021)
  10/27/2021            TEXT ONLY ORDER granting 7 Unopposed Motion for Extension of Time to Answer r. CVS Health Corporation answer
                        due 11/11/2021; CVS Pharmacy, Inc. answer due 11/11/2021; Caremark PCS Health, L.L.C. answer due 11/11/2021;
                        Caremark RX, L.L.C. answer due 11/11/2021; Caremark, L.L.C. answer due 11/11/2021; Eli Lilly and Company answer
                        due 11/11/2021; Evernorth Health, Inc. answer due 11/11/2021; Express Scripts Administrators, LLC answer due
                        11/11/2021; Novo Nordisk Inc. answer due 11/11/2021; Optum, Inc. answer due 11/11/2021; Optumrx Inc. answer due
                        11/11/2021; Sanofi-Aventis U.S. LLC answer due 11/11/2021; Unitedhealth Group, Inc. answer due 11/11/2021. No
                        further written order will issue. Signed by Magistrate Judge Michael T. Parker on October 27, 2021 (KPM) (Entered:
                        10/27/2021)
  10/27/2021         8 NOTICE Supplemental Notice of Removal by Caremark PCS Health, L.L.C. re 1 Notice of Removal,,,, (Attachments: # 1
                       Exhibit A - Exhibit)(Mayo, J.) (Entered: 10/27/2021)
  10/27/2021         9 Corporate Disclosure Statement by Caremark PCS Health, L.L.C. (Mayo, J.) (Entered: 10/27/2021)
  10/28/2021       10 NOTICE of Appearance by J. Cal Mayo, Jr on behalf of CVS Health Corporation, CVS Pharmacy, Inc., Caremark PCS
                      Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C. (Mayo, J.) (Entered: 10/28/2021)
  10/28/2021        11 NOTICE of Appearance by Katherine K. Smith on behalf of CVS Health Corporation, CVS Pharmacy, Inc., Caremark
                       PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C. (Smith, Katherine) (Entered: 10/28/2021)
  10/28/2021       12 NOTICE of Appearance by Breanna F.G. Young on behalf of CVS Health Corporation, CVS Pharmacy, Inc., Caremark
                      PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C. (Young, Breanna) (Entered: 10/28/2021)
  10/28/2021       13 Corporate Disclosure Statement by Sanofi-Aventis U.S. LLC identifying Corporate Parent Sanofi for Sanofi-Aventis U.S.
                      LLC. (McDowell, Martin) (Entered: 10/28/2021)
  10/29/2021       14 MOTION for Patrick A. Harvey to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4694051) by ESI
                      Mail Pharmacy Services, Inc., Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy,
                      Inc., Express Scripts, Inc. (Attachments: # 1 Attachment DC Bar Certificate of Good Standing, # 2 Attachment Additional
                      Clients)(Rippee, Stephanie) (Entered: 10/29/2021)
  10/29/2021       15 MOTION for Jason R. Scherr to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4694117) by ESI
                      Mail Pharmacy Services, Inc., Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy,


https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?14080311768598-L_1_0-1                                                                            17/32
5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
                                           Document      1-8District
                                                  LIVE - U.S.  Filed    05/09/23
                                                                     Court:              Page District
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                        Inc., Express Scripts, Inc. (Attachments: # 1 Attachment DC Bar Certificate of Good Standing, # 2 Attachment Additional
                        Clients)(Rippee, Stephanie) (Entered: 10/29/2021)
  10/29/2021       16 State Court Record by Defendants ESI Mail Pharmacy Services, Inc., Express Scripts Pharmacy, Inc., Express Scripts,
                      Inc. Volumes 7 (Attachments: # 1 Attachment State Court Docket Report, # 2 Attachment Complaint, # 3 Attachment First
                      Amended Complaint, # 4 Attachment Summonses, # 5 Attachment Second Amended Complaint, # 6 Attachment Notices
                      of Appearance and Summonses, # 7 Attachment Notice of Filing of Notice of Removal (with Exhibits))(Rippee,
                      Stephanie) (Entered: 10/29/2021)
  10/29/2021            TEXT ONLY ORDER granting 14 Motion to Appear Pro Hac Vice; granting 15 Motion to Appear Pro Hac Vice. Patrick
                        A. Harvey and Jason R. Scherr are hereby admitted pro hac vice upon registering for electronic filing. No further written
                        order will issue. Signed by Magistrate Judge Michael T. Parker on October 29, 2021 (KPM) (Entered: 10/29/2021)
  10/29/2021       17 Joinder in Document by CVS Health Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX,
                      L.L.C., Caremark, L.L.C. to 16 State Court Record, filed by Express Scripts, Inc., ESI Mail Pharmacy Services, Inc.,
                      Express Scripts Pharmacy, Inc. (Smith, Katherine) (Entered: 10/29/2021)
  11/04/2021       18 Corporate Disclosure Statement by Novo Nordisk Inc. identifying Corporate Parent Novo Nordisk A/S, Other Affiliate
                      Novo Nordisk US Holdings, Inc., Other Affiliate Novo Nordisk US Commercial Holdings, Inc. for Novo Nordisk Inc..
                      (Morris, Christopher) (Entered: 11/04/2021)
  11/10/2021       19 MOTION to Extend to Answer or Otherwise Respond Deadline Unopposed Motion to Extend Deadline to Answer or
                      Otherwise Respond, MOTION for Extension of Time to File Answer by CVS Health Corporation, CVS Pharmacy, Inc.,
                      Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C., Eli Lilly and Company, Evernorth Health, Inc.,
                      Express Scripts Administrators, LLC, Novo Nordisk Inc., Optum, Inc., Optumrx Inc., Sanofi-Aventis U.S. LLC,
                      Unitedhealth Group, Inc. (Rippee, Stephanie) (Entered: 11/10/2021)
  11/10/2021            TEXT ONLY ORDER granting in part and denying in part 19 MOTION to Extend Deadline to Answer or Otherwise
                        Respond. Movants are hereby granted additional time to answer. Said answers are due on or before 12/10/21. All other
                        relief requested in the motion is hereby denied. No further written order will issue. Signed by Magistrate Judge Michael T.
                        Parker on November 10, 2021 (KPM) (Entered: 11/10/2021)
  11/17/2021       20 MOTION for Andrew Yaphe to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4708390) by Novo
                      Nordisk Inc. (Attachments: # 1 Certificate of Good Standing - California)(Morris, Christopher) (Entered: 11/17/2021)
  11/17/2021       21 MOTION for James P. Rouhandeh to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4708395) by
                      Novo Nordisk Inc. (Attachments: # 1 Certificate of Good Standing - New York)(Morris, Christopher) (Entered:
                      11/17/2021)
  11/17/2021       22 MOTION for Neal A. Potischman to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4708405) by
                      Novo Nordisk Inc. (Attachments: # 1 Certificate of Good Standing - California, # 2 Certificate of Good Standing - New
                      York)(Morris, Christopher) (Entered: 11/17/2021)
  11/17/2021       23 MOTION for David B. Toscano to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4708414) by
                      Novo Nordisk Inc. (Attachments: # 1 Certificate of Good Standing - District of Columbia, # 2 Certificate of Good
                      Standing - New York)(Morris, Christopher) (Entered: 11/17/2021)
  11/18/2021            TEXT ONLY ORDER granting 20 Motion to Appear Pro Hac Vice; granting 21 Motion to Appear Pro Hac Vice; granting
                        22 Motion to Appear Pro Hac Vice; granting 23 Motion to Appear Pro Hac Vice. Andrew Yaphe, James P. Rouhandeh,
                        Neal A. Potischman, and David B. Toscana are hereby admitted pro hac vice upon registering for electronic filing. No
                        further written order will issue. Signed by Magistrate Judge Michael T. Parker on November 18, 2021 (KPM) (Entered:
                        11/18/2021)
  11/19/2021       24 NOTICE of Appearance by Shirlethia V. Franklin on behalf of Sanofi-Aventis U.S. LLC (Franklin, Shirlethia) (Entered:
                      11/19/2021)
  12/02/2021       25 MOTION to Withdraw as Attorney Kathy K. Smith by CVS Health Corporation, CVS Pharmacy, Inc., Caremark PCS
                      Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C. (Mayo, J.) (Entered: 12/02/2021)
  12/03/2021       26 ORDER granting 25 Motion for Withdrawal of Attorney. Signed by Magistrate Judge Michael T. Parker on December 3,
                      2021. (AS) (Entered: 12/03/2021)
  12/07/2021       27 NOTICE of Appearance by Phillip S. Sykes on behalf of Novo Nordisk Inc. (Sykes, Phillip) (Entered: 12/07/2021)
  12/07/2021       28 NOTICE of Appearance by P. Ryan Beckett on behalf of Novo Nordisk Inc. (Beckett, P.) (Entered: 12/07/2021)
  12/09/2021       29 MOTION for William Coglianese to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4722528) by
                      Sanofi-Aventis U.S. LLC (Attachments: # 1 Exhibit 1 - Certificates of Good Standing)(Kaufman, R.) (Entered:
                      12/09/2021)
  12/09/2021       30 NOTICE of Appearance by Robert L. Gibbs on behalf of Eli Lilly and Company (Gibbs, Robert) (Entered: 12/09/2021)
  12/10/2021       31 MOTION for Andrew A. Kassof to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4723937) by Eli
                      Lilly and Company (Attachments: # 1 Exhibit A - Certificate of Good Standing)(Gibbs, Robert) (Entered: 12/10/2021)
  12/10/2021       32 MOTION for James F. Hurst to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4723947) by Eli
                      Lilly and Company (Attachments: # 1 Exhibit Certificate of Good Standing)(Gibbs, Robert) (Entered: 12/10/2021)

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5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
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  12/10/2021       33 MOTION for Diana M. Watral to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4723957) by Eli
                      Lilly and Company (Attachments: # 1 Exhibit Certificate of Good Standing)(Gibbs, Robert) (Entered: 12/10/2021)
  12/10/2021       34 MOTION for Ryan J. Moorman to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4723968) by Eli
                      Lilly and Company (Attachments: # 1 Exhibit Certificate of Good Standing)(Gibbs, Robert) (Entered: 12/10/2021)
  12/10/2021       35 MOTION to Dismiss for Lack of Personal Jurisdiction Under Fed. R. Civ. P. 12(b)(2) by Eli Lilly and Company, Novo
                      Nordisk Inc., Sanofi-Aventis U.S. LLC (Beckett, P.) (Entered: 12/10/2021)
  12/10/2021       36 MEMORANDUM in Support re 35 MOTION to Dismiss for Lack of Personal Jurisdiction Under Fed. R. Civ. P. 12(b)(2)
                      filed by Eli Lilly and Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC (Beckett, P.) (Entered: 12/10/2021)
  12/10/2021       37 ***ERROR***DISREGARD THIS ENTRY*** MOTION to Dismiss by Eli Lilly and Company (Gibbs, Robert)
                      Modified on 12/10/2021 (KNS). (Entered: 12/10/2021)
  12/10/2021       38 ***ERROR***DISREGARD THIS ENTRY*** MOTION to Dismiss by Eli Lilly and Company, Novo Nordisk Inc.,
                      Sanofi-Aventis U.S. LLC (Gibbs, Robert) Modified on 12/13/2021 (KNS). (Entered: 12/10/2021)
  12/10/2021       39 MEMORANDUM IN SUPPORT re 41 MOTION to Dismiss filed by Eli Lilly and Company, Novo Nordisk Inc., Sanofi-
                      Aventis U.S. LLC (Gibbs, Robert) Modified on 12/13/2021 (KNS). (Entered: 12/10/2021)
  12/10/2021            DOCKET ANNOTATION as to #s 37 and 38 : Attorney advises that there is an error in this entry, and it should be
                        disregarded. It has been correctly refiled as Doc. 41 . (KNS) Modified on 12/13/2021 (KNS). (Entered: 12/10/2021)
  12/10/2021       40 Corporate Disclosure Statement by Eli Lilly and Company (Gibbs, Robert) (Entered: 12/10/2021)
  12/10/2021       41 MOTION to Dismiss by Eli Lilly and Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC (Gibbs, Robert) (Entered:
                      12/10/2021)
  12/10/2021       42 MOTION to Dismiss for Lack of Jurisdiction (Rule 12(b)(2) Motion to Dismiss the Second Amended Complaint for Lack
                      of Personal Jurisdiction) by Optum, Inc., Optumrx Inc., Unitedhealth Group, Inc. (Campbell, Roy) (Entered: 12/10/2021)
  12/10/2021       43 MEMORANDUM in Support re 42 MOTION to Dismiss for Lack of Jurisdiction (Rule 12(b)(2) Motion to Dismiss the
                      Second Amended Complaint for Lack of Personal Jurisdiction) filed by Optum, Inc., Optumrx Inc., Unitedhealth Group,
                      Inc. (Campbell, Roy) (Entered: 12/10/2021)
  12/10/2021       44 MOTION to Dismiss (PBM Defendants' Motion to Dismiss Second Amended Complaint for Failure to State A Claim
                      Upon Which Relief Can Be Granted) by CVS Health Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C.,
                      Caremark RX, L.L.C., Caremark, L.L.C., ESI Mail Pharmacy Services, Inc., Evernorth Health, Inc., Express Scripts
                      Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc., Optum, Inc., Optumrx Inc., Unitedhealth
                      Group, Inc. (Campbell, Roy) (Entered: 12/10/2021)
  12/10/2021       45 MEMORANDUM in Support re 44 MOTION to Dismiss (PBM Defendants' Motion to Dismiss Second Amended
                      Complaint for Failure to State A Claim Upon Which Relief Can Be Granted) filed by CVS Health Corporation, CVS
                      Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C., ESI Mail Pharmacy Services,
                      Inc., Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc.,
                      Optum, Inc., Optumrx Inc., Unitedhealth Group, Inc. (Campbell, Roy) (Entered: 12/10/2021)
  12/13/2021            TEXT ONLY ORDER granting 29 Motion to Appear Pro Hac Vice; granting 31 Motion to Appear Pro Hac Vice; granting
                        32 Motion to Appear Pro Hac Vice; granting 33 Motion to Appear Pro Hac Vice; granting 34 Motion to Appear Pro Hac
                        Vice. William Coglianese, Andrew A. Kassof, James F. Hurst, Diana M. Watral, and Ryan J. Moorman are hereby
                        admitted pro hac vice upon registering for electronic filing. No further written order will issue. Signed by Magistrate
                        Judge Michael T. Parker on December 13, 2021 (KPM) (Entered: 12/13/2021)
  12/13/2021       46 NOTICE of Appearance by Sarah Katherine Embry on behalf of CVS Health Corporation, CVS Pharmacy, Inc.,
                      Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C. (Embry, Sarah) (Entered: 12/13/2021)
  12/14/2021       47 Corporate Disclosure Statement by Optum, Inc., Optumrx Inc., Unitedhealth Group, Inc. (Campbell, Roy) (Entered:
                      12/14/2021)
  12/14/2021       48 DEMAND for Trial by Jury by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Liston, William) (Entered:
                      12/14/2021)
  12/15/2021       49 ORDER STAYING DISCOVERY AND DISCLOSURE REQUIREMENTS. Signed by Magistrate Judge Michael T.
                      Parker on December 15, 2021. (AS) (Entered: 12/15/2021)
  12/16/2021       50 MOTION for Extension of Time to File Response/Reply To Motions To Dismiss by The State of Mississippi, Ex Rel.
                      Lynn Fitch Attorney General (Liston, William) (Entered: 12/16/2021)
  12/16/2021       51 ORDER granting 50 Motion for Extension of Time to File Response/Reply. Responses due by 1/18/2022. Replies due by
                      1/25/2022. Signed by District Judge Kristi H. Johnson on 12/16/21. (SCD) (Entered: 12/16/2021)
  12/23/2021       52 Corporate Disclosure Statement by CVS Health Corporation, CVS Pharmacy, Inc., Caremark RX, L.L.C., Caremark,
                      L.L.C. (Mayo, J.) (Entered: 12/23/2021)
  12/28/2021       53 MOTION for Kelley Connolly Barnaby to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-
                      4734165) by Optum, Inc., Optumrx Inc., Unitedhealth Group, Inc. (Attachments: # 1 Exhibit A - Client List, continued, #

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5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
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                                                                            Mississippi Southern 20 of 155
                        2 Exhibit B - GA Cert of Good Standing, # 3 Exhibit C - DC Cert of Good Standing)(Campbell, Roy) (Entered:
                        12/28/2021)
  12/28/2021       54 MOTION for Brian D. Boone to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4734166) by
                      Optum, Inc., Optumrx Inc., Unitedhealth Group, Inc. (Attachments: # 1 Exhibit A - Client List, continued, # 2 Exhibit B -
                      GA Cert of Good Standing, # 3 Exhibit C - NC Cert of Good Standing, # 4 Exhibit D - DC Cert of Good Standing)
                      (Campbell, Roy) (Entered: 12/28/2021)
  12/28/2021       55 MOTION for Elizabeth Broadway Brown to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-
                      4734167) by Optum, Inc., Optumrx Inc., Unitedhealth Group, Inc. (Attachments: # 1 Exhibit A - Client List, continued, #
                      2 Exhibit B - GA Cert of Good Standing)(Campbell, Roy) (Entered: 12/28/2021)
  12/28/2021       56 MOTION for Lane Zuraw to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4734168) by Optum,
                      Inc., Optumrx Inc., Unitedhealth Group, Inc. (Attachments: # 1 Exhibit A - Client List, continued, # 2 Exhibit B - CA Cert
                      of Good Standing, # 3 Exhibit C - NY Cert of Good Standing)(Campbell, Roy) (Main Document 56 replaced on
                      12/29/2021) (CO). Modified with saved pdf file on 12/29/2021 (CO). (Entered: 12/28/2021)
  12/29/2021            DOCKET ANNOTATION as to 56 : Any PDF fillable on-line forms once completed should be electronically converted to
                        PDF by printing to the PDF printer. Save the file with an appropriate name in a folder. E-file the electronically converted
                        PDF form, not the form which was filled in and saved. Court staff has made the correction. Attorney is directed to follow
                        this procedure in future filings. (CO) (Entered: 12/29/2021)
  12/29/2021            TEXT ONLY ORDER granting 53 Motion to Appear Pro Hac Vice; granting 54 Motion to Appear Pro Hac Vice; granting
                        55 Motion to Appear Pro Hac Vice; granting 56 Motion to Appear Pro Hac Vice. Kelley Connolly Barnaby, Brian D.
                        Boone, Elizabeth Broadway Brown, and Lane Zuraw are hereby admitted pro hac vice upon registering for electronic
                        filing. No further written order will issue. Signed by Magistrate Judge Michael T. Parker on December 29, 2021 (KPM)
                        (Entered: 12/29/2021)
  01/05/2022       57 MOTION for Joanne Cicala to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4737695) by The
                      State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Attachments: # 1 Attachment Certificate of Good Standing)
                      (Deas, William) (Entered: 01/05/2022)
  01/05/2022       58 MOTION for Josh Wackerly to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4737728) by The
                      State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Attachments: # 1 Attachment Certificate of Good Standing)
                      (Deas, William) (Entered: 01/05/2022)
  01/05/2022            TEXT ONLY ORDER denying 57 Motion to Appear Pro Hac Vice; denying 58 Motion to Appear Pro Hac Vice. The
                        certificates of good standing have expired. The motions are denied without prejudice to movants right to file corrected
                        motions with valid certificates of good standing. No further written order will issue. Signed by Magistrate Judge Michael
                        T. Parker on January 5, 2022 (KPM) (Entered: 01/05/2022)
  01/06/2022       59 Amended MOTION for Josh Wackerly to Appear Pro Hac Vice by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                      General (Attachments: # 1 Attachment Certificate of Good Standing)(Deas, William) (Entered: 01/06/2022)
  01/06/2022       60 Amended MOTION for Joanne Cicala to Appear Pro Hac Vice by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                      General (Attachments: # 1 Attachment Certificate of Good Standing)(Deas, William) (Entered: 01/06/2022)
  01/07/2022       61 MOTION for Theresa C. Martin to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4739254) by
                      Sanofi-Aventis U.S. LLC (Attachments: # 1 Exhibit 1 - Certificates of Good Standing)(Kaufman, R.) (Entered:
                      01/07/2022)
  01/07/2022            TEXT ONLY ORDER granting 59 Amended Motion to Appear Pro Hac Vice; granting 60 Amended Motion to Appear
                        Pro Hac Vice. Josh Wackerly and Joanne Cicala are hereby admitted pro hac vice upon registering for electronic filing.
                        No further written order will issue. Signed by Magistrate Judge Michael T. Parker on January 7, 2022 (KPM) (Entered:
                        01/07/2022)
  01/07/2022            TEXT ONLY ORDER granting 61 Motion to Appear Pro Hac Vice. Theresa C. Martin is hereby admitted pro hac vice
                        upon registering for electronic filing. No further written order will issue. Signed by Magistrate Judge Michael T. Parker
                        on January 7, 2022 (KPM) (Entered: 01/07/2022)
  01/13/2022       62 MOTION for Extension of Time to File Response/Reply as to 39 Memorandum in Support, 36 Memorandum in Support
                      of Motion, 45 Memorandum in Support of Motion,, 44 MOTION to Dismiss (PBM Defendants' Motion to Dismiss
                      Second Amended Complaint for Failure to State A Claim Upon Which Relief Can Be Granted), 43 Memorandum in
                      Support of Motion, 35 MOTION to Dismiss for Lack of Personal Jurisdiction Under Fed. R. Civ. P. 12(b)(2), 41
                      MOTION to Dismiss , 42 MOTION to Dismiss for Lack of Jurisdiction (Rule 12(b)(2) Motion to Dismiss the Second
                      Amended Complaint for Lack of Personal Jurisdiction) by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General
                      (Ellis, Tanya) (Entered: 01/13/2022)
  01/14/2022            TEXT ONLY ORDER granting 62 Motion for Extension of Time to File Response/Reply as to 39 Memorandum in
                        Support, 36 Memorandum in Support of Motion, 45 Memorandum in Support of Motion, 44 MOTION to Dismiss PBM
                        Defendants' Motion to Dismiss Second Amended. NO FURTHER WRITTEN ORDER TO FOLLOW. Signed by District
                        Judge Kristi H. Johnson on 1/14/22. (KJ) (Entered: 01/14/2022)
  01/21/2022       63 ***ERROR***DISREGARD THIS ENTRY*** MOTION for Leave to File Amended Complaint by The State of
                      Mississippi, Ex Rel. Lynn Fitch Attorney General (Attachments: # 1 Exhibit Third Amended Complaint)(Ellis, Tanya)

https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?14080311768598-L_1_0-1                                                                           20/32
5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
                                           Document      1-8District
                                                  LIVE - U.S.  Filed    05/09/23
                                                                     Court:              Page District
                                                                            Mississippi Southern 21 of 155
                        Modified on 1/25/2022 (KNS). (Entered: 01/21/2022)
  01/21/2022       64 MOTION For Court Order Allowing Specific Allegations In The Amended Complaint by The State of Mississippi, Ex
                      Rel. Lynn Fitch Attorney General (Ellis, Tanya) (Entered: 01/21/2022)
  01/25/2022       65 MOTION for Leave to File Amended Complaint by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General
                      (Attachments: # 1 Exhibit Third Amended Complaint)(Ellis, Tanya) (Entered: 01/25/2022)
  01/25/2022            DOCKET ANNOTATION as to # 63 : Attorney advises that there is an error in this entry, and it should be disregarded. It
                        has been correctly refiled as Doc. 65 . (KNS) (Entered: 01/25/2022)
  02/04/2022       66 MOTION for Extension of Time to File Response/Reply as to 64 MOTION For Court Order Allowing Specific
                      Allegations In The Amended Complaint , 65 MOTION for Leave to File Amended Complaint by CVS Health
                      Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C. (Mayo, J.)
                      (Entered: 02/04/2022)
  02/07/2022       67 MOTION for Atticus William DeProspo to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-
                      4760097) by CVS Health Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C.,
                      Caremark, L.L.C. (Attachments: # 1 Exhibit A - Additional Clients, # 2 Exhibit B - NY Certificate of Good Standing, # 3
                      Exhibit C - AL Certificate of Good Standing, # 4 Exhibit D - DC Certificate of Good Standing)(Mayo, J.) (Entered:
                      02/07/2022)
  02/07/2022            TEXT ONLY ORDER granting 67 Motion to Appear Pro Hac Vice. Atticus William DeProspo is hereby admitted pro hac
                        vice upon completion of the registration procedures found on the Court's website and at the following link:
                        https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                        Michael T. Parker on February 7, 2022 (KPM) (Entered: 02/07/2022)
  02/07/2022            TEXT ONLY ORDER granting 66 Motion. The deadline to respond to the Motion for Order Allowing Specific
                        Allegations 64 and Motion for Leave to Amend 65 is extended to 2/10/2022. No further written order will issue. Signed
                        by Magistrate Judge Michael T. Parker on February 7, 2022. (AS) (Entered: 02/07/2022)
  02/10/2022       68 MOTION to Extend Answer / Response Deadline to the State's Third Amended Complaint by CVS Health Corporation,
                      CVS Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C., ESI Mail Pharmacy
                      Services, Inc., Eli Lilly and Company, Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts
                      Pharmacy, Inc., Express Scripts, Inc., Novo Nordisk Inc., Optum, Inc., Optumrx Inc., Sanofi-Aventis U.S. LLC,
                      Unitedhealth Group, Inc. (Mayo, J.) (Entered: 02/10/2022)
  02/11/2022       69 ORDER granting 64 Plaintiff's Motion for Order Allowing Specific Allegations in the Amended Complaint; granting 65
                      Plaintiff's Motion for Leave to Amend; granting 68 Defendants' Unopposed Motion to Extend Deadline to Answer or
                      Otherwise Respond. Signed by Magistrate Judge Michael T. Parker on February 10, 2022. (AS) Modified to reflect
                      correct signature date on 2/11/2022 (KNS). (Entered: 02/11/2022)
  02/11/2022       70 MOTION for Craig D. Singer to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4765111) by CVS
                      Health Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C.
                      (Attachments: # 1 Exhibit A - Additional Clients, # 2 Exhibit B - Court Admissions, # 3 Exhibit C - PA Certificate of
                      Good Standing, # 4 Exhibit D - DC Certificate of Good Standing)(Mayo, J.) (Entered: 02/11/2022)
  02/11/2022            TEXT ONLY ORDER granting 70 Motion to Appear Pro Hac Vice. Craig D. Singer is hereby admitted pro hac vice upon
                        completion of the registration procedures found on the Court's website and at the following link:
                        https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                        Michael T. Parker on February 11, 2022 (KPM) (Entered: 02/11/2022)
  02/17/2022       71 AMENDED COMPLAINT against All Defendants, filed by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                      General.(Ellis, Tanya) (Entered: 02/17/2022)
  02/17/2022       72 MOTION For Remand-Related Discovery by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Ellis,
                      Tanya) (Entered: 02/17/2022)
  02/17/2022       73 MEMORANDUM in Support re 72 MOTION For Remand-Related Discovery filed by The State of Mississippi, Ex Rel.
                      Lynn Fitch Attorney General (Ellis, Tanya) (Entered: 02/17/2022)
  02/21/2022       74 WAIVER OF SERVICE Returned Executed by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General.
                      OptumInsight, Inc. waiver sent on 2/17/2022, answer due 4/18/2022. (Ellis, Tanya) (Entered: 02/21/2022)
  02/21/2022       75 WAIVER OF SERVICE Returned Executed by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General. OptumRx
                      Holdings, LLC waiver sent on 2/17/2022, answer due 4/18/2022. (Ellis, Tanya) (Entered: 02/21/2022)
  02/21/2022       76 MOTION for R. Kennon Poteat, III to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4771463) by
                      CVS Health Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C.
                      (Attachments: # 1 Exhibit A - Additional Clients, # 2 Exhibit B - VA Certificate of Good Standing, # 3 Exhibit C - DC
                      Certificate of Good Standing)(Mayo, J.) (Entered: 02/21/2022)
  02/22/2022            TEXT ONLY ORDER granting 76 Motion to Appear Pro Hac Vice. R. Kennon Poteat, III is hereby admitted pro hac vice
                        upon completion of the registration procedures found on the Court's website and at the following link:
                        https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                        Michael T. Parker on February 22, 2022 (KPM) (Entered: 02/22/2022)

https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?14080311768598-L_1_0-1                                                                      21/32
5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
                                           Document      1-8District
                                                  LIVE - U.S.  Filed    05/09/23
                                                                     Court:              Page District
                                                                            Mississippi Southern 22 of 155
  02/25/2022       77 WAIVER OF SERVICE Returned Executed by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General. Medco
                      Health Solutions, Inc. waiver sent on 2/17/2022, answer due 4/18/2022. (Ellis, Tanya) (Entered: 02/25/2022)
  03/03/2022       78 RESPONSE in Opposition re 72 MOTION For Remand-Related Discovery filed by ESI Mail Pharmacy Services, Inc.,
                      Express Scripts Pharmacy, Inc. (Rippee, Stephanie) (Entered: 03/03/2022)
  03/03/2022       79 MEMORANDUM in Opposition re 72 MOTION For Remand-Related Discovery filed by ESI Mail Pharmacy Services,
                      Inc., Express Scripts Pharmacy, Inc. (Rippee, Stephanie) (Entered: 03/03/2022)
  03/08/2022       80 MOTION for Enu Mainigi to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4785106) by CVS
                      Health Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C.
                      (Attachments: # 1 Exhibit A - Additional Clients, # 2 Exhibit B - Additional Courts of Admission, # 3 Exhibit C - MD
                      Certificate of Good Standing, # 4 Exhibit D - DC Certificate of Good Standing)(Mayo, J.) (Entered: 03/08/2022)
  03/09/2022            TEXT ONLY ORDER granting 80 Motion to Appear Pro Hac Vice. Enu Mainigi is hereby admitted pro hac vice upon
                        completion of the registration procedures found on the Court's website and at the following link:
                        https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                        Michael T. Parker on March 9, 2022 (KPM) (Entered: 03/09/2022)
  03/10/2022       81 REPLY to Response to Motion re 72 MOTION For Remand-Related Discovery filed by The State of Mississippi, Ex Rel.
                      Lynn Fitch Attorney General (Ellis, Tanya) (Entered: 03/10/2022)
  03/14/2022       82 NOTICE of Appearance by Caleb A. Pracht-State Gov on behalf of All Plaintiffs (Pracht-State Gov, Caleb) (Entered:
                      03/14/2022)
  03/21/2022       83 MOTION to Dismiss Plaintiff's Third Amended Complaint by Eli Lilly and Company, Novo Nordisk Inc., Sanofi-Aventis
                      U.S. LLC (Gibbs, Robert) (Entered: 03/21/2022)
  03/21/2022       84 MEMORANDUM IN SUPPORT re 83 MOTION to Dismiss Plaintiff's Third Amended Complaint filed by Eli Lilly and
                      Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC (Gibbs, Robert) (Entered: 03/21/2022)
  03/21/2022       85 MOTION to Dismiss for Lack of Jurisdiction UNDER FED.R.CIV.P. 12(b)(2) by Eli Lilly and Company, Novo Nordisk
                      Inc., Sanofi-Aventis U.S. LLC (Beckett, P.) (Entered: 03/21/2022)
  03/21/2022       86 MEMORANDUM in Support re 85 MOTION to Dismiss for Lack of Jurisdiction UNDER FED.R.CIV.P. 12(b)(2) filed by
                      Eli Lilly and Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC (Beckett, P.) (Entered: 03/21/2022)
  03/21/2022       87 MOTION to Dismiss for Lack of Jurisdiction (Rule 12(b)(2) Motion to Dismiss the Third Amended Complaint for Lack of
                      Personal Jurisdiction) by Optum, Inc., OptumInsight, Inc., OptumRx Holdings, LLC, Unitedhealth Group, Inc.
                      (Campbell, Roy) (Entered: 03/21/2022)
  03/21/2022       88 MEMORANDUM in Support re 87 MOTION to Dismiss for Lack of Jurisdiction (Rule 12(b)(2) Motion to Dismiss the
                      Third Amended Complaint for Lack of Personal Jurisdiction) filed by Optum, Inc., OptumInsight, Inc., OptumRx
                      Holdings, LLC, Unitedhealth Group, Inc. (Campbell, Roy) (Entered: 03/21/2022)
  03/21/2022       89 MOTION to Dismiss (PBM Defendants' Motion to Dismiss the Third Amended Complaint for Failure to State A Claim
                      Upon Which Relief Can Be Granted) by CVS Health Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C.,
                      Caremark RX, L.L.C., Caremark, L.L.C., ESI Mail Pharmacy Services, Inc., Evernorth Health, Inc., Express Scripts
                      Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc., Optum, Inc., OptumInsight, Inc., OptumRx
                      Holdings, LLC, Optumrx Inc., Unitedhealth Group, Inc. (Campbell, Roy) (Entered: 03/21/2022)
  03/21/2022       90 MEMORANDUM in Support re 89 MOTION to Dismiss (PBM Defendants' Motion to Dismiss the Third Amended
                      Complaint for Failure to State A Claim Upon Which Relief Can Be Granted) filed by CVS Health Corporation, CVS
                      Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C., ESI Mail Pharmacy Services,
                      Inc., Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc.,
                      Optum, Inc., OptumInsight, Inc., OptumRx Holdings, LLC, Optumrx Inc., Unitedhealth Group, Inc. (Campbell, Roy)
                      (Entered: 03/21/2022)
  03/22/2022            TEXT ONLY ORDER finding as moot 35 Motion to Dismiss, 41 Motion to Dismiss, 42 Motion to Dismiss for Lack of
                        Jurisdiction, and 44 Motion to Dismiss. These motions no longer address the operative complaint. NO FURTHER
                        WRITTEN ORDER SHALL ISSUE. Signed by District Judge Kristi H. Johnson on 3/22/2022. (ANT) (Entered:
                        03/22/2022)
  03/25/2022       91 MOTION for Leave to File A Corrected Memorandum Supporting Their Rule 12(b)(2) Motion to Dismiss the Third
                      Amended Complaint for Lack of Personal Jurisdiction by Optum, Inc., OptumInsight, Inc., OptumRx Holdings, LLC,
                      Unitedhealth Group, Inc. (Attachments: # 1 Exhibit A (Corrected Memorandum Supporting 12(b)(2) Motion to Dismiss
                      Third Amended Complaint), # 2 Exhibit B (Pages to Corrected Memorandum Reflecting Redlined Changes))(Campbell,
                      Roy) (Entered: 03/25/2022)
  03/28/2022            TEXT ONLY ORDER granting 91 Motion for Leave to File. NO FURTHER WRITTEN ORDER SHALL ISSUE. Signed
                        by District Judge Kristi H. Johnson on 3/28/2022. (ANT) (Entered: 03/28/2022)
  03/28/2022       92 MEMORANDUM in Support re 87 MOTION to Dismiss for Lack of Jurisdiction (Rule 12(b)(2) Motion to Dismiss the
                      Third Amended Complaint for Lack of Personal Jurisdiction) (CORRECTED) filed by Optum, Inc., OptumInsight, Inc.,
                      OptumRx Holdings, LLC, Unitedhealth Group, Inc. (Campbell, Roy) (Entered: 03/28/2022)


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5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
                                           Document      1-8District
                                                  LIVE - U.S.  Filed    05/09/23
                                                                     Court:              Page District
                                                                            Mississippi Southern 23 of 155
  04/15/2022        93 MOTION to Withdraw as Attorney by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Gordon-State Gov,
                       Ta'Shia) (Entered: 04/15/2022)
  04/18/2022             TEXT ONLY ORDER granting 93 Motion to Withdraw as Attorney. Attorney Ta'Shia S. Gordon-State Gov terminated.
                         No further written order will issue. Signed by Magistrate Judge Michael T. Parker on April 18, 2022 (KPM) (Entered:
                         04/18/2022)
  04/20/2022        94 MOTION for Daniel Martin Dockery to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4818831)
                       by CVS Health Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark,
                       L.L.C. (Attachments: # 1 Exhibit A - Additional Clients, # 2 Exhibit B - Additional Courts of Admission, # 3 Exhibit C -
                       NY Certificate of Good Standing, # 4 Exhibit D - DC Certificate of Good Standing)(Embry, Sarah) (Entered: 04/20/2022)
  04/20/2022             TEXT ONLY ORDER granting 94 Motion to Appear Pro Hac Vice. Daniel Martin Dockery is hereby admitted pro hac
                         vice upon completion of the registration procedures found on the Court's website and at the following link:
                         https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                         Michael T. Parker on April 20, 2022 (KPM) (Entered: 04/20/2022)
  04/20/2022        95 RESPONSE in Opposition re 89 MOTION to Dismiss (PBM Defendants' Motion to Dismiss the Third Amended
                       Complaint for Failure to State A Claim Upon Which Relief Can Be Granted) filed by The State of Mississippi, Ex Rel.
                       Lynn Fitch Attorney General (Attachments: # 1 Exhibit Court Order - Kentucky v. Norvo Nordisk, # 2 Exhibit Court
                       Order - Hood v. BASF)(Deas, William) (Entered: 04/20/2022)
  04/20/2022        96 MEMORANDUM in Opposition re 89 MOTION to Dismiss (PBM Defendants' Motion to Dismiss the Third Amended
                       Complaint for Failure to State A Claim Upon Which Relief Can Be Granted) filed by The State of Mississippi, Ex Rel.
                       Lynn Fitch Attorney General (Deas, William) (Entered: 04/20/2022)
  04/20/2022        97 RESPONSE in Opposition re 83 MOTION to Dismiss Plaintiff's Third Amended Complaint filed by The State of
                       Mississippi, Ex Rel. Lynn Fitch Attorney General (Attachments: # 1 Exhibit Court Order - Hood v. Microsoft, # 2 Exhibit
                       Court Order - Hood v. BASF)(Deas, William) (Entered: 04/20/2022)
  04/20/2022        98 MEMORANDUM in Opposition re 83 MOTION to Dismiss Plaintiff's Third Amended Complaint filed by The State of
                       Mississippi, Ex Rel. Lynn Fitch Attorney General (Deas, William) (Entered: 04/20/2022)
  04/20/2022        99 RESPONSE in Opposition re 85 MOTION to Dismiss for Lack of Jurisdiction UNDER FED.R.CIV.P. 12(b)(2) filed by
                       The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Attachments: # 1 Exhibit 1)(Ellis, Tanya) (Entered:
                       04/20/2022)
  04/20/2022       100 MEMORANDUM in Opposition re 85 MOTION to Dismiss for Lack of Jurisdiction UNDER FED.R.CIV.P. 12(b)(2)
                       filed by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Ellis, Tanya) (Entered: 04/20/2022)
  04/20/2022       101 RESPONSE in Opposition re 87 MOTION to Dismiss for Lack of Jurisdiction (Rule 12(b)(2) Motion to Dismiss the Third
                       Amended Complaint for Lack of Personal Jurisdiction) filed by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Attachments: # 1 Exhibit 1)(Ellis, Tanya) (Entered: 04/20/2022)
  04/20/2022       102 MEMORANDUM in Opposition re 87 MOTION to Dismiss for Lack of Jurisdiction (Rule 12(b)(2) Motion to Dismiss
                       the Third Amended Complaint for Lack of Personal Jurisdiction) filed by The State of Mississippi, Ex Rel. Lynn Fitch
                       Attorney General (Ellis, Tanya) (Entered: 04/20/2022)
  05/11/2022       103 Rebuttal re 85 MOTION to Dismiss for Lack of Jurisdiction UNDER FED.R.CIV.P. 12(b)(2) filed by Eli Lilly and
                       Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC (Beckett, P.) (Entered: 05/11/2022)
  05/11/2022       104 Rebuttal re 83 MOTION to Dismiss Plaintiff's Third Amended Complaint filed by Eli Lilly and Company, Novo Nordisk
                       Inc., Sanofi-Aventis U.S. LLC (Gibbs, Robert) (Entered: 05/11/2022)
  05/11/2022       105 REPLY to Response to Motion re 89 MOTION to Dismiss (PBM Defendants' Motion to Dismiss the Third Amended
                       Complaint for Failure to State A Claim Upon Which Relief Can Be Granted) filed by CVS Health Corporation, CVS
                       Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C., ESI Mail Pharmacy Services,
                       Inc., Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc.,
                       Medco Health Solutions, Inc., Optum, Inc., OptumInsight, Inc., OptumRx Holdings, LLC, Optumrx Inc., Unitedhealth
                       Group, Inc. (Rippee, Stephanie) (Entered: 05/11/2022)
  05/11/2022       106 Rebuttal re 87 MOTION to Dismiss for Lack of Jurisdiction (Rule 12(b)(2) Motion to Dismiss the Third Amended
                       Complaint for Lack of Personal Jurisdiction) filed by Optum, Inc., OptumInsight, Inc., OptumRx Holdings, LLC,
                       Unitedhealth Group, Inc. (Campbell, Roy) (Entered: 05/11/2022)
  06/30/2022       107 MOTION to Withdraw as Attorney Lane Zuraw by Optum, Inc., OptumInsight, Inc., OptumRx Holdings, LLC, Optumrx
                       Inc., Unitedhealth Group, Inc. (Campbell, Roy) (Entered: 06/30/2022)
  07/06/2022             TEXT ONLY ORDER granting 107 Motion to Withdraw as Attorney. Attorney Lane Zuraw - PHV terminated. No further
                         written order will issue. Signed by Magistrate Judge Michael T. Parker on July 6, 2022 (KPM) (Entered: 07/06/2022)
  07/06/2022       108 ORDER denying 72 Motion for Remand-Related Discovery. Signed by District Judge Kristi H. Johnson on 7/6/2022.
                       (ANT) (Entered: 07/06/2022)
  07/20/2022       109 MOTION for Jean E. Richmann to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4887372) by
                       Optum, Inc., Optumrx Inc., Unitedhealth Group, Inc. (Attachments: # 1 Attachment State Bar of CA Certificate of Good

https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?14080311768598-L_1_0-1                                                                         23/32
5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
                                           Document      1-8District
                                                  LIVE - U.S.  Filed    05/09/23
                                                                     Court:              Page District
                                                                            Mississippi Southern 24 of 155
                        Standing)(Campbell, Roy) (Entered: 07/20/2022)
  07/20/2022       110 MOTION for D. Andrew Hatchett to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4887387) by
                       Optum, Inc., Optumrx Inc., Unitedhealth Group, Inc. (Attachments: # 1 Attachment State Bar of GA Certificate of Good
                       Standing, # 2 Attachment State Bar of TX Certificate of Good Standing)(Campbell, Roy) (Entered: 07/20/2022)
  07/25/2022            TEXT ONLY ORDER granting 109 Motion to Appear Pro Hac Vice; granting 110 Motion to Appear Pro Hac Vice. Jean
                        E. Richmann and D. Andrew Hatchett are hereby admitted pro hac vice upon completion of the registration procedures
                        found on the Court's website and at the following link: https://www.mssd.uscourts.gov/attorney-admissions-page. No
                        further written order will issue. Signed by Magistrate Judge Michael T. Parker on July 25, 2022 (KPM) (Entered:
                        07/25/2022)
  08/09/2022       111 ORDER denying 83 Motion to Dismiss and denying 85 Motion to Dismiss for Lack of Jurisdiction. Signed by District
                       Judge Kristi H. Johnson on 8/9/2022. (ANT) (Entered: 08/09/2022)
  08/15/2022       112 ORDER granting 87 Motion to Dismiss. Signed by District Judge Kristi H. Johnson on 08/15/2022 (KNS) (Entered:
                       08/15/2022)
  08/22/2022       113 Unopposed MOTION for Extension of Time to File Answer re 71 Amended Complaint by Eli Lilly and Company, Novo
                       Nordisk Inc., Sanofi-Aventis U.S. LLC (Beckett, P.) (Entered: 08/22/2022)
  08/23/2022            TEXT ONLY ORDER granting 113 Manufacturer Defendants' Joint Unopposed Motion for Extension of Time to Answer
                        or Otherwise Plead in Response to the Third Amended Complaint. Eli Lilly and Company answer due 9/9/2022; Novo
                        Nordisk Inc. answer due 9/9/2022; Sanofi-Aventis U.S. LLC answer due 9/9/2022. No further written order will issue.
                        Signed by Magistrate Judge Michael T. Parker on August 23, 2022. (AS) (Entered: 08/23/2022)
  08/29/2022       114 ORDER granting in part and denying in part 89 Motion to Dismiss. Signed by District Judge Kristi H. Johnson on
                       08/29/2022 (KNS) (Entered: 08/29/2022)
  08/31/2022       115 Unopposed MOTION for Extension of Time to File Answer re 71 Amended Complaint by CVS Health Corporation,
                       Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C., ESI Mail Pharmacy Services, Inc., Evernorth
                       Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc., Medco Health
                       Solutions, Inc., Optumrx Inc. (Mayo, J.) (Entered: 08/31/2022)
  09/01/2022            TEXT ONLY ORDER granting 115 Joint Unopposed Motion for Extension of Time to Answer re 71 Amended
                        Complaint. CVS Health Corporation answer due 9/29/2022; Caremark PCS Health, L.L.C. answer due 9/29/2022;
                        Caremark RX, L.L.C. answer due 9/29/2022; Caremark, L.L.C. answer due 9/29/2022; Evernorth Health, Inc. answer due
                        9/29/2022; Express Scripts Administrators, LLC answer due 9/29/2022; Medco Health Solutions, Inc. answer due
                        9/29/2022; Optumrx Inc. answer due 9/29/2022. No further written order will issue. Signed by Magistrate Judge Michael
                        T. Parker on September 1, 2022. (AS) (Entered: 09/01/2022)
  09/09/2022       116 ANSWER to 71 Amended Complaint by Sanofi-Aventis U.S. LLC.(McDowell, Martin) (Entered: 09/09/2022)
  09/09/2022       117 ANSWER to 71 Amended Complaint by Eli Lilly and Company.(Moorman - PHV, Ryan) (Entered: 09/09/2022)
  09/09/2022       118 ANSWER to 71 Amended Complaint by Novo Nordisk Inc..(Beckett, P.) (Entered: 09/09/2022)
  09/14/2022            TEXT ONLY ORDER LIFTING STAY. The Court having ruled on Defendants' Motions to Dismiss, the Court hereby lifts
                        the stay entered via 49 Order. No further written order shall issue. Signed by Magistrate Judge Michael T. Parker on
                        September 14, 2022. (js) (Entered: 09/14/2022)
  09/21/2022       119 MOTION to Withdraw as Attorney by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Pracht-State Gov,
                       Caleb) (Entered: 09/21/2022)
  09/22/2022            TEXT ONLY ORDER granting 119 Motion to Withdraw as Attorney. Attorney Caleb A. Pracht-State Gov terminated. No
                        further written order will issue. Signed by Magistrate Judge Michael T. Parker on September 22, 2022 (KPM) (Entered:
                        09/22/2022)
  09/29/2022       120 ANSWER to 71 Amended Complaint by ESI Mail Pharmacy Services, Inc., Evernorth Health, Inc., Express Scripts
                       Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc., Medco Health Solutions, Inc..(Scherr - PHV,
                       Jason) Modified on 9/30/2022 to replace editable pdf (VM). (Entered: 09/29/2022)
  09/29/2022       121 ANSWER to 71 Amended Complaint by CVS Health Corporation, Caremark PCS Health, L.L.C., Caremark RX, L.L.C.,
                       Caremark, L.L.C..(Embry, Sarah) (Entered: 09/29/2022)
  09/29/2022       122 ANSWER to 71 Amended Complaint (Third) by Optumrx Inc..(Campbell, Roy) (Entered: 09/29/2022)
  09/30/2022       123 MOTION for Ian Hogg to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4947204) by Novo
                       Nordisk Inc. (Attachments: # 1 Attachment Certificate of Good Standing)(Beckett, P.) (Entered: 09/30/2022)
  09/30/2022       124 MOTION for Chui-Lai Cheung to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4947216) by
                       Novo Nordisk Inc. (Attachments: # 1 Attachment Certificate of Good Standing)(Beckett, P.) (Entered: 09/30/2022)
  10/03/2022            TEXT ONLY ORDER granting 123 Motion to Appear Pro Hac Vice; granting 124 Motion to Appear Pro Hac Vice. Ian
                        Hogg and Chui-Lai Cheung are hereby admitted pro hac vice upon completion of the registration procedures found on the
                        Court's website and at the following link: https://www.mssd.uscourts.gov/attorney-admissions-page. No further written
                        order will issue. Signed by Magistrate Judge Michael T. Parker on October 3, 2022 (KPM) (Entered: 10/03/2022)

https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?14080311768598-L_1_0-1                                                                      24/32
5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
                                           Document      1-8District
                                                  LIVE - U.S.  Filed    05/09/23
                                                                     Court:              Page District
                                                                            Mississippi Southern 25 of 155
  10/06/2022            Set Hearings: Telephonic Case Management Conference set for 12/1/2022 9:30 AM before Magistrate Judge Michael T.
                        Parker. Counsel shall dial 888.273.3658, code 1055457 to connect to the call. Confidential settlement memoranda are due
                        on or before 11/23/22. (KPM) (Entered: 10/06/2022)
  10/11/2022            Reset Hearings: Telephonic Case Management Conference RESET for 12/2/2022 9:30 AM before Magistrate Judge
                        Michael T. Parker. Counsel shall dial 888.273.3658, code 1055457 to connect to the call. Confidential settlement
                        memoranda are due on or before 11/23/22. (KPM) (Entered: 10/11/2022)
  10/25/2022       125 NOTICE of Appearance by John Adam Crawford, Jr on behalf of Novo Nordisk Inc. (Crawford, John) (Entered:
                       10/25/2022)
  11/03/2022       126 NOTICE to Take Deposition of Zinc Health Services, LLC by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Gault, Edwin) (Entered: 11/03/2022)
  11/03/2022       127 NOTICE OF INTENT TO SERVE SUBPOENA by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Gault,
                       Edwin) (Entered: 11/03/2022)
  11/04/2022            DOCKET ANNOTATION as to 127 : When filing a notice of intent, pursuant to Fed.R.Civ.P. Rule 45(a)(4), the attorney
                        shall attach a copy of the subpoena as an exhibit to the notice for all party(s) concerned. Furthermore, exhibits should be
                        scanned separately and docketed as properly identified attachments to the main document within the same docket entry.
                        Attorney is directed to follow this procedure in future filings. L.U.Civ.R. 7.(b)(2). (VM) (Entered: 11/04/2022)
  11/07/2022       128 NOTICE of Service of First Set of Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Gault, Edwin) (Entered: 11/07/2022)
  11/08/2022       129 NOTICE of Service of Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Gault,
                       Edwin) (Entered: 11/08/2022)
  11/08/2022       130 Subpoena Returned Executed as to Zinc Health Services, LLC. (Gault, Edwin) (Entered: 11/08/2022)
  11/08/2022       131 Subpoena Returned Executed as to Zinc Health Services, LLC. (Gault, Edwin) (Entered: 11/08/2022)
  11/16/2022       132 NOTICE to Take Deposition of Kevin Wessels by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General
                       (Attachments: # 1 Exhibit Subpoena, # 2 Exhibit Cover Letter)(Gault, Edwin) (Entered: 11/16/2022)
  11/21/2022       133 Subpoena Returned Executed as to Kevin Wessels. (Gault, Edwin) (Entered: 11/21/2022)
  11/21/2022       134 MOTION for Lindsey Levy to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4987709) by ESI
                       Mail Pharmacy Services, Inc., Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy,
                       Inc., Express Scripts, Inc., Medco Health Solutions, Inc. (Rippee, Stephanie) (Entered: 11/21/2022)
  11/22/2022            TEXT ONLY ORDER denying 134 Motion to Appear Pro Hac Vice. The motion is not signed by the resident attorney.
                        See L.U.Civ. R. 83.1(d)(4)(K). The motion is denied without prejudice to movants right to file a corrected motion in
                        conformance with the local rules. No further written order will issue. Signed by Magistrate Judge Michael T. Parker on
                        November 22, 2022 (KPM) (Entered: 11/22/2022)
  11/22/2022       135 MOTION for Lindsey Levy to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-4988660) by ESI
                       Mail Pharmacy Services, Inc., Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy,
                       Inc., Express Scripts, Inc., Medco Health Solutions, Inc. (Rippee, Stephanie) (Entered: 11/22/2022)
  11/22/2022            $100 PHV fee; receipt number AMSSDC-4987709 on 11/21/2022 credited this date. (KNS) (Entered: 11/22/2022)
  11/22/2022            TEXT ONLY ORDER granting 135 Motion to Appear Pro Hac Vice. Lindsey Levy is hereby admitted pro hac vice upon
                        completion of the registration procedures found on the Court's website and at the following link:
                        https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                        Michael T. Parker on November 22, 2022 (KPM) (Entered: 11/22/2022)
  12/02/2022            Minute Entry for proceedings held before Magistrate Judge Michael T. Parker: Telephonic Case Management Conference
                        held on 12/2/2022. A case management order will be entered. PARTICIPANTS: Edwin Gault, Jr., Tanya Ellis, and
                        William Liston, III for Plaintiff; Robert Gibbs and Ryan Moorman for Eli Lilly and Company; Andrew Yaphe and P. Ryan
                        Beckett for Novo Nordisk Inc.; R. David Kaufman, Teresa Martin, Shirlethia Franklin, and Patrick McDowell for Sanofi-
                        Aventis U.S. LLC; Jason Scherr, Patrick Harvey and Stephanie Rippee for Evernorth Health, Inc., Express Scripts, Inc.,
                        Express Scripts Administrators, LLC, ESI Mail Pharmacy Services, Inc., Express Scripts Pharmacy, Inc, and Medco
                        Health Solutions, Inc.; Atticus William DeProspo, Cal Mayo, Jr., Kennon Poteat and Craig Singer for CVB Health
                        Corporation, Caremark RX, L.L.C., Caremark PCS Health, L.L.C., and Carmark, L.L.C.; Brian Boone, Jean Richmann,
                        Roy Campbell and Kelley Barnaby for Optumrx Inc. (KPM) (Entered: 12/02/2022)
  12/02/2022       136 CASE MANAGEMENT ORDER: The parties do not consent; Disclosures due by 12/16/2022; Jury Trial set for a two
                       week term beginning 8/19/2024 before District Judge Kristi H. Johnson; ETT: 20-25 days; Pretrial Conference set for
                       7/18/2024 before District Judge Kristi H. Johnson; Discovery due by 2/15/2024; Motions for Amended Pleadings due by
                       1/6/2023; Motions for Joinder of Parties due by 1/6/2023; Designate Experts Plaintiff Deadline due by 9/15/2023;
                       Designate Experts for Defendant Deadline due by 11/15/2023; Motions due by 3/1/2024; ADR to be completed by
                       discovery deadline. Signed by Magistrate Judge Michael T. Parker on December 2, 2022 (KPM) (Entered: 12/02/2022)
  12/06/2022       137 Joint MOTION to Extend Time to Respond to Plaintiffs First Set of Requests for Production Deadline (UNOPPOSED) by
                       Eli Lilly and Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC (Beckett, P.) (Entered: 12/06/2022)

https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?14080311768598-L_1_0-1                                                                           25/32
5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
                                           Document      1-8District
                                                  LIVE - U.S.  Filed    05/09/23
                                                                     Court:              Page District
                                                                            Mississippi Southern 26 of 155
  12/07/2022            TEXT ONLY ORDER granting 137 Unopposed Motion for Extension of Time to Respond to Plaintiff's First Set of
                        Requests for Production. Eli Lilly and Company, Novo Nordisk Inc., and Sanofi-Aventis U.S. LLC shall respond to
                        Plaintiff's First Set of Requests for Production on or before 12/22/22. No further written order will issue. Signed by
                        Magistrate Judge Michael T. Parker on December 7, 2022 (KPM) (Entered: 12/07/2022)
  12/07/2022       138 NOTICE of Service of Response to Request for Production by Optumrx Inc. (Campbell, Roy) (Entered: 12/07/2022)
  12/07/2022       139 NOTICE of Service of Response to Request for Production by ESI Mail Pharmacy Services, Inc., Evernorth Health, Inc.,
                       Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc. (Rippee, Stephanie) (Entered:
                       12/07/2022)
  12/15/2022       140 Joint MOTION to Extend Submission of Confidentiality Order and ESI Protocol Deadline by All Parties by CVS Health
                       Corporation, Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C., ESI Mail Pharmacy Services, Inc.,
                       Eli Lilly and Company, Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc.,
                       Express Scripts, Inc., Medco Health Solutions, Inc., Novo Nordisk Inc., Optumrx Inc., Sanofi-Aventis U.S. LLC,
                       Unitedhealth Group, Inc. (Beckett, P.) (Entered: 12/15/2022)
  12/16/2022       141 NOTICE of Service of Pre-Discovery Disclosure by Sanofi-Aventis U.S. LLC (McDowell, Martin) (Entered: 12/16/2022)
  12/16/2022       142 NOTICE of Service of Initial Disclosure by Novo Nordisk Inc. (Beckett, P.) (Entered: 12/16/2022)
  12/16/2022            TEXT ONLY ORDER granting 140 Motion to Extend Deadline. The deadline for the parties to submit an ESI protocol
                        and a confidentiality order is extended to 12/22/2022. No further written order shall issue. Signed by Magistrate Judge
                        Michael T. Parker on December 16, 2022. (js) (Entered: 12/16/2022)
  12/16/2022       143 NOTICE of Service of Initial Disclosure by Eli Lilly and Company (Moorman - PHV, Ryan) (Entered: 12/16/2022)
  12/16/2022       144 NOTICE of Service of Rule 26(a)(1) Disclosure by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Ellis,
                       Tanya) (Entered: 12/16/2022)
  12/16/2022       145 NOTICE of Service of Rule 26(a)(1) Initial Disclosure by CVS Health Corporation, Caremark PCS Health, L.L.C.,
                       Caremark RX, L.L.C., Caremark, L.L.C. (Mayo, J.) (Entered: 12/16/2022)
  12/16/2022       146 NOTICE of Service of Initial Disclosure by Optumrx Inc. (Campbell, Roy) (Entered: 12/16/2022)
  12/19/2022       147 NOTICE of Service of Rule 26(a)(1)(A) Initial Disclosure by ESI Mail Pharmacy Services, Inc., Evernorth Health, Inc.,
                       Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc., Medco Health Solutions, Inc.
                       (Rippee, Stephanie) (Entered: 12/19/2022)
  12/19/2022       148 MOTION for A. Joshua Podoll to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-5007739) by CVS
                       Health Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C.
                       (Attachments: # 1 Exhibit A - Additional Clients, # 2 Exhibit B - NY Certificate of Good Standing, # 3 Exhibit C - DC
                       Certificate of Good Standing)(Mayo, J.) (Entered: 12/19/2022)
  12/20/2022            TEXT ONLY ORDER granting 148 Motion to Appear Pro Hac Vice. A. Joshua Podoll is hereby admitted pro hac vice
                        upon completion of the registration procedures found on the Court's website and at the following link:
                        https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                        Michael T. Parker on December 20, 2022 (KPM) (Entered: 12/20/2022)
  12/22/2022       149 NOTICE of Service of Response to Request for Production by Eli Lilly and Company (Moorman - PHV, Ryan) (Entered:
                       12/22/2022)
  12/22/2022       150 NOTICE of Service of Response to Request for Production by Sanofi-Aventis U.S. LLC (McDowell, Martin) (Entered:
                       12/22/2022)
  12/22/2022       151 NOTICE of Service of Response to Request for Production by Novo Nordisk Inc. (Beckett, P.) (Entered: 12/22/2022)
  12/27/2022       152 NOTICE of Appearance by Jonathan M. Barnes on behalf of Optumrx Inc. (Barnes, Jonathan) (Entered: 12/27/2022)
  12/28/2022       153 NOTICE of Service of First Set of Interrogatories by CVS Health Corporation, Caremark PCS Health, L.L.C., Caremark
                       RX, L.L.C. (Embry, Sarah) (Entered: 12/28/2022)
  12/28/2022       154 NOTICE of Service of First Set of Request for Production by CVS Health Corporation, Caremark PCS Health, L.L.C.,
                       Caremark RX, L.L.C. (Embry, Sarah) (Entered: 12/28/2022)
  01/05/2023            Set Hearings: Zoom Conference set for 1/10/2023 9:30 AM before Magistrate Judge Michael T. Parker. (Zoom link
                        provided to all counsel via e-mail) (KPM) (Entered: 01/05/2023)
  01/06/2023       155 Amended ANSWER to Complaint (Third Amended) by ESI Mail Pharmacy Services, Inc., Evernorth Health, Inc., Express
                       Scripts Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc., Medco Health Solutions, Inc..(Rippee,
                       Stephanie) (Entered: 01/06/2023)
  01/06/2023       156 MOTION for Alexander Gazikas to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-5017576) by
                       CVS Health Corporation, CVS Pharmacy, Inc., Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C.
                       (Attachments: # 1 Exhibit A - Additional Clients, # 2 Exhibit B - DC Certificate of Good Standing)(Embry, Sarah)
                       (Entered: 01/06/2023)


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5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
                                           Document      1-8District
                                                  LIVE - U.S.  Filed    05/09/23
                                                                     Court:              Page District
                                                                            Mississippi Southern 27 of 155
  01/09/2023            TEXT ONLY ORDER granting 156 Motion to Appear Pro Hac Vice. Alexander Gazikas is hereby admitted pro hac vice
                        upon completion of the registration procedures found on the Court's website and at the following link:
                        https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                        Michael T. Parker on January 9, 2023 (KPM) (Entered: 01/09/2023)
  01/10/2023            Minute Entry for proceedings held before Magistrate Judge Michael T. Parker: Zoom Conference held on 1/10/2023. The
                        parties addressed disputed provisions of the proposed protective order. While no resolution was reached, the court
                        proposed certain resolutions. The parties shall further confer in an effort to reach an agreement on a proposed protective
                        order. Failing agreement, the parties may address the issues via appropriate motions filed on or before 1/20/2023.
                        PARTICIPANTS: Joanne Cicala, Patricia Beale, William Liston and Tanya Ellis for Plaintiff; Robert Gibbs and Ryan
                        Moorman for Eli Lilly and Company; Andrew Yaphe, Ryan Beckett and Jack Crawford for Novo Nordisk Inc.; Theresa
                        Martin and Patrick McDowell for Sanofi-Aventis U.S. LLC; Jason Scherr, Stephanie Rippee and Patrick Harvey for
                        Evernorth Health, Inc., Express Scripts, Inc., Express Scripts Administrators, LLC, ESI Mail Pharmacy Services, Inc.;
                        Express Scripts Pharmacy, Inc., and Medco Health Solutions, Inc.; Kennon Poteat, Alexander Gazikas and Sarah Embry
                        for CVS Health Corporation, Caremark RX, L.L.C., Caremark PCS Health, L.L.C., and Caremark, L.L.C.; and Liz
                        Brown, Jean Richmann, Kelly Barnaby, and Roy Campbell for Optumrx Inc. (KPM) (Entered: 01/10/2023)
  01/13/2023       157 MOTION for Daniel W. Berens to Appear Pro Hac Vice by Sanofi-Aventis U.S. LLC (Attachments: # 1 Exhibit
                       Certificate of Good Standing)(McDowell, Martin) (Entered: 01/13/2023)
  01/13/2023       158 NOTICE of Service of First Set of Interrogatories by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General
                       (Ellis, Tanya) (Entered: 01/13/2023)
  01/13/2023       159 NOTICE of Service of Second Set of Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Ellis, Tanya) (Entered: 01/13/2023)
  01/17/2023       160 NOTICE of Service of First Set of Interrogatories by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General
                       (Ellis, Tanya) (Entered: 01/17/2023)
  01/17/2023       161 NOTICE of Service of Second Set of Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Ellis, Tanya) (Entered: 01/17/2023)
  01/18/2023            Pro Hac Vice fee paid for Daniel W. Berens receipt number AMSSDC-5024698 $ 100 (McDowell, Martin) (Entered:
                        01/18/2023)
  01/18/2023            TEXT ONLY ORDER granting 157 Motion to Appear Pro Hac Vice. Daniel W. Berens is hereby admitted pro hac vice
                        upon completion of the registration procedures found on the Court's website and at the following link:
                        https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                        Michael T. Parker on January 18, 2023 (KPM) (Entered: 01/18/2023)
  01/18/2023       162 NOTICE of Service of First Set of Interrogatories by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General
                       (Ellis, Tanya) (Entered: 01/18/2023)
  01/18/2023       163 NOTICE of Service of Second Set of Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Ellis, Tanya) (Entered: 01/18/2023)
  01/18/2023            Set Hearings: Telephonic Discovery Conference set for 1/20/2023 1:30 PM CST before Magistrate Judge Michael T.
                        Parker. Counsel shall dial 888.273.3658, code 1055457 to connect to the call. (KPM) (Entered: 01/18/2023)
  01/20/2023            NOTICE: The discovery conference set for TODAY 1/20/23 at 1:30 p.m. CST will be conducted via Zoom. The Zoom
                        link was provided to all counsel via e-mail. (KPM) (Entered: 01/20/2023)
  01/20/2023       164 MOTION for Samantha G. Rose to Appear Pro Hac Vice by Eli Lilly and Company (Attachments: # 1 Exhibit A =
                       Certificate of Good Standing)(Gibbs, Robert) (Entered: 01/20/2023)
  01/20/2023       165 Unopposed MOTION for Extension of Time to File Response/Reply to CVS Caremark Defendants' Discovery Requests
                       by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Ellis, Tanya) (Entered: 01/20/2023)
  01/20/2023            Minute Entry for proceedings held before Magistrate Judge Michael T. Parker: Telephonic Discovery Conference (via
                        Zoom) held on 1/20/2023 regarding the disputed timing for the deposition of Kevin Wessels and Express Scripts
                        objections to Plaintiffs document request number 1. No resolution was reached. The parties are authorized to file
                        discovery motions related to these issues if they so choose without further conference with the court. PARTICIPANTS:
                        Joanne Cicala, William Liston, Tanya Ellis and Win Gault for Plaintiff; Robert Gibbs and Ryan Moorman for Eli Lilly and
                        Company; Andrew Yaphe and Ryan Beckett for Novo Nordisk Inc.; Theresa Martin, Dan Berens and Patrick McDowell
                        for Sanofi-Aventis U.S. LLC; Jason Scherr and Stephanie Rippee for Evernorth Health, Inc., Express Scripts, Inc.,
                        Express Scripts Administrators, LLC, ESI Mail Pharmacy Services, Inc.; Express Scripts Pharmacy, Inc., and Medco
                        Health Solutions, Inc.; Kennon Poteat, Joshua Podoll, and Kate Embry for CVS Health Corporation, Caremark RX,
                        L.L.C., Caremark PCS Health, L.L.C., and Caremark, L.L.C.; Jean Richmann, Kelly Barnaby, and Roy Campbell for
                        Optumrx Inc. (KPM) (Entered: 01/20/2023)
  01/23/2023            Pro Hac Vice fee paid by Samantha G. Rose, $ 100, receipt number 3149. (KNS) (Entered: 01/23/2023)
  01/23/2023            TEXT ONLY ORDER granting 165 Motion for Extension of Time to Respond. The deadline for Plaintiff to respond to
                        CVS Caremark Defendants' discovery requests is extended to 1/30/2023. No further written order shall issue. Signed by
                        Magistrate Judge Michael T. Parker on January 23, 2023. (js) (Entered: 01/23/2023)

https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?14080311768598-L_1_0-1                                                                          27/32
5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
                                           Document      1-8District
                                                  LIVE - U.S.  Filed    05/09/23
                                                                     Court:              Page District
                                                                            Mississippi Southern 28 of 155
  01/23/2023            TEXT ONLY ORDER granting 164 Motion to Appear Pro Hac Vice. Samantha G. Rose is hereby admitted pro hac vice
                        upon completion of the registration procedures found on the Court's website and at the following link:
                        https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                        Michael T. Parker on January 23, 2023 (KPM) (Entered: 01/23/2023)
  01/31/2023       166 NOTICE of Service of Response to Interrogatories by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General
                       (Ellis, Tanya) (Entered: 01/31/2023)
  01/31/2023       167 NOTICE of Service of Response to Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Ellis, Tanya) (Entered: 01/31/2023)
  02/02/2023       168 NOTICE of Service of Request for Production by Novo Nordisk Inc. (Beckett, P.) (Entered: 02/02/2023)
  02/02/2023       169 NOTICE of Service of CORRECTED Request for Production by Novo Nordisk Inc. (Beckett, P.) (Entered: 02/02/2023)
  02/02/2023       170 NOTICE of Service of Request for Production by Sanofi-Aventis U.S. LLC (McDowell, Martin) (Entered: 02/02/2023)
  02/02/2023       171 NOTICE of Service of Request for Production by Eli Lilly and Company (Moorman - PHV, Ryan) (Entered: 02/02/2023)
  02/13/2023       172 Joint MOTION to Extend Time to Respond to Plaintiffs First Set of Interrogatories Deadline (UNOPPOSED) by Eli Lilly
                       and Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC (Beckett, P.) (Entered: 02/13/2023)
  02/13/2023            TEXT ONLY ORDER granting 172 Motion to Extend Deadline. The deadline for moving Defendants to respond to
                        Plaintiff's first set of interrogatories is extended to 3/10/2023. No further written order shall issue. Signed by Magistrate
                        Judge Michael T. Parker on February 13, 2023. (js) (Entered: 02/13/2023)
  02/15/2023       173 Unopposed MOTION to Extend Time to Respond to Plaintiff's First Set of Interrogatories and Second Set of Requests for
                       Production Deadline (PBM Defendants' Joint Unopposed Motion) by Caremark PCS Health, L.L.C., Caremark RX,
                       L.L.C., Caremark, L.L.C., Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts, Inc., Medco
                       Health Solutions, Inc., Optumrx Inc. (Campbell, Roy) (Entered: 02/15/2023)
  02/16/2023            TEXT ONLY ORDER granting 173 Motion to Extend Deadline. The deadline for moving Defendants to respond to
                        Plaintiff's first set of interrogatories and second set of requests for production is extended to 3/2/2023. No further written
                        order shall issue. Signed by Magistrate Judge Michael T. Parker on February 16, 2023. (js) (Entered: 02/16/2023)
  02/16/2023       174 STIPULATED CONFIDENTIALITY ORDER. Signed by Magistrate Judge Michael T. Parker on February 16, 2023
                       (KPM) (Entered: 02/16/2023)
  02/16/2023       175 STIPULATED PROTOCOL FOR THE DISCOVERY OF ELECTRONICALLY STORED INFORMATION AND HARD
                       COPY DOCUMENTS. Signed by Magistrate Judge Michael T. Parker on February 16, 2023 (KPM) (Entered:
                       02/16/2023)
  02/17/2023       176 NOTICE of Service of Response to Request for Production by Novo Nordisk Inc. (Beckett, P.) (Entered: 02/17/2023)
  02/17/2023       177 NOTICE of Service of Response to Request for Production by Sanofi-Aventis U.S. LLC (McDowell, Martin) (Entered:
                       02/17/2023)
  02/17/2023       178 NOTICE of Service of Response to Request for Production by Eli Lilly and Company (Moorman - PHV, Ryan) (Entered:
                       02/17/2023)
  02/20/2023       179 Corporate Disclosure Statement by ESI Mail Pharmacy Services, Inc., Evernorth Health, Inc., Express Scripts
                       Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc. identifying Corporate Parent The Cigna Group
                       (f/k/a Cigna Corporation), Corporate Parent The Cigna Group (f/k/a Cigna Corporation) for ESI Mail Pharmacy Services,
                       Inc., Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts, Inc..
                       (Rippee, Stephanie) (Entered: 02/20/2023)
  02/20/2023       180 NOTICE of Service of First Set of Interrogatories to Plaintiff Interrogatories by Optumrx Inc. (Campbell, Roy) (Entered:
                       02/20/2023)
  02/20/2023       181 NOTICE of Service of First Set of Requests for Production to Plaintiff Request for Production by Optumrx Inc.
                       (Campbell, Roy) (Entered: 02/20/2023)
  02/24/2023       182 NOTICE OF INTENT TO SERVE SUBPOENA to Arthur J. Gallagher & Co. by Caremark PCS Health, L.L.C.
                       (Attachments: # 1 Exhibit Subpoena to Produce Documents)(Embry, Sarah) (Entered: 02/24/2023)
  02/24/2023       183 NOTICE OF INTENT TO SERVE SUBPOENA on PillarRx Consulting by Caremark PCS Health, L.L.C. (Attachments:
                       # 1 Exhibit Subpoena)(Embry, Sarah) (Entered: 02/24/2023)
  02/24/2023       184 NOTICE OF INTENT TO SERVE SUBPOENA on Segal Group, Inc. by Caremark PCS Health, L.L.C. (Attachments: # 1
                       Exhibit Subpoena)(Embry, Sarah) (Entered: 02/24/2023)
  02/27/2023            Pro Hac Vice fee paid for Richard Johan Conrod, Jr. receipt number AMSSDC-5055425 $ 100 (Liston, William) (Entered:
                        02/27/2023)
  02/27/2023       185 MOTION for Richard Johan Conrod, Jr. to Appear Pro Hac Vice by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Attachments: # 1 Exhibit Certificate of Good Standing Virginia)(Liston, William) (Entered: 02/27/2023)



https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?14080311768598-L_1_0-1                                                                              28/32
5/9/23, 10:10 AM         Case MDL No. 3080 CM/ECF
                                           Document      1-8District
                                                  LIVE - U.S.  Filed    05/09/23
                                                                     Court:              Page District
                                                                            Mississippi Southern 29 of 155
  02/28/2023            TEXT ONLY ORDER granting 185 Motion to Appear Pro Hac Vice. Richard Johan Conrod, Jr. is hereby admitted pro
                        hac vice upon completion of the registration procedures found on the Court's website and at the following link:
                        https://www.mssd.uscourts.gov/attorney-admissions-page. No further written order will issue. Signed by Magistrate Judge
                        Michael T. Parker on February 28, 2023 (KPM) (Entered: 02/28/2023)
  03/01/2023       186 Subpoena Returned 02/27/2023 as to Arthur J. Gallagher & Co.. (Embry, Sarah) (Entered: 03/01/2023)
  03/01/2023       187 Subpoena Returned 2/27/2023 as to PillarRx Consulting, LLC. (Embry, Sarah) (Entered: 03/01/2023)
  03/01/2023       188 Subpoena Returned 02/27/2023 as to The Segal Group, Inc.. (Embry, Sarah) (Entered: 03/01/2023)
  03/01/2023       189 NOTICE of Appearance by Courtney Choi Hunt on behalf of The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Hunt, Courtney) (Entered: 03/01/2023)
  03/02/2023       190 Unopposed MOTION to Extend Time to Respond to Plaintiff's First Set of Interrogatories and Second Set of Requests for
                       Production Deadline (Joint) by Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C., Evernorth
                       Health, Inc., Express Scripts Administrators, LLC, Express Scripts, Inc., Medco Health Solutions, Inc., Optumrx Inc.
                       (Campbell, Roy) (Entered: 03/02/2023)
  03/02/2023            TEXT ONLY ORDER granting 190 Unopposed Motion to Extend Time to Respond to Discovery Requests. The deadline
                        for responding to the discovery requests at issue is extended to 3/15/23. No further written order will issue. Signed by
                        Magistrate Judge Michael T. Parker on March 2, 2023 (KPM) (Entered: 03/02/2023)
  03/03/2023       191 Unopposed MOTION for Extension of Time to File Response/Reply to Manufacturer Defendants' First Set of Requests
                       for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Ellis, Tanya) (Entered: 03/03/2023)
  03/07/2023            TEXT ONLY ORDER granting 191 Motion for Extension of Time to Respond. The deadline for Plaintiff to respond to the
                        subject discovery requests is extended to 3/10/2023. No further written order shall issue. Signed by Magistrate Judge
                        Michael T. Parker on March 7, 2023. (js) (Entered: 03/07/2023)
  03/07/2023       192 NOTICE of Service of Third Set of Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Hunt, Courtney) (Entered: 03/07/2023)
  03/07/2023       193 NOTICE of Service of Third Set of Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Hunt, Courtney) (Entered: 03/07/2023)
  03/07/2023       194 NOTICE of Service of First Set of Interrogatories by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General
                       (Hunt, Courtney) (Entered: 03/07/2023)
  03/07/2023       195 NOTICE of Service of Second Set of Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Hunt, Courtney) (Entered: 03/07/2023)
  03/07/2023       196 NOTICE of Service of First Set of Interrogatories by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General
                       (Hunt, Courtney) (Entered: 03/07/2023)
  03/07/2023       197 NOTICE of Service of Second Set of Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Hunt, Courtney) (Entered: 03/07/2023)
  03/07/2023       198 NOTICE OF INTENT TO SERVE SUBPOENA to Diamond Drugs, Inc. by Caremark PCS Health, L.L.C. (Attachments:
                       # 1 Exhibit Subpoena)(Embry, Sarah) (Entered: 03/07/2023)
  03/07/2023       199 NOTICE OF INTENT TO SERVE SUBPOENA VitalCore Health Strategies by Caremark PCS Health, L.L.C.
                       (Attachments: # 1 Exhibit Subpoena)(Embry, Sarah) (Entered: 03/07/2023)
  03/10/2023       200 NOTICE of Service of Response to Interrogatories by Sanofi-Aventis U.S. LLC (McDowell, Martin) (Entered:
                       03/10/2023)
  03/10/2023       201 NOTICE of Service of Response to Interrogatories by Novo Nordisk Inc. (Crawford, John) (Entered: 03/10/2023)
  03/10/2023       202 NOTICE of Service of Response to Interrogatories by Eli Lilly and Company (Moorman - PHV, Ryan) (Entered:
                       03/10/2023)
  03/10/2023       203 NOTICE of Service of Response to Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Ellis, Tanya) (Entered: 03/10/2023)
  03/16/2023       204 NOTICE of Service of Objections and Response to Interrogatories by CVS Health Corporation, Caremark PCS Health,
                       L.L.C., Caremark RX, L.L.C., Caremark, L.L.C. (Mayo, J.) (Entered: 03/16/2023)
  03/16/2023       205 NOTICE of Service of Objections and Response to Request for Production by CVS Health Corporation, Caremark PCS
                       Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C. (Mayo, J.) (Entered: 03/16/2023)
  03/16/2023       206 NOTICE of Service of Objections and Responses to Plaintiff's First Set of Interrogatories Response to Interrogatories by
                       Optumrx Inc. (Campbell, Roy) (Entered: 03/16/2023)
  03/16/2023       207 NOTICE of Service of Objections and Responses to Plaintiff's Second Set of Requests for Production Response to
                       Request for Production by Optumrx Inc. (Campbell, Roy) (Entered: 03/16/2023)
  03/16/2023       208 NOTICE of Service of Objections and Response to Interrogatories by Evernorth Health, Inc., Express Scripts

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                        Administrators, LLC, Express Scripts, Inc., Medco Health Solutions, Inc. (Rippee, Stephanie) (Entered: 03/16/2023)
  03/16/2023       209 NOTICE of Service of Objection and Response to Request for Production by Evernorth Health, Inc., Express Scripts
                       Administrators, LLC, Express Scripts, Inc., Medco Health Solutions, Inc. (Rippee, Stephanie) (Entered: 03/16/2023)
  03/21/2023       210 Unopposed MOTION for Extension of Time to File Response/Reply to OptumRx, Inc.'s First Set of Requests for
                       Production and First Set of Interrogatories by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Ellis,
                       Tanya) (Entered: 03/21/2023)
  03/21/2023       211 Subpoena Returned Executed as to VitalCore Health Strategies, LLC. (Embry, Sarah) (Entered: 03/21/2023)
  03/21/2023            DOCKET ANNOTATION as to # 211 : Subpoena Returned Executed and exhibits are filed as one main document.
                        Exhibits should be scanned separately and docketed as properly identified attachments to the main document within the
                        same docket entry. Attorney is directed to follow this procedure in future filings. L.U.Civ.R. 7.(b)(2). (KNS) (Entered:
                        03/21/2023)
  03/22/2023            TEXT ONLY ORDER granting 210 Motion for Extension of Time to Respond to OptumRx, Inc.'s First Set of Requests
                        for Production and First Set of Interrogatories. Plaintiff's responses to Defendant's discovery requests due by 3/31/2023.
                        No further written order shall issue. Signed by Magistrate Judge Michael T. Parker on March 22, 2023. (js) (Entered:
                        03/22/2023)
  03/23/2023            Set Hearings: Zoom Discovery Conference set for 3/24/2023 10:30 AM CDT before Magistrate Judge Michael T. Parker.
                        The Zoom link has been provided to all counsel via e-mail. (KPM) (Entered: 03/23/2023)
  03/24/2023       212 NOTICE of Appearance by Daniel J. Mulholland on behalf of The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Mulholland, Daniel) (Entered: 03/24/2023)
  03/24/2023            Minute Entry for proceedings held before Magistrate Judge Michael T. Parker: Zoom Discovery Conference held on
                        3/24/2023 to address the scheduling of the deposition of Kevin Wessels. The court issued a ruling and a separate text
                        order will be entered. PARTICIPANTS: Tanya Ellis, Johan Conrod, William Liston, William Deas, and Win Gault for
                        Plaintiff; Robert Gibbs and Ryan Moorman for Eli Lilly and Company; Andrew Yaphe, Jack Crawford, and Ryan Beckett
                        for Novo Nordisk Inc.; Theresa Martin, Dan Berens and Patrick McDowell for Sanofi-Aventis U.S. LLC; Stephanie
                        Rippee for Evernorth Health, Inc., Express Scripts, Inc., Express Scripts Administrators, LLC, ESI Mail Pharmacy
                        Services, Inc.; Express Scripts Pharmacy, Inc., and Medco Health Solutions, Inc.; Kennon Poteat, Joshua Podoll, Atticus
                        DeProspo. and Kate Embry for CVS Health Corporation, Caremark RX, L.L.C., Caremark PCS Health, L.L.C., and
                        Caremark, L.L.C.; Jean Richmann, Kelly Barnaby, and Jonathan Barnes for Optumrx Inc. (KPM) (Entered: 03/24/2023)
  03/24/2023            TEXT ONLY ORDER. The Court having conducted a conference and having heard argument from the parties orders that
                        the deposition of Kevin Wessels shall be scheduled and completed by 5/10/2023. The parties are directed to confer and
                        cooperate fully to schedule and complete the deposition. No further written order shall issue. Signed by Magistrate Judge
                        Michael T. Parker on March 24, 2023. (js) (Entered: 03/24/2023)
  03/24/2023       213 NOTICE of Appearance by Thomas Joel Fyke on behalf of The State of Mississippi, Ex Rel. Lynn Fitch Attorney General
                       (Fyke, Thomas) (Entered: 03/24/2023)
  03/27/2023       214 NOTICE to Take Deposition of Kevin Wessels by The State of Mississippi, Ex Rel. Lynn Fitch Attorney General (Gault,
                       Edwin) (Entered: 03/27/2023)
  03/28/2023       215 Subpoena Returned 3/20/2023 as to Diamond Drugs, Inc.. (Attachments: # 1 Exhibit 1 - Documents Requested)(Embry,
                       Sarah) (Entered: 03/28/2023)
  03/29/2023       216 NOTICE of Service of First Supplemental Initial Disclosure by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Ellis, Tanya) (Entered: 03/29/2023)
  03/31/2023       217 NOTICE of Service of Verified Response to Interrogatories by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Ellis, Tanya) (Entered: 03/31/2023)
  03/31/2023       218 NOTICE of Service of Response to Request for Production by The State of Mississippi, Ex Rel. Lynn Fitch Attorney
                       General (Ellis, Tanya) (Entered: 03/31/2023)
  04/04/2023       219 NOTICE of Service of Verified First Supplemental Response to Interrogatories by The State of Mississippi, Ex Rel. Lynn
                       Fitch Attorney General (Ellis, Tanya) (Entered: 04/04/2023)
  04/04/2023       220 Unopposed MOTION for Extension of Time to Complete Discovery by CVS Health Corporation, ESI Mail Pharmacy
                       Services, Inc., Express Scripts Pharmacy, Inc. (Mayo, J.) (Entered: 04/04/2023)
  04/05/2023            TEXT ONLY ORDER granting 220 Motion for Extension of Time to Complete Discovery. Defendants CVS Health
                        Corporation, ESI Mail Pharmacy Service, Inc., and Express Scripts Pharmacy, Inc.'s responses to Plaintiff's first set of
                        interrogatories and second set of requests for production due by 4/20/2023. No further written order shall issue. Signed by
                        Magistrate Judge Michael T. Parker on April 5, 2023. (js) (Entered: 04/05/2023)
  04/06/2023       221 NOTICE to Take Deposition of Kevin Wessels by Novo Nordisk Inc. (Crawford, John) (Entered: 04/06/2023)
  04/06/2023       222 NOTICE to Take Deposition of Kevin Wessels by Sanofi-Aventis U.S. LLC (McDowell, Martin) (Entered: 04/06/2023)
  04/10/2023       223 NOTICE of Service of Objections and Response to Request for Production by Caremark RX, L.L.C., Caremark, L.L.C.
                       (Mayo, J.) (Entered: 04/10/2023)

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  04/10/2023       224 NOTICE of Service of Objections and Responses to Plaintiff's Third Set of Requests for Production Response to Request
                       for Production by Optumrx Inc. (Campbell, Roy) (Entered: 04/10/2023)
  04/10/2023       225 NOTICE of Service of Interrogatories by Novo Nordisk Inc. (Crawford, John) (Entered: 04/10/2023)
  04/11/2023       226 NOTICE to Take Deposition of Kevin Wessels by Eli Lilly and Company (Moorman - PHV, Ryan) (Entered: 04/11/2023)
  04/18/2023       227 Joint MOTION By All Parties Permitting Counsel to Participate in Depositions Remotely by CVS Health Corporation,
                       Caremark PCS Health, L.L.C., Caremark RX, L.L.C., Caremark, L.L.C., ESI Mail Pharmacy Services, Inc., Eli Lilly and
                       Company, Evernorth Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc., Express Scripts,
                       Inc., Medco Health Solutions, Inc., Novo Nordisk Inc., Optumrx Inc., Sanofi-Aventis U.S. LLC (Beckett, P.) (Entered:
                       04/18/2023)
  04/18/2023       228 ORDER granting 227 Motion to Permit Counsel to Participate in Depositions Remotely. Signed by Magistrate Judge
                       Michael T. Parker on April 18, 2023. (js) (Entered: 04/18/2023)
  04/19/2023       229 MOTION for Michael Ryan Harmanis to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-5097156)
                       by Sanofi-Aventis U.S. LLC (Attachments: # 1 Exhibit Certificate of Good Standing)(McDowell, Martin) (Entered:
                       04/19/2023)
  04/19/2023       230 MOTION for Aaron M. Healey to Appear Pro Hac Vice (Paid $100 PHV fee; receipt number AMSSDC-5097170) by
                       Sanofi-Aventis U.S. LLC (Attachments: # 1 Exhibit Certificates of Good Standing)(McDowell, Martin) (Entered:
                       04/19/2023)
  04/19/2023            TEXT ONLY ORDER granting 229 Motion to Appear Pro Hac Vice; granting 230 Motion to Appear Pro Hac Vice.
                        Michael Ryan Harmanis and Aaron M. Healey are hereby admitted pro hac vice upon completion of the registration
                        procedures found on the Court's website and at the following link: https://www.mssd.uscourts.gov/attorney-admissions-
                        page. No further written order will issue. Signed by Magistrate Judge Michael T. Parker on April 19, 2023 (KPM)
                        (Entered: 04/19/2023)
  04/20/2023       231 MOTION for Extension of Time to File Response/Reply to Plaintiff's First Set of Interrogatories by ESI Mail Pharmacy
                       Services, Inc., Express Scripts Pharmacy, Inc. (Rippee, Stephanie) (Entered: 04/20/2023)
  04/21/2023       232 NOTICE of Service of Response to Request for Production by ESI Mail Pharmacy Services, Inc., Express Scripts
                       Pharmacy, Inc. (Rippee, Stephanie) (Entered: 04/21/2023)
  04/21/2023            TEXT ONLY ORDER granting 231 Unopposed Motion for Extension of Time to File Responses to Plaintiff's First Set of
                        Interrogatories. ESI Mail Pharmacy Service, Inc. and Express Scripts Pharmacy, Inc.'s Responses to Plaintiff's First Set of
                        Interrogatories are due on or before 4/27/23. No further written order will issue. Signed by Magistrate Judge Michael T.
                        Parker on April 21, 2023 (KPM) (Entered: 04/21/2023)
  04/21/2023       233 NOTICE of Service of Objections and Response to Interrogatories by CVS Health Corporation (Mayo, J.) (Entered:
                       04/21/2023)
  04/21/2023       234 NOTICE of Service of Objections and Response to Request for Production by CVS Health Corporation (Mayo, J.)
                       (Entered: 04/21/2023)
  04/28/2023       235 NOTICE of Service of Response to Interrogatories by ESI Mail Pharmacy Services, Inc., Express Scripts Pharmacy, Inc.
                       (Rippee, Stephanie) (Entered: 04/28/2023)
  05/02/2023            Set Hearing: Telephonic Discovery Conference set for 5/2/2023 at 02:30 PM CDT before Magistrate Judge Michael T.
                        Parker. Only counsel for the State of Mississippi, CVS Health Corporation, and Caremark PCS Health, L.L.C. are
                        required to participate. Counsel should dial 888.273.3658, code 1055457 to connect to the call at that time. (js) (Entered:
                        05/02/2023)
  05/02/2023            Minute Entry for proceedings held before Magistrate Judge Michael T. Parker: Telephonic Discovery Conference held on
                        5/2/2023. The parties addressed disputes concerning Plaintiffs responses to certain interrogatories served by Defendants
                        Caremark PCS Health, L.L.C and CVS Health Corporation. While no resolution was reached, the Court proposed certain
                        resolutions. The parties shall confer further in an effort to resolve the disputes. Failing agreement, the parties may address
                        the issues via appropriate motions on or after 5/24/2023. PARTICIPANTS: William Liston, Tanya Ellis, Richard Conrod,
                        and Josh Wackerly for Plaintiff; Robert Gibbs and Ryan Moorman for Eli Lilly and Company; Ryan Beckett and Jack
                        Crawford for Novo Nordisk Inc.; Daniel Berens for Sanofi-Aventis U.S. LLC; Jason Scherr for Evernorth Health, Inc.,
                        Express Scripts, Inc., Express Scripts Administrators, LLC, ESI Mail Pharmacy Services, Inc.; Express Scripts Pharmacy,
                        Inc., and Medco Health Solutions, Inc.; Joshua Podoll and Sarah Embry for CVS Health Corporation, Caremark RX,
                        L.L.C., Caremark PCS Health, L.L.C., and Caremark, L.L.C.; and Liz Brown, Kelly Barnaby, and Jonathan Barnes for
                        Optumrx Inc. (js) (Entered: 05/02/2023)
  05/08/2023       236 Unopposed MOTION to Extend Deadline to Serve Discovery Responses by The State of Mississippi, Ex Rel. Lynn Fitch
                       Attorney General (Ellis, Tanya) (Entered: 05/08/2023)
  05/09/2023            TEXT ONLY ORDER granting 236 Unopposed Motion to Extend Deadline to Respond to Discovery. Plaintiff's
                        Responses to Novo Nordisk Inc.'s First Set of Interrogatories are due on or before 5/19/23. No further written order will
                        issue. Signed by Magistrate Judge Michael T. Parker on May 9, 2023 (KPM) (Entered: 05/09/2023)



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              IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                      NORTHERN DIVISION


THE STATE OF MISSISSIPPI, EX REL.
LYNN FITCH, ATTORNEY GENERAL

             Plaintiff,

             v.

ELI LILLY AND COMPANY; NOVO
NORDISK INC.; SANOFI-AVENTIS U.S.
LLC; EVERNORTH HEALTH, INC.
(FORMERLY EXPRESS SCRIPTS
HOLDING COMPANY); EXPRESS                     Cause No. 3:21-cv-00674-KHJ-MTP
SCRIPTS, INC.; EXPRESS SCRIPTS
ADMINISTRATORS, LLC; ESI MAIL                 Jury Trial Demanded
PHARMACY SERVICES, INC.; EXPRESS
SCRIPTS PHARMACY, INC.; MEDCO
HEALTH SOLUTIONS, INC; CVS
HEALTH CORPORATION; CVS
PHARMACY, INC; CAREMARK RX,
L.L.C.; CAREMARK PCS HEALTH, L.L.C.;
CAREMARK, L.L.C.; UNITEDHEALTH
GROUP, INC.; OPTUM, INC.;
OPTUMINSIGHT, INC.; OPTUMRX
HOLDINGS, LLC AND OPTUMRX INC.

             Defendants.




                  THIRD AMENDED COMPLAINT
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       The Honorable Lynn Fitch, Attorney General, brings this action on behalf of the

State of Mississippi (the “State” or “Plaintiff”), in its proprietary capacity and in its

capacity as parens patriae, for violations of the laws of the State of Mississippi against

the above-named Defendants.

                                            INTRODUCTION

       1.     Diabetes is an epidemic and a public health crisis in Mississippi. Mississippi

has the highest prevalence of diabetes in the United States with 13.6% of its population—

over 400,000 people—living with diabetes. An additional 750,000 Mississippi residents

have prediabetes, which is when a person’s blood sugar level is higher than it should be

and signifies that the person is at a much greater risk for developing diabetes.

       2.     Diabetes is the leading cause of blindness, kidney failure and lower limb

amputations and is the seventh leading cause of death in Mississippi despite the

availability of effective treatment. Over 22% of all hospitalizations in Mississippi are

attributable to diabetes.

       3.     The economic impact of diabetes is staggering. The total estimated cost of

diagnosed diabetes in Mississippi is $3.5 billion per year. One in four health care dollars

is spent caring for people with diabetes.

       4.     Approximately 100,000 Mississippians rely on daily insulin treatments to

survive, and 300,000 diabetics in Mississippi use either oral medications, insulin, or a

combination of both to treat and control diabetes. As a result, hundreds of thousands of

Mississippi residents must rely on the companies that manufacture diabetes medications

to stay alive and thus are at the mercy of these manufacturers.
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       5.     Defendants Eli Lilly, Novo Nordisk and Sanofi (collectively, “Manufacturer

Defendants” or “Manufacturers”) manufacture the vast majority of insulins and other

diabetic medications available in Mississippi.

       6.     Defendants CVS Caremark, Express Scripts and OptumRx (collectively

“PBM Defendants” or “PBMs”) manage the pharmacy benefits for the vast majority of

individuals in Mississippi.

       7.     As part of this work, PBM Defendants establish standard formulary offerings

that, among other things, set the baseline for which diabetes medications are covered and

not covered by nearly every payor in Mississippi.

       8.     PBM Defendants understand that their standard formulary offerings drive

drug utilization.

       9.     The more accessible a drug is on the PBMs’ standard formularies, the more

that drug will be used throughout Mississippi.

       10.     Manufacturer Defendants likewise understand that the PBM Defendants’

standard formularies drive drug utilization throughout Mississippi.

       11.    Given the PBMs’ market power and the crucial role their standard

formularies play in the pharmaceutical pricing chain, both Defendant groups understand

that the PBM Defendants wield enormous control over drug prices and drug purchasing

behavior.

       12.    The false and deceptive conspiracy at the root of this Third Amended

Complaint—the Insulin Pricing Scheme—was born from this mutual understanding.

       13.    Over the course of the last fifteen years, and pursuant to the Insulin Pricing

Scheme, Manufacturer Defendants have in lockstep raised their prices of their respective




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diabetes drugs in an astounding manner despite the fact that the cost to produce these

drugs has decreased during that same time period.

      14.    Insulins, which today cost Manufacturer Defendants less than $2 to produce

and which were originally priced at $20 when released in the late 1990s, now range

between $300 and $700.

      15.    In the last decade alone, Manufacturer Defendants have in tandem increased

the prices of their insulins up to 1000%, taking the same increase down to the decimal

point within a few days of each other.

      16.    Figure 1 illustrates the rate in which Defendant Eli Lilly raised the price of

its analog insulin, Humalog, compared to the rate of inflation for other consumer goods

and services from 1997-2018.




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 Figure 1: Price Increase of Insulin vs. Selected Consumer Goods
                          from 1997-2018




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       17.     Remarkably, nothing about these medications has changed during that time

period; today’s $350 insulin is the exact drug Defendants originally sold for $20.

       18.     The current outrageously inflated price stands in stark contrast to insulin’s

origins: the discoverers sold the original patent for $1 to ensure that the medication would

remain affordable. Today, insulin has become the poster child for skyrocketing and false

drug prices.

       19.     Both Manufacturer and PBM Defendants play vital roles and profit

immensely from the Insulin Pricing Scheme and the false list prices produced by it.

       20.     The Insulin Pricing Scheme works as follows: first, to gain formulary access

from the PBM Defendants for their diabetic treatments, Manufacturer Defendants

artificially and willingly raise their prices, and then pay a significant, yet undisclosed,

portion of that false list price back to the PBMs. These Manufacturer Payments1 are

provided under a variety of labels, yet, however they are described, these Manufacturer

Payments, along with the falsely inflated list prices, are quid pro quo for formulary

inclusion on the PBMs’ standard offerings.

       21.     The Manufacturers’ prices have become so untethered from the actual prices

realized by either Defendant group as to constitute a false price.

       22.     PBMs then grant preferred status on their standard formularies based upon

the highest false list price—which the PBMs know to be false and which the PBMs insist




1 In the context of this Complaint, the term “Manufacturer Payments” is defined as all payments

or financial benefits of any kind conferred by the Manufacturer Defendants to PBM Defendants
(or a subsidiary, affiliated entity, or group purchasing organization or rebate aggregator acting on
the PBM’s behalf), either directly via contract or indirectly via Manufacturer-controlled
intermediaries. Manufacturer Payments includes rebates, administrative fees, inflation fees,
pharmacy supplemental discounts, volume discounts, price or margin guarantees and any other
form of consideration exchanged.


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that their payor clients use as the basis for the price they pay for the at-issue drugs. The

at-issue drugs with the highest list prices generate the largest profits for these PBMs.

       23.    The Insulin Pricing Scheme creates a “best of both worlds” scenario for

Defendants. Manufacturer Defendants are able to make these undisclosed Manufacturer

Payments to buy preferred formulary position—which significantly increases their

revenue—without sacrificing their profit margins.

       24.    PBM Defendants profit off the false list prices that result from the scheme in

numerous ways, including: (1) retaining a significant—yet undisclosed—percentage of the

secret Manufacturer Payments, (2) using the false list price produced by the Insulin Pricing

Scheme to generate profits from pharmacies in their networks and (3) relying on those

same false list prices to drive up the PBMs’ profits through their own pharmacies.

       25.    Thus, while the PBM Defendants represent both publicly and to their clients

that they use their market power to drive down prices for diabetes medications, these

representations are patently false.

       26.    Rather the PBMs are intentionally driving up the price of the at-issue drugs.

Indeed, the Manufacturer Payments the PBMs receive in exchange for preferred formulary

position, along with the PBMs’ actual formulary construction, are directly responsible for

the skyrocketing price of insulin.

       27.    Moreover, because the price paid by nearly every diabetic and payor is based

upon the false list prices generated by Defendants’ scheme, every diabetic and payor in

Mississippi, who purchases these life-sustaining drugs, has been directly harmed by

Defendants’ Insulin Pricing Scheme.




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       28.    The State of Mississippi, as a payor for the at-issue drugs through its

employee health plans and as a purchaser of the at-issue drugs at state-run facilities, has

been overcharged millions of dollars a year.

       29.    Mississippi diabetics have also been overcharged millions of dollars a year

in out-of-pocket costs as a result of Defendants’ Insulin Pricing Scheme.

       30.    For diabetic Mississippians, the physical, emotional, and financial tolls of

paying such excessive prices for diabetes medications is devastating. Unable to afford the

drugs their doctors prescribe, many diabetics in Mississippi are forced to ration or under-

dose their insulin, inject expired insulin, reuse needles, and starve themselves to control

their blood sugars. This behavior is extremely dangerous and can lead to serious

complications or even death.

       31.    In addition to the immeasurable human costs, the insulin rationing caused

by the Insulin Pricing Scheme also adds substantial costs to the Mississippi health care

system by increasing preventable complications. For example, one national model found

that all people with diabetes adhering to their diabetes medications would save $8.3 billion

in direct medical costs per year by averting one million emergency department visits and

618,000 hospitalizations.

       32.    The State shoulders the burden for much of these increased healthcare costs,

spending more than $1 billion annually for diabetes and diabetes-associated

complications. That number has steadily increased throughout the relevant time period

and could grow exponentially in the near future given the high prevalence of prediabetes

in Mississippi.

       33.    Thus, in addition to being overcharged for the at-issue drugs through its

employee benefit program and purchases for state-run facilities, the State has been and


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will be damaged by the significant increase in health care expenditures caused by the

Insulin Pricing Scheme as well.

       34.    Insulin     rationing   and   the    resulting   otherwise-avoidable   health

complications caused by the Insulin Pricing Scheme also leads to a loss in productivity and

tax revenue, further damaging the State.

       35.    The Honorable Lynn Fitch, Attorney General brings this action on behalf of

the State of Mississippi and its citizens: (a) to protect the health and economic well-being

of the hundreds of thousands of diabetic Mississippians in its parens patriae capacity; (b)

on behalf of the State as a payor for and purchaser of the at-issue diabetes medications

through its health plans and state-run facilities; and (c) on behalf of the State to recover

damages for the costs it has and will incur as a result of Defendants’ unlawful conduct.

       36.    This action asserts causes for Defendants’ violation of the Mississippi

Consumer Protection Act, unjust enrichment and civil conspiracy.

       37.    This action seeks injunctive relief, restitution, disgorgement, actual

damages, punitive damages, civil penalties and attorneys’ fees to address and abate the

harm caused by the Insulin Pricing Scheme.

       38.    The relevant period for damages alleged in this Third Amended Complaint

is from 2003 continuing through the present.

                                                  PARTIES

       A.     Plaintiff

       39.    Plaintiff, the State of Mississippi. The State of Mississippi is the sole

Plaintiff in this action, brought in its name on relation of the Attorney General, the

Honorable Lynn Fitch. Acting as a constitutional officer of the State possessing all the

power and authority under the common law and statute, the Attorney General institutes


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this action to protect the State’s sovereign interest in the health and economic interests of

its residents, its own interests and the integrity of its marketplace.

       B.      Manufacturer Defendants

       40.    Defendant Eli Lilly and Company (“Eli Lilly) is an Indiana

corporation with its principal place of business at Lilly Corporate Center, Indianapolis,

Indiana 46285.

       41.    Eli Lilly is registered to do business in Mississippi and has been since at least

1966. Eli Lilly may be served through its registered agent: NRAI Agents, Inc., 645 Lakeland

East Dr., Suite 101, Flowood, Mississippi 39232.

       42.    Eli Lilly holds a three active Drug Facility and Non-Resident Wholesaler

permits with the Mississippi Board of Pharmacy (License #s: 15663/16.5a; 18295; 18281).

       43.    These permits allow Eli Lilly to manufacture, distribute and sell its at-issue

drugs in Mississippi.

       44.    In Mississippi, Eli Lilly promotes and distributes its at-issue diabetes

medications: Humulin N, Humulin R, Humalog, Trulicity and Basaglar.

       45.    Eli Lilly’s global revenues in 2019 were $4.13 billion from Trulicity, $2.82

billion from Humalog, $1.29 billion from Humulin and $1.11 billion from Basaglar.

       46.    Eli Lilly’s global revenues in 2018 were $3.2 billion from Trulicity, $2.99

billion from Humalog, $1.33 billion from Humulin and $801 million from Basaglar.

       47.    Eli Lilly transacts business in Mississippi, targeting the State of Mississippi

market for its products, including the at-issue diabetes medications.

       48.    Eli Lilly employs sales representatives throughout Mississippi, to promote

and sell Humulin N, Humulin R, Humalog, Trulicity and Basaglar.




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          49.   Eli Lilly also directs advertising and informational materials to Mississippi

physicians, payors and diabetics for the specific purpose of selling more of the at-issue

drugs in Mississippi and profiting from the Insulin Pricing Scheme.

          50.   At all times relevant hereto, in furtherance of the Insulin Pricing Scheme, Eli

Lilly caused its false list prices for the at-issue diabetes medications to be published

throughout Mississippi with the express knowledge that payment and reimbursement by

Mississippi diabetics and payors, including the State, would be based on those false list

prices.

          51.   During the relevant time period, the State spent millions of dollars per year

based on Eli Lilly’s false list prices for the at-issue drugs paid for through its employee

health plans and purchased for use in state-run facilities.

          52.   During the relevant time period, diabetics in Mississippi spent millions of

dollars per year out of pocket on Eli Lilly’s at-issue drugs also based on Eli Lilly’s false list

prices.

          53.   All of the Eli Lilly diabetes medications related to the at-issue transactions

were paid for and/or purchased in Mississippi based on the specific false list prices Eli Lilly

caused to be published in Mississippi in furtherance of the Insulin Pricing Scheme.

          54.   Defendant Sanofi-Aventis U.S. LLC (“Sanofi”) is a Delaware limited

liability company with its principal place of business at 55 Corporate Drive, Bridgewater,

New Jersey 08807.

          55.   Sanofi may be served through its registered agent: Corporation Service

Company, 7716 Old Canton Rd. Suite C, Madison, MS 39110.

          56.   Sanofi is registered to do business in Mississippi.




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          57.   Sanofi holds three active Drug Facility Permits with the Mississippi Board of

Pharmacy (License #s: 16521 / 16.5a, 16520 / 16.5a, and 16519 / 16.5a).

          58.   These permits allow Sanofi to manufacture, distribute and sell its at-issue

drugs in Mississippi.

          59.   Sanofi promotes and distributes pharmaceutical drugs in Mississippi,

including several at-issue diabetes medications: Lantus, Toujeo, Apidra and Soliqua.

          60.   Sanofi’s global revenues in 2019 were $3.50 billion from Lantus, $1.03

billion from Toujeo, $400 million from Apidra and $102 million from Soliqua.

          61.   Sanofi’s global revenues in 2018 were $3.9 billion from Lantus, $923 million

from Toujeo, $389 million from Apidra and $73 million from Soliqua.

          62.   Sanofi transacts business in Mississippi, targeting the Mississippi market for

its products, including the at-issue diabetes medications.

          63.   Sanofi employs sales representatives throughout Mississippi to promote and

sell Lantus, Toujeo, Apidra and Soliqua.

          64.   Sanofi also directs advertising and informational materials to Mississippi

physicians, payors and diabetics for the specific purpose of selling more of the at-issue

drugs in Mississippi and profiting from the Insulin Pricing Scheme.

          65.   At all times relevant hereto, in furtherance of the Insulin Pricing Scheme,

Sanofi caused its false list prices for the at-issue diabetes medications to be published

throughout Mississippi with the express knowledge that payment and reimbursement by

Mississippi diabetics and payors, including the State, would be based on those false list

prices.




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          66.   During the relevant time period, the State spent millions of dollars per year

based on Sanofi’s false list prices for the at-issue drugs reimbursed through its employee

health plans and purchased for use in state-run facilities.

          67.   During the relevant time period, diabetics in Mississippi spent millions of

dollars per year out of pocket on Sanofi’s at-issue drugs also based on Sanofi’s false list

prices.

          68.   All of the Sanofi diabetes medications related to the at-issue transactions

were paid for and/or purchased in Mississippi based on the specific false and inflated

prices Sanofi caused to be published in Mississippi in furtherance of the Insulin Pricing

Scheme.

          69.   Defendant Novo Nordisk Inc. (“Novo Nordisk”) is a Delaware

corporation with its principal place of business at 800 Scudders Mill Road, Plainsboro,

New Jersey 08536.

          70.   Novo Nordisk may be served through its registered agent: The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware

19801.

          71.   Novo Nordisk holds an active Drug Facility Permit with the Mississippi

Board of Pharmacy (License #: 17784 / 16.4a).

          72.   This permit allows Novo Nordisk to manufacture, distribute and sell its at-

issue drugs in Mississippi.

          73.   Novo Nordisk promotes and distributes pharmaceutical drugs in

Mississippi, including at-issue diabetic medications: Novolin R, Novolin N, Novolog,

Levemir, Tresiba, Victoza and Ozempic.




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       74.     Nordisk’s global revenues in 2019 were $2.89 billion from Novolog, $973

million from Levemir, $968 million from Tresiba, $2.29 billion from Victoza and $1.17

billion from Ozempic.

       75.     Novo Nordisk’s global revenues in 2018 were $4.19 billion from Novolog,

$1.66 billion from Levemir, $1.19 billion from Tresiba, $3.61 billion from Victoza and $185

million from Ozempic.

       76.     Novo Nordisk transacts business in Mississippi, targeting Mississippi for its

products, including the at-issue diabetes medications.

       77.     Novo Nordisk employs sales representatives throughout Mississippi to

promote and sell Novolin R, Novolin N, Novolog, Levemir, Tresiba, Victoza and Ozempic.

       78.     Novo Nordisk also directs advertising and informational materials to

Mississippi physicians, payors and diabetics for the specific purpose of selling more of the

at-issue drugs in Mississippi and profiting from the Insulin Pricing Scheme.

       79.     At all times relevant hereto, in furtherance of the Insulin Pricing Scheme,

Novo Nordisk caused its false list prices for the at-issue diabetes medications to be

published throughout Mississippi with the express knowledge that payment and

reimbursement by Mississippi diabetics and payors, including the State, would be based

on those false list prices.

       80.     During the relevant time period, the State spent millions of dollars per year

based on Novo Nordisk’s false list prices for the at-issue drugs through its employee health

plans and through purchases for use in state-run facilities.

       81.     During the relevant time period, diabetics in Mississippi spent millions of

dollars per year out of pocket on Novo Nordisk’s at-issue drugs also based on Novo

Nordisk’s false list prices.


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         82.   All of the Novo Nordisk diabetes medications related to the at-issue

transactions were paid for and/or purchased in Mississippi based on the specific false and

inflated prices Novo Nordisk caused to be published in Mississippi in furtherance of the

Insulin Pricing Scheme.

         83.   Collectively, Defendants Eli Lilly, Novo Nordisk and Sanofi are referred to as

“Manufacturer Defendants” or “Manufacturers.”

         C.    PBM Defendants

         84.   Defendant CVS Health Corporation (“CVS Health”) is a Delaware

corporation with its principal place of business at One CVS Drive, Woonsocket, Rhode

Island 02895. CVS Health transacts business and has locations throughout Mississippi.

         85.   CVS Health may be served through its registered agent: The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware

19801.

         86.   CVS Health, through its executives and employees, including its CEO, Chief

Medical Officer, Executive Vice Presidents, Senior Executives in Trade Finance, and Chief

Communication Officers, is directly involved in the PBM services and formulary

construction related to the Insulin Pricing Scheme that gave rise to the State’s claims.

         87.   During the relevant time, CVS Health (or its predecessor)2 has repeatedly,

continuously and explicitly stated that CVS Health:

               a.     “design[s] pharmacy benefit plans that minimize the costs to the
               client while prioritizing the welfare and safety of the clients’ members and
               helping improve health outcomes;” 3


2 Until 2014, CVS Health was known as “CVS Caremark.”      In September 2014, “CVS Caremark
Corporation announced that it is changing its corporate name to CVS Health to reflect its broader
health care commitment and its expertise in driving the innovations needed to shape the future
of health.”
3 CVS Caremark/CVS Health, Annual Reports (Form 10-K) (Dec. 31, 2009-2019).




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              b.     “negotiate[s] with pharmaceutical companies to obtain discounted
              acquisition costs for many of the products on [CVS Health’s] drug lists, and
              these negotiated discounts enable [CVS Health] to offer reduced costs to
              clients;”4

              c.     “utilize[s] an independent panel of doctors, pharmacists and other
              medical experts, referred to as its Pharmacy and Therapeutics Committee,
              to select drugs that meet the highest standards of safety and efficacy for
              inclusion on [CVS Health’s] drug lists.”5

       88.    CVS Health publicly represents that CVS Health constructs programs that

lower the cost of the at-issue diabetes medications. For example, in 2016, CVS Health

announced a new program to “reduce overall spending in diabetes” that is available in all

states, including Mississippi, stating:

       “CVS Health introduced a new program available to help the company’s
       pharmacy benefit management (PBM) clients to improve the health
       outcomes of their members, lower pharmacy costs [for diabetes
       medications] through aggressive trend management and decrease medical
       costs . . . [and that] participating clients could save between $3000 to $5000
       per year for each member who successfully improves control of their
       diabetes” (Emphasis added).

       89.    In 2017, CVS Health stated that “CVS Health pharmacy benefit management

(PBM) strategies reduced trend for commercial clients to 1.9 percent per member per year

the lowest in five years. Despite manufacturer price increases of near 10 percent, CVS

Health kept drug price growth at a minimal 0.2 percent.”

       90.    In 2005, 2010 and 2015, CVS Health made similar representations directly

to the State. Examples include:

              a.     In April 2005, CVS Health represented to the State that “[CVS
              Health] provide[s] . . . the managed prescription drug program that will meet
              [the State’s] financial objectives, maintain a high degree of plan participant
              satisfaction and loyalty, and actively and creatively manage the cost of
              buying and delivering healthcare benefits.”


4 CVS Caremark/CVS Health, Annual Reports (Form 10-K) (Dec. 31, 2009-2013).
5 CVS Caremark/CVS Health, Annual Reports (Form 10-K) (Dec. 31, 2009-2019).




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              b.     On March 22, 2010, CVS Health represented to the State, “As the
              largest integrated provider of prescription drug benefits in the United States,
              [CVS Health] has the resources and proven experience to provide the highest
              quality of pharmaceutical care and deliver what plans want most – improved
              savings and improved member experience.” (Emphasis added).

              c.     On March 4, 2015, the Vice President of Client Financial Analysis and
              Proposals for CVS Health represented to the State, “[CVS Health’s]
              capabilities allow us to identify unique opportunities that improve member
              health and reduce total health care costs for our clients;” “CVS Health will
              provide consultative services regarding pharmacy benefit design including
              but not limited to . . . formularies, . . . implementation of programs which
              control utilization and optimize health, utilization review services and
              evaluation of drug use and cost data. [CVS Health’s] consultative services
              can play a major role in support of the [State’s] strategic objectives for
              managing pharmacy and total health care trend.” (Emphasis added).

       91.    CVS Health has entered into business relationships in Mississippi, including

in 2015 when CVS Health announced a clinical affiliation with the University of Mississippi

Medical Center to provide integrated health information in order to allow patients to better

monitor their chronic diseases, such as diabetes.

       92.    On March 4, 2015, CVS Health informed the State that “CVS Health operates

50 CVS/Pharmacy locations and support facilities [in Mississippi] in which more than 880

[CVS Health] colleagues work.” (Emphasis added).

       93.    In November 2018, CVS Health acquired Aetna for $69 billion and became

the first combination of a major health insurer, PBM, mail order and retail pharmacy

chain. As a result, CVS Health controls the health plan/insurer, the PBM and the

pharmacies utilized by approximately 40 million Aetna members in the United States and

in Mississippi. CVS controls the entire drug pricing chain for these 40 million Americans.

       94.    Throughout the relevant time period, the Manufacturer Defendants directly

engaged with CVS Health executives in furtherance of the Insulin Pricing Scheme. Each




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Manufacturer Defendant has an entire team of executives dedicated exclusively to

interacting with CVS Health.

      95.    Manufacturer Defendants have explicitly recognized that effectuating the

Insulin Pricing Scheme requires “intimacy and connect[ion]” between the Manufacturer

Defendants’ leaders and CVS Health’s leaders in order to align on “strategic formulary

management initiatives to ensure profitable access across all [standard] formularies.”

      96.    On a regular basis throughout the relevant period, the Manufacturer

Defendants’ executive teams—which at times included their CEOs—met with CVS Health

executives to discuss their coordinated efforts related to the at-issue drugs. Examples

include:

             a.     In 2011, 2012, and 2016 the leaders of CVS Health and Novo Nordisk
             participated in executive exchange meetings, which appear to have included
             discussions in furtherance of the Insulin Pricing Scheme. These meetings
             included the Executive Vice President of CVS Health (Per Lofberg), the Chief
             Medical Officer of CVS Health (Dr. Troy Brennan), members of CVS
             Health’s Enterprise Operating Committee (Matthew Leonard) and key
             executives from Novo Nordisk.

             b.     In 2012, the leaders of CVS Health and Eli Lilly participated in
             numerous executive meetings which appear to have included discussions in
             furtherance of the Insulin Pricing Scheme. These meetings included the
             CEO of CVS Health (Per Lofberg), the COO of CVS Health (Jon Roberts),
             members of CVS Health’s Enterprise Operating Committee (Matthew
             Leonard), the President of Eli Lilly       and the Senior Vice President
             of Managed Care at Eli Lilly                  , among others.

      97.    Defendant CVS Pharmacy, Inc. (“CVS Pharmacy”) is a Rhode Island

corporation whose principal place of business is at the same location as CVS Health. CVS

Pharmacy is a wholly owned subsidiary of CVS Health.

      98.    CVS Pharmacy owns and operates dozens of pharmacies throughout

Mississippi that were directly involved in and profited from the Insulin Pricing Scheme.




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       99.       CVS Pharmacy is also the immediate and direct parent of Defendant

Caremark Rx, L.L.C.

       100.      CVS Pharmacy is registered to do business in Mississippi and has been since

at least 1997.

       101.      CVS Pharmacy may be served through its registered agent: CT Corporation

System, 645 Lakeland East Dr. Ste 101, Flowood, MS 39232.

       102.      During the relevant time period, CVS Pharmacy provided retail pharmacy

services in Mississippi that gave rise to the Insulin Pricing Scheme, which damaged

diabetic Mississippians and the State.

       103.      Defendant Caremark Rx, L.L.C. is a Delaware limited liability company

and its principal place of business is at the same location as CVS Pharmacy and CVS

Health.

       104.      Caremark Rx, L.L.C. is a wholly owned subsidiary of Defendant CVS

Pharmacy.

       105.      Caremark Rx, L.L.C. may be served through its registered agent: The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801.

       106.      During the relevant time period, Caremark Rx, L.L.C. provided PBM and

mail order pharmacy services in Mississippi that gave rise to the Insulin Pricing Scheme,

which damaged diabetic Mississippians and the State.

       107.      Defendant Caremark L.L.C. is a California limited liability company

whose principal place of business is at the same location as CVS Health. Caremark, L.L.C.

is a wholly owned subsidiary of Caremark Rx, L.L.C.




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       108.   Caremark, L.L.C. is registered to do business in Mississippi and has been

since at least 2007. Caremark, L.L.C. may be served through its registered agent: CT

Corporation System, 645 Lakeland East Drive, Suite 101, Flowood, Mississippi 39232.

       109.   Caremark, L.L.C. holds one active Drug Facility Permit (License #: 15883 /

16.5a), one active PBM Permit (License #:140123 / 14.1) and two active Non-Resident

Facility Permits (License #s: 03556 / 7.1 and 16616 / 7.1) with the Mississippi Board of

Pharmacy.

       110.   During the relevant time period, Caremark, L.L.C. also provided PBM and

mail order pharmacy services in Mississippi that gave rise to the Insulin Pricing Scheme,

which damaged diabetic Mississippians and the State.

       111.   Defendant CaremarkPCS Health, L.L.C. is a Delaware limited liability

company whose principal place of business is at the same location as CVS Health.

CaremarkPCS Health LLC is a wholly owned subsidiary of CVS Health.

       112.   CaremarkPCS Health, L.L.C. provides pharmacy benefit management

services.

       113.   CaremarkPCS Health, L.L.C. is registered to do business in Mississippi and

has been since at least 2014.

       114.   CaremarkPCS Health, L.L.C. may be served through its registered agent: CT

Corporation System, 645 Lakeland East Drive, Suite 101, Flowood, Mississippi 39232.

       115.   CaremarkPCS Health, L.L.C. holds an active PBM Permit (License #:140116

/ 14.1) with the Mississippi Board of Pharmacy.

       116.   During the relevant time period, CaremarkPCS Health, L.L.C. provided PBM

services in Mississippi, which gave rise to the Insulin Pricing Scheme and damaged

diabetic Mississippians and the State.


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      117.   As a result of numerous interlocking directorships and shared executives,

Caremark Rx, L.L.C., CVS Pharmacy, and CVS Health are directly involved in the conduct

of and control CaremarkPCS Health, L.L.C and Caremark, L.L.C.’s operations,

management and business decisions related to the at-issue formulary construction,

Manufacturer Payments and mail order and retail pharmacy services to the ultimate

detriment of Mississippi diabetics and the State. For example:

             a.    During the relevant time period, these parent and subsidiaries have
             had common officers and directors. Examples include:

                    Thomas S. Moffatt was Vice President and Secretary of Caremark Rx,
                     L.L.C., CaremarkPCS Health L.L.C., and Caremark, L.L.C at the same
                     time he was a Vice President, Assistant Secretary, and Assistant
                     General Counsel at CVS Health and Director, Vice President, and
                     Secretary at CVS Pharmacy;

                    Melanie K. Luker was the Assistant Secretary of CVS Pharmacy,
                     Caremark Rx, L.L.C., CaremarkPCS Health, L.L.C, and Caremark,
                     L.L.C. at the same time she was a Senior Manager of Corporate
                     Services at CVS Health;

                    Jonathan C. Roberts was an Executive Vice President and Chief
                     Operating Officer at CVS Health at the same time he was CEO of
                     Caremark Rx, L.L.C.;

                    Daniel P. Davison was the President of CaremarkPCS Health LLC at
                     the same time he was a Senior Vice President at CVS Health;

                    Annie E. Klis was a Vice President at CVS Health at the same time she
                     was CEO of Caremark, L.L.C.

             b.   CVS Health directly or indirectly owns all the stock of CVS Pharmacy,
             Caremark Rx, L.L.C., Caremark L.L.C. and CaremarkPCS Health LLC.

             c.     All of the executives of CaremarkPCS Health, L.L.C., Caremark,
             L.L.C., Caremark Rx, L.L.C., and CVS Pharmacy ultimately report to the
             executives at CVS Health, including the President and CEO of CVS Health.

             d.     CVS Health, as a corporate family, does not operate as separate
             entities. The public filings, documents and statements of CVS Health
             presents its subsidiaries, including CVS Pharmacy, CaremarkPCS Health,
             L.L.C., Caremark, L.L.C. and Caremark Rx, L.L.C. as divisions or


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              departments of one unified “diversified health services company” that
              “works together across our disciplines” to “create unmatched human
              connections to transform the health care experience.” The day-to-day
              operations of this corporate family reflect these public statements. These
              entities are a single business enterprise and should be treated as such as to
              all legal obligations discussed in this Third Amended Complaint. The CVS
              Health enterprise and each of these entities, both individually and
              collectively, engaged in the at-issue conduct that gave rise to the Insulin
              Pricing Scheme.

       118.   Collectively, Defendants CVS Health, CVS Pharmacy, Caremark Rx, L.L.C.,

Caremark, L.L.C. and CaremarkPCS Health, L.L.C, including all predecessor and successor

entities, are referred to as “CVS Caremark.”

       119.   CVS Caremark is named as a Defendant in its capacities as a PBM and as

mail order and retail pharmacy.

       120.   In its capacity as a PBM, CVS Caremark coordinates with Novo Nordisk, Eli

Lilly and Sanofi regarding the false list prices for the at-issue diabetes medications, as well

as for the placement of these firms’ diabetes medications on CVS Caremark’s formularies.

       121.   CVS Caremark has the largest PBM market share based on total prescription

claims managed, representing approximately 40% of the national market and a substantial

portion of the Mississippi market.

       122.   At all times relevant hereto, CVS Caremark offered pharmacy benefit

services to Mississippi payors, and derived substantial revenue therefrom, and, in doing

so, made the at-issue misrepresentations (discussed below) and utilized the false prices

generated by the Insulin Pricing Scheme to profit off Mississippi diabetics and payors.

       123.   At all times relevant hereto, CVS Caremark maintained standard formularies

that are used in Mississippi. During the relevant time period, those formularies included

the at-issue diabetes medications.




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       124.   The State currently relies on CVS Caremark to provide the at-issue PBM and

pharmacy services to the State’s health plan—the State and School Employees Health

Insurance Management Board.

       125.   From 1996-2005, CVS Caremark also provided the at-issue PBM and

pharmacy services to the State’s health plan.

       126.   At all times relevant hereto, and contrary to all of its express representations,

CVS Caremark has knowingly insisted that its payor clients, including the State, use the

false list prices produced by the Insulin Pricing Scheme as the basis for payment for the

price paid for the at-issue drugs.

       127.   At all times relevant hereto, CVS Caremark has concealed its critical role in

the generation of those false list prices.

       128.   In its capacity as a mail order and retail pharmacy, CVS Caremark received

payments from Mississippi diabetics and payors for, and set the out-of-pocket prices paid

for, the at-issue drugs based on the false list prices produced by the Insulin Pricing Scheme

and, as a result, damaged Mississippi diabetics and payors.

       129.   In its capacity as a retail pharmacy, CVS Caremark further and knowingly

profited from the false list prices produced by the Insulin Pricing Scheme by pocketing the

spread between acquisition cost for the drugs at issue (an amount well below the list price

generated by the Insulin Pricing Scheme), and the amounts they received from payors

(which amounts were based on the false list prices and, in many cases, were set by CVS

Caremark in its capacity as a PBM).

       130.   CVS Caremark purchases drugs from manufacturers, including the

Manufacturer Defendants, and through drug wholesalers for dispensing by its mail order

and retail pharmacies.


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        131.    At all times relevant hereto, CVS Caremark had express agreements with

Defendants Novo Nordisk, Sanofi and Eli Lilly related to the Manufacturer Payments paid

to CVS Caremark, as well as agreements related to the Manufacturers’ at-issue drugs sold

through CVS Caremark’s mail order and retail pharmacies, including those located in

Mississippi.

        132.    Defendant Evernorth Health, Inc. (“Evernorth”), formerly known as

Express Scripts Holding Company, is a Delaware corporation with its principal place of

business at 1 Express Way, St. Louis, Missouri 63121.6

        133.    Evernorth may be served through its registered agent: The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801.

        134.    Evernorth, through its executives and employees including its CEO and Vice

Presidents, is directly involved in shaping the company policies that inform its PBM

services and formulary construction, including with respect to the at-issue drugs, related

to the Insulin Pricing Scheme. For example, during the relevant time period Evernorth’s

CEO Tim Wentworth was involved in communications with the Manufacturer Defendants

related to the at-issue drugs and at-issue Manufacturer Payments.

        135.    Evernorth’s conduct had a direct effect in Mississippi and damaged diabetic

Mississippians and the State.

        136.    On a regular basis, Evernorth executives and employees communicate with

and direct its subsidiaries related to the at-issue PBM services and formulary activities.

        137.    Throughout the relevant time period, the Manufacturer Defendants directly

engaged with Evernorth executives in furtherance of the Insulin Pricing Scheme. Each


6 Until 2021, Evernorth Health, Inc. conducted business under the name Express Scripts Holding Company.

For the purposes of this Complaint “Evernorth” refers to Evernorth Health, Inc and Express Scripts Holding
Company.


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Manufacturer Defendant has an entire team of executives dedicated exclusively to

interacting with Evernorth.

      138.     Manufacturers recognize that effectuating the Insulin Pricing Scheme

requires “enhanced    relationships at C Suite level” between the Manufacturers and

Evernorth to “[i]mprove diabetes patient management through collaboration” and

to “work synergistically within [Manufacturer Defendants] to maximize [Evernorth’s]

business opportunities.”

      139.   On a regular basis throughout the relevant time period, these Manufacturer

executive teams—which at times include the CEOs from these companies—met with

Evernorth to discuss their coordinated efforts related to the at-issue drugs. Examples

include:

             a.     In 2013, 2014, and 2015 the leaders of Evernorth and Eli Lilly
             participated in executive meetings which appear to have included
             discussions in furtherance of the Insulin Pricing Scheme. These meetings
             included the CEO of Evernorth (George Paz), Senior Director of Express
             Scripts Pharmaceutical Strategies & Solutions (Jason Zilocchi), CEO of Eli
             Lilly                   , Head of Eli Lilly’s diabetes division
                       , among others.

             b.     In 2013 and 2014, the leaders of Evernorth and Novo Nordisk
             participated in executive meetings which appear to have included
             discussions in furtherance of the Insulin Pricing Scheme.

      140.   Evernorth is the immediate or indirect parent of pharmacy and PBM

subsidiaries that operate throughout Mississippi, which engaged in the activities that gave

rise to this Third Amended Complaint.

      141.   In December 2018, Evernorth merged with Cigna in a $67 billion deal to

consolidate their businesses as a major health insurer, PBM and mail order pharmacy. As

a result, the Evernorth corporate family controls the health plan/insurer, the PBM and the

mail order pharmacies utilized by approximately 15 million Cigna members in the United


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States and in Mississippi. Evernorth controls the entire drug pricing chain for these 15

million Americans.

       142.   In each annual report for at least the last decade, Evernorth has repeatedly,

continuously and explicitly stated:7

              a.     “[Evernorth] is one of the largest PBMs in North America . . . [and
              Evernorth] help[s] health benefit providers address access and affordability
              concerns resulting from rising drug costs while helping to improve
              healthcare outcomes.”

              b.     “[Evernorth] manage[s] the cost of the drug benefit by . . . assist[ing]
              clients in selecting a cost-effective formulary [and] leveraging purchasing
              volume to deliver discounts to health benefit providers.”

              c.     “[Evernorth] works with clients, manufacturers, pharmacists and
              physicians to increase efficiency in the drug distribution chain, to manage
              costs in the pharmacy benefit chain and to improve members’ health
              outcomes.”

       143.   Defendant Express Scripts, Inc. is a Delaware corporation and is a

wholly owned subsidiary of Defendant Evernorth. Express Scripts, Inc.’s principal place of

business is at the same location as Evernorth.

       144.   Express Scripts, Inc. is registered to do business in Mississippi and has been

since at least 2010.

       145.   Express Scripts, Inc. may be served through its registered agent: Corporation

Service Company, 7716 Old Canton Road, Suite C, Madison, Mississippi 39910.

       146.   Express Scripts, Inc. is the immediate or indirect parent of pharmacy and

PBM subsidiaries that operate throughout Mississippi that engaged in the conduct which

gave rise to this Third Amended Complaint.




7 Express Scripts Annual Reports (Form 10-K) (Dec. 31, 2009-2019).




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         147.   During the relevant time period, Express Scripts Inc. was directly involved

in the PBM and mail order pharmacy services which gave rise to the Insulin Pricing

Scheme and damaged diabetic Mississippians and the State.

         148.   Defendant Express Scripts Administrators, LLC, doing business as

Express Scripts and formerly known as Medco Health, L.L.C., is a Delaware limited

liability company and is a wholly owned subsidiary of Evernorth. Express Scripts

Administrators, LLC’s principal place of business is at the same location as Evernorth.

         149.   Express Scripts Administrators, LLC is registered to do business in

Mississippi and has been since at least 2006.

         150.   Express Scripts Administrators, LLC may be served through its registered

agent: Corporation Service Company, 7716 Old Canton Road, Suite C, Madison,

Mississippi 39910.

         151.   Express Scripts Administrators, LLC holds an active PBM Permit (License

#: 140117 / 14.1) with the Mississippi Board of Pharmacy.

         152.   During the relevant time period, Express Scripts Administrators, LLC

provided the PBM services in Mississippi discussed in this Third Amended Complaint that

gave rise to the Insulin Pricing Scheme that damaged diabetic Mississippians and the

State.

         153.   Defendant Medco Health Solutions, Inc. (“Medco”) is a Delaware

Corporation with its principal place of business located at 100 Parsons Pond Road,

Franklin Lakes, New Jersey.

         154.   Medco may be served through its registered agent: CT Corporation System,

645 Lakeland East Drive Ste 101, Flowood, MS 39232.




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       155.   Prior to 2012, Medco provided pharmacy benefit management services to

various health insurance entities throughout the United States and in Mississippi.

       156.   In 2012, Express Scripts acquired Medco for $29 billion.

       157.   Prior to the merger Express Scripts and Medco were two of the largest PBMs

in the United States and in Mississippi.

       158.   Prior to the merger, Medco provided the at-issue PBM and mail order

services in Mississippi, which gave rise to the Insulin Pricing Scheme and damaged

diabetic Mississippians and the State.

       159.   Following the merger, all of Medco’s PBM and mail order pharmacy

functions were combined into Express Scripts. The combined company (Medco and

Express Scripts) continued under the name Express Scripts with all of Medco’s payor

customers becoming Express Scripts’ customers. The combined company covered over 155

million lives at the time of the merger.

       160.   At the time of the merger, on December 6, 2011, in his testimony before the

Senate Judiciary Committee, then CEO of Medco, David B Snow, publicly represented

that “the merger of Medco and Express Scripts will result in immediate savings to our

clients and, ultimately, to consumers. This is because our combined entity will achieve

even greater [Manufacturer Payments] from drug manufacturers and other suppliers.”

       161.   The then-CEO of Express Scripts, George Paz, during a Congressional

subcommittee hearing in September 2011, echoed these sentiments: “A combined Express

Scripts and Medco will be well-positioned to protect American families from the rising cost

of prescription medicines.”




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       162.   Defendant ESI Mail Pharmacy Service, Inc. is a Delaware corporation

and is a wholly owned subsidiary of Defendant Evernorth. ESI Mail Pharmacy Service,

Inc.’s principal place of business is at the same location as Evernorth.

       163.   ESI Mail Pharmacy Service, Inc. may be served through its registered agent:

Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware 19808.

       164.   ESI Mail Pharmacy Service, Inc. holds four active Non-Resident Facility

Permits (License #s: 13873 / 7.1, 13921 / 7.1, 05805 / 7.1, 02882 / 7.1) with the Mississippi

Board of Pharmacy.

       165.   During the relevant time period, ESI Mail Pharmacy Services provided the

mail order pharmacy services in Mississippi discussed in this Third Amended Complaint,

which gave rise to the Insulin Pricing Scheme and damaged diabetic Mississippians and

the State.

       166.   Defendant Express Scripts Pharmacy, Inc. is a Delaware corporation

and is a wholly owned subsidiary of Defendant Evernorth. Express Scripts Pharmacy,

Inc.’s principal place of business is at the same location as Evernorth.

       167.   Express Scripts Pharmacy, Inc. may be served through its registered agent:

Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware 19808.

       168.   Express Scripts Pharmacy, Inc. holds six active Non-Resident Facility

Permits (License #s: 13393 / 7.1, 03645 / 7.1, 04548 / 7.1, 08226 / 7.1, 05397 / 7.1, 05060

/ 7.1) with the Mississippi Board of Pharmacy.

       169.   During the relevant time period, Express Scripts Pharmacy, Inc. provided

the mail order pharmacy services in Mississippi discussed in this Third Amended

Complaint, which gave rise to the Insulin Pricing Scheme and damaged diabetic

Mississippians and the State.


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      170.     As a result of numerous interlocking directorships and shared executives,

Evernorth and Express Scripts, Inc. are directly involved in the conduct of and control

Express Scripts Administrators, LLC, Medco Health Solutions, Inc., ESI Mail Pharmacy

Service, Inc. and Express Scripts Pharmacy, Inc’s operations, management and business

decisions related to the at-issue formulary construction, Manufacturer Payments and mail

order pharmacy services to the ultimate detriment of Mississippi diabetics and the State.

For example:

               a.    During the relevant time period, these parent and subsidiaries have
               had common officers and directors:

                     Officers and/or directors that have been shared between Express
                      Scripts, Inc. and Evernorth include Bradley Phillips, Chief Financial
                      Officer; David Queller, President; Jill Stadelman, Secretary; Timothy
                      Smith, Vice President; and Scott Lambert, Treasury Manager
                      Director;

                     Executives that have been shared between Express Scripts
                      Administrators, LLC and Evernorth include Bradley Phillips, Chief
                      Financial Officer; and Priscilla Duncan, Associate Secretary;

                     Officers and/or directors that have been shared between ESI Mail
                      Pharmacy Service, Inc. and Evernorth include Bradley Phillips, Chief
                      Financial Officer; Priscilla Duncan, Associate Secretary; and Joanne
                      Hart, Associate Treasurer;

                     Officers and/or directors that have been shared between Express
                      Scripts Pharmacy, Inc. and Evernorth include Bradley Phillips, Chief
                      Financial Officer; Jill Stadelman, Secretary; Scott Lambert, Treasury
                      Manager Director; and Joanne Hart, Associate Treasurer; and

                     Officers and/or directors that have been shared between Medco
                      Health Solutions, Inc. and Evernorth include David Queller,
                      President and Senior VP of Sales & Accounting, Christine Houston,
                      VP and COO, Timothy Smith, VP and Treasurer and all of the officers
                      of Medco Health Solutions are also officers of Express Scripts, Inc.

               b.     Evernorth directly or indirectly owns all of the stock of Express
               Scripts Administrators, LLC, Medco Health Solutions, Inc., ESI Mail
               Pharmacy Service, Inc., Express Scripts Pharmacy, Inc. and Express Scripts,
               Inc.


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              c.      The Evernorth corporate family does not operate as separate entities.
              The public filings, documents and statements of Evernorth presents its
              subsidiaries, including Express Scripts Administrators, LLC, Medco Health
              Solutions, Inc., ESI Mail Pharmacy Service, Inc., Express Scripts Pharmacy,
              Inc. and Express Scripts, Inc. as divisions or departments of a single
              company that “unites businesses that have as many as 30+ years of
              experience . . . [to] tak[e] health services further with integrated data and
              analytics that help us deliver better care to more people.” The day-to-day
              operations of this corporate family reflect these public statements. All of
              these entities are a single business enterprise and should be treated as such
              as to all legal obligations detailed in this Third Amended Complaint. The
              Evernorth enterprise and each of these entities, both individually and
              collectively, engaged in the at-issue conduct that gave rise to the Insulin
              Pricing Scheme.

              d.     All of the executives of Express Scripts Administrators, LLC, Medco
              Health Solutions, Inc., ESI Mail Pharmacy Service, Inc., Express Scripts
              Pharmacy, Inc. and Express Scripts, Inc. ultimately report to the executives,
              including the CEO, of Evernorth.

              e.     As stated above, Evernorth’s CEO and other executives and officers
              are directly involved in the policies and business decisions of Express Scripts
              Administrators, LLC, ESI Mail Pharmacy Service, Inc., Medco Health
              Solutions, Inc., Express Scripts Pharmacy, Inc. and Express Scripts, Inc. that
              gave rise to the State’s claims in this Third Amended Complaint.

       171.   Collectively, Defendants Evernorth Health, Inc., Express Scripts, Inc.,

Express Scripts Administrators, LLC, Medco Health Solutions, Inc., ESI Mail Pharmacy

Service, Inc. and Express Scripts Pharmacy, Inc., including all predecessor and successor

entities, are referred to as “Express Scripts.”

       172.   Express Scripts is named as a Defendant in its capacities as a PBM and mail

order pharmacy.

       173.   In its capacity as a PBM, Express Scripts coordinates with Novo Nordisk, Eli

Lilly and Sanofi regarding the false list prices for the at-issue diabetes medications, as well

as for the placement of these firms’ diabetes medications on Express Script’s formularies.




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       174.   Prior to merging with Cigna in 2019, Express Scripts was the largest

independent PBM in the United States. During the relevant period of this Third Amended

Complaint, Express Scripts controlled 30% of the PBM market in the United States.

Express Scripts has only grown larger since the Cigna merger.

       175.   In Mississippi, during the relevant time period, Express Scripts controlled

up to 30% of the PBM market share based on covered lives, including at certain times up

to 92% of the commercial insurance market in Mississippi.

       176.   In 2017, annual revenue for Express Scripts was over $100 billion.

       177.   As of December 31, 2018, more than 98% of all retail pharmacies in the

nation participated in one or more of Express Scripts’ networks.

       178.   At all times relevant hereto, Express Scripts offered pharmacy benefit

services, and derived substantial revenue therefrom, in Mississippi and provided the at-

issue PBM services to numerous payors in Mississippi.

       179.   At all times relevant hereto, and contrary to all of their express

representations, Express Scripts has knowingly insisted that its payor clients use the false

list prices produced by the Insulin Pricing Scheme as the basis for reimbursement of the

at-issue drugs.

       180.   At all times relevant hereto, Express Scripts has concealed its critical role in

the generation of those false list prices.

       181.   At all times relevant hereto, Express Scripts maintained standard

formularies that are used in Mississippi. During the relevant time period, those

formularies included the at-issue diabetes medications.

       182.   During certain years when some of the largest at-issue price increases

occurred, including in 2013 and 2014, Express Scripts worked directly with OptumRx to


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negotiate Manufacturer Payments on behalf of OptumRx and its clients in exchange for

preferred formulary placement. During these same years, OptumRx provided PBM

services to the State, including Manufacturer Payment negotiations and formulary

construction.

       183.     In its capacity as a mail order pharmacy, Express Scripts received payments

from Mississippi diabetics and payors for, and set the out-of-pocket price paid for, the at-

issue drugs based on the falsely inflated prices produced by the Insulin Pricing Scheme

and, as a result, damaged Mississippi diabetics and payors.

       184.     At all times relevant hereto, Express Scripts derived substantial revenue

providing mail order pharmacy services in Mississippi.

       185.     Express Scripts purchases drugs directly from manufacturers for dispensing

through its mail order pharmacy.

       186.     At all times relevant hereto, Express Scripts received payments from

Mississippi diabetics and payors for, and set the out-of-pocket prices paid for, the at-issue

drugs based on the false list prices produced by the Insulin Pricing Scheme and, as a result,

damaged Mississippi diabetics and payors.

       187.     Express Scripts operates the mail order pharmacy and handles the

Manufacturer Payment contracting for the PBM Prime Therapeutics. Upon information

and belief, through this relationship, during the relevant time period, Express Scripts

negotiated Manufacturer Payments related to the at-issue purchases made by the State

through its health plan.

       188.     At all times relevant hereto, Express Scripts had express agreements with

Defendants Novo Nordisk, Sanofi and Eli Lilly related to the Manufacturer Payments paid

by the Manufacturer Defendants to Express Scripts, as well as agreements related to the


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Manufacturers’ at-issue drugs sold through Express Scripts’ mail order pharmacies in

Mississippi.

      189.     Defendant UnitedHealth Group, Inc. (“UnitedHealth Group” or

“UHG”) is a corporation organized under the laws of Delaware with its principal place of

business at 9900 Bren Road East, Minnetonka, Minnesota, 55343.

      190.     UnitedHealth Group, Inc. may be served through its registered agent: The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801.

      191.     UnitedHealth Group, Inc. is a diversified managed healthcare company. In

2015, UnitedHealth Group reported revenue in excess of $157 billion, and the company is

currently ranked sixth on the Fortune 500 list.

      192.     One-third of the overall revenues of UnitedHealth Group come from

OptumRx.

      193.     UnitedHealth Group was directly involved in the conduct that caused the

Insulin Pricing Scheme and as a result had a direct effect in Mississippi and damaged

diabetic Mississippians and the State.

      194.     UnitedHealth Group, through its executives and employees, is directly

involved in its enterprise-wide PBM services and formulary construction, including with

respect to the at-issue drugs and related to the Insulin Pricing Scheme. For example,

during the relevant time period OptumRx represented to the State that in providing PBM

services, UnitedHealth Group has an “enterprise-wide commitment to Mississippi” with

over “500 Mississippi-based employees as part of UnitedHealth Group, we are confident

in our understanding of the market dynamics within [Mississippi] as well as our ability to




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lower overall drug costs while providing an unparalleled customer and member

experience.”

       195.    UnitedHealth Group’s Sustainability Report states that “OptumRx works

directly with pharmaceutical manufacturers to secure discounts that lower the overall cost

of medications and create tailored formularies – or drug lists – to ensure people get the

right medications. [UnitedHealth Group] then negotiate[s] with pharmacies to lower

costs at the point of sale . . . [UnitedHealth Group] also operate[s] [mail order pharmacies]

. . . . [UnitedHealth Group] work[s] directly with drug wholesalers and distributors to

ensure consistency of the brand and generic drug supply, and a reliance on that drug

supply.”

       196.    UnitedHealth Group executives structure, analyze and direct the company’s

overarching policies, including with respect to PBM and mail order services, as a means of

maximizing profitability across the corporate family.

       197.    On a regular basis throughout the relevant time period, executive teams from

each Manufacturer Defendant—including at times their CEOs—met with executives from

UnitedHealth Group to discuss their coordinated efforts in furtherance of the Insulin

Pricing Scheme. Examples include:

               a.     In April 2015, the Executive Vice President at UnitedHealth Group,
               the Chief Commercial Officer at Optum Analytics, the Vice President of
               Optum, the Vice President of OptumInsight, among other executives met
               with Vice President of Market Access and the Executive Vice President of
               Strategic Accounts, among other executives from Novo Nordisk at
               UnitedHealth Group’s corporate headquarters to discuss their strategic
               overview and prioritized opportunities in diabetes.

               b.     In October 2016, the CEO of OptumRx, Mark Thierer, and the CEO
               of UnitedHealth Group, Steve Hemsley, met the CEO of Eli Lilly, Dave
               Ricks, to discuss “strategic initiatives” between UHG/OptumRx and Eli
               Lilly.



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         198.   In addition to being a PBM and a mail order pharmacy, UnitedHealth Group

owns and controls a major health insurance company, UnitedHealthcare. As a result,

UnitedHealth Group controls the health plan/insurer, the PBM and the mail order

pharmacies utilized by approximately 26 million UnitedHealthcare members in the United

States and in Mississippi. UnitedHealth Group controls the entire drug pricing chain for

these 26 million Americans.

         199.   During the relevant time period, UnitedHealth Group has availed itself of

Mississippi courts, including in UnitedHealth Group Incorporated, et al. v. Gallagher,

3:11cv00329-HTW-LRA (S.D. Mississippi), filed Jun. 1, 2011. In the complaint that

initiated that lawsuit, UHG represented that it contracted with Mississippi residents and

directly engaged in PBM business and programs in Mississippi related to “advancing the

health and well-being of individuals and communities,” and that UnitedHealth Group’s

business interests in Mississippi included providing PBM services to the State.

         200. Defendant Optum, Inc., is a Delaware corporation with its principal place

of business located in Eden Prairie, Minnesota. Optum, Inc. is a health services company

managing subsidiaries that administer pharmacy benefits, including Defendant OptumRx,

Inc.

         201.   Optum, Inc. may be served through its registered agent: The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware

19801.

         202.   Optum, Inc. is directly involved, through its executives and employees, in the

company policies that inform its PBM services and formulary construction, including with

respect to the at-issue drugs and related to the Insulin Pricing Scheme, which had a direct

effect in Mississippi and damaged diabetic Mississippians and the State.


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         203.   For example, according to Optum Inc.’s press releases, Optum, Inc. is

“UnitedHealth Group’s information and technology-enabled health services business

platform serving the broad healthcare marketplace, including care providers, plan

sponsors, payors, life sciences companies and consumers.” In this role Optum, Inc. is

directly responsible for the “business units – OptumInsight, OptumHealth and OptumRx”

and the CEOs of all these companies report directly to Optum, Inc. regarding their policies,

including those that inform the at-issue formulary construction and mail order activities.

         204.   OptumRx represented directly to the State that in providing PBM services it

“leverage[es] the power of Optum to impact cost of care . . . to address all health and

savings opportunities.”

         205.   Defendant OptumInsight, Inc. (“OptumInsight”) is a Delaware

corporation with a principal place of business at 11000 Optum Circle, Eden Prairie, MN

55344.

         206. OptumInsight is registered to business in Mississippi and has been since

1998. OptumInsight may be served through its registered agent: CT Corporation System,

645 Lakeland East Drive, Suite 101, Flowood, Mississippi 39232.

         207.   OptumInsight holds one active Third Party Administrator license in

Mississippi (License #:1509323).

         208. OptumInsight provides data, analytics and consulting to companies with the

healthcare industry, including the Manufacturer Defendants.

         209. OptumInsight is an integral part of the Insulin Pricing Scheme and during

the relevant time period OptumInsight coordinated directly with the Manufacturer

Defendants in furtherance of the Insulin Pricing Scheme. OptumInsight analyzed data and




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other information from the Manufacturer Defendants to advise the Manufacturers with

regard to the profitability of the Insulin Pricing Scheme to the benefit of all Defendants.

       210.    Defendant OptumRx Holdings, LLC, is a Delaware limited liability

corporation with a principal place of business at 2300 Main Street, Irvine, California.

       211.    OptumRx Holdings, LLC provides pharmacy benefit management services

through its subsidiaries to various health insurance entities in Mississippi.

       212.    Defendant OptumRx, Inc. is a California corporation with its principal

place of business at 2300 Main St., Irvine, California, 92614.

       213.    OptumRx, Inc. is registered to business in Mississippi and has been since

2007. OptumRx, Inc. may be served through its registered agent: CT Corporation System,

645 Lakeland East Drive, Suite 101, Flowood, Mississippi 39232.

       214.    OptumRx, Inc. holds one active PBM Permit (License #:140113 / 14.1) and

three active Non-Resident Facility Permits (License #s: 07085 / 7.1, 05333 / 2.4, 17495 /

7.1) with the Mississippi Board of Pharmacy.

       215.    During the relevant time period, OptumRx, Inc. provided the PBM and mail

order pharmacy services in Mississippi that gave rise to the Insulin Pricing Scheme, which

damaged diabetic Mississippians and the State.

       216.    As a result of numerous interlocking directorships and shared executives,

UnitedHealth Group, OptumRx Holdings, LLC and Optum, Inc are directly involved in the

conduct of and control OptumInsight and OptumRx, Inc.’s operations, management and

business decisions related to the at-issue formulary construction, negotiations and mail

order pharmacy services to the ultimate detriment of Mississippi diabetics and the State.

For example:




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        a.     These parent and subsidiaries have common officers and directors,
        including:

              Sir Andrew Witty is president of UnitedHealth Group and CEO of
               Optum, Inc.;

              Dan Schumacher is president of Optum, Inc, the Chief Strategy and
               Growth Officer at UnitedHealth Group, Inc. and oversees
               OptumInsight;

              Terry Clark is a senior vice president and chief marketing officer at
               UnitedHealth Group and oversees the branding, marketing and
               advertising for UnitedHealth Group and Optum, Inc.;

              Tom Roos serves as chief accounting officer for UnitedHealth Group
               and Optum, Inc.;

              Heather Lang is Deputy General Counsel, Subsidiary Governance at
               UnitedHealth Group, Inc. and Assistant Secretary at OptumRx, Inc.;
               and

              Peter Gill is Vice President at UnitedHealth Group, Inc. and
               Treasurer at OptumRx, Inc.

              Timothy Alan Wicks, CFO and Executive Vice President of Optum,
               Inc., is also a director of OptumRx, Inc.

        b.   UnitedHealth Group directly or indirectly owns all of the stock of
        Optum, Inc., OptumRx Holdings LLC, OptumInsight and OptumRx, Inc.

        c.      The UnitedHealth Group corporate family does not operate as
        separate entities. The public filings, documents and statements of
        UnitedHealth Group presents its subsidiaries, including Optum, Inc.,
        OptumRx Holdings LLC, OptumInsight and OptumRx, Inc. as divisions or
        departments of a single company that is “a diversified family of businesses”
        that “leverages core competencies” to “help[] people live healthier lives and
        helping make the health system work better for everyone.” The day-to-day
        operations of this corporate family reflect these public statements. These
        entities are a single business enterprise and should be treated as such as to
        all legal obligations detailed in this Third Amended Complaint. The
        UnitedHealth Group enterprise and each of these entities, both individually
        and collectively, engaged in the at-issue conduct that gave rise to the Insulin
        Pricing Scheme.




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               d.     All of the executives of Optum, Inc., OptumRx Holdings, LLC,
               OptumInsight and OptumRx, Inc. ultimately report to the executives,
               including the CEO, of UnitedHealth Group.

               e.     As stated above, UnitedHealth Group’s executives and officers are
               directly involved in the policies and business decisions of OptumInsight,
               Optum, Inc., OptumRx Holdings LLC, and OptumRx, Inc. that gave rise to
               the State’s claims in this Third Amended Complaint.

        217.   Collectively,   Defendants   UnitedHealth    Group,   Inc.,   OptumInsight,

OptumRx, Inc., OptumRx Holdings and Optum, Inc., including all predecessor and

successor entities, are referred to as “OptumRx.”

        218.   OptumRx is named as a Defendant in its capacities as a PBM and mail order

pharmacy.

        219.   In its capacity as a PBM, OptumRx coordinates with Novo Nordisk, Eli Lilly

and Sanofi regarding the false list prices for the at-issue diabetes medications, as well as

for the placement of these firms’ diabetes medications on OptumRx’s drug formularies.

        220.   OptumRx provides PBM services to more than 65 million people in the

nation through a network of more than 67,000 retail pharmacies and multiple delivery

facilities.

        221.   In 2019, OptumRx managed more than $96 billion in pharmaceutical

spending, with a revenue of $74 billion.

        222.   As illustrated in Figure 13, OptumRx rose to power through numerous

mergers with other PBMs. For example, in 2012, a large PBM, SXC Health Solutions

bought one of its largest rivals, Catalyst Health Solutions Inc. in a roughly $4.14 billion

deal. Shortly thereafter, SXC Health Solutions Corp. renamed the company, Catamaran

Corp. Following this UnitedHealth Group bought Catamaran Corp in a deal worth $12.8

billion and combined Catamaran with OptumRx.



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       223.   Prior to merging with OptumRx, Catalyst Health Solutions, Inc. and

Catamaran Corp. engaged in the at-issue PBM and mail order activities.

       224.   At all times relevant hereto, OptumRx derived substantial revenue providing

pharmacy benefits in Mississippi.

       225.   From 2006-2015, OptumRx provided the at-issue PBM and pharmacy

services to the State’s health plan—the State and School Employees Health Insurance

Management Board.

       226.   At all times relevant hereto, and contrary to all of their express

representations, OptumRx has knowingly insisted that its payor clients, including the

State, use the false list prices produced by the Insulin Pricing Scheme as the basis for

reimbursement of the at-issue drugs.

       227.   At all times relevant hereto, OptumRx has concealed its critical role in the

generation of those false list prices.

       228.   At all times relevant hereto, OptumRx offered pharmacy benefit

management services and maintained standard formularies in Mississippi. During the

relevant time period, those formularies included diabetes medications, including all of

those at issue in this Third Amended Complaint.

       229.   In its capacity as a mail order pharmacy, OptumRx received payments from

Mississippi diabetics and payors for, and set the out-of-pocket price paid for, the at-issue

drugs based on the falsely inflated prices produced by the Insulin Pricing Scheme and, as

a result, damaged Mississippi diabetics and payors.

       230.   At all times relevant hereto, OptumRx derived substantial revenue through

its mail order pharmacies in Mississippi.




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       231.   At all times relevant hereto, OptumRx had express agreements with

Defendants Novo Nordisk, Sanofi and Eli Lilly related to the Manufacturer Payments paid

by the Manufacturer Defendants to OptumRx, as well as agreements related to the

Manufacturers’ at-issue drugs sold through OptumRx’s mail order pharmacies, including

in Mississippi.

       232.   Collectively, CVS Caremark, Optum Rx and Express Scripts are referred to

as “PBM Defendants” or “PBMs.”

                                          Sovereign Interest

       233.   This action seeks, on behalf of the State of Mississippi and its citizens, legal

and equitable relief to redress injury and damage, as well as injunctive relief seeking an

end to the Insulin Pricing Scheme. The State of Mississippi has a sovereign interest in

protecting the well-being of the hundreds of thousands of diabetic citizens of the State of

Mississippi who rely on Defendants’ diabetic medications and have been damaged, and

continue to be damaged, by the Defendants’ unlawful conduct.

       234.   Further, as a direct result of Defendants’ false and deceptive scheme, the

State of Mississippi has been damaged by having to pay millions of dollars per year in

overcharges for Defendants’ diabetes medications as a payor for and purchaser of the at-

issue drugs and having to pay for increased healthcare costs caused by the Insulin Pricing

Scheme.

       235.   The State of Mississippi is a real party in interest in this action. Acting as a

constitutional officer of the State of Mississippi possessing all the power and authority

under the common law and statute, the Attorney General institutes this action to protect

the health and economic interests of its residents, its own interests and the integrity of its

marketplace. The Attorney General is authorized to bring this action on behalf of the State


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as parens patriae, representative of its citizens and chief legal officer, to recover damages,

punitive damages, restitution, penalties, disgorgement, injunctive relief and to remediate

all harm arising out of—and provide full relief for—violations of Mississippi laws. The

Attorney General brings this action on the State’s behalf pursuant to her authority granted

by Miss. Const. Art. 6, § 173 and Miss. Code Ann. § 7-5-1; Miss. Code Ann. §§ 75-24-1, et

seq.

                                    JURISDICTION AND VENUE

         236.    This Court has personal jurisdiction over each Defendant. Each Defendant:

(a) transacts business and/or is admitted to do business within Mississippi, (b) maintains

substantial contacts in Mississippi, and (c) committed the violations of Mississippi statutes

and common law at issue in this lawsuit within Mississippi. The Insulin Pricing Scheme

has been directed at, and has had the foreseeable and intended effect of, causing injury to

persons residing in, located in, or doing business in Mississippi, and to the State itself. All

of the at-issue transactions occurred in Mississippi and/or involved Mississippi residents.

This Court has personal jurisdiction over all Defendants pursuant to Fed. R. Civ. P.

4(k)(1)(A) because they would be subject to the jurisdiction of a court of general

jurisdiction in Mississippi.

         237.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c),

because each Defendant transacts business in, is found in, and/or has agents in this

District, and the actions giving rise to the Complaint took place within this District. In

particular, at all times during the relevant time period, Defendants provided pharmacy

benefit services, provided mail order pharmacy services, employed sales representatives,

promoted and sold diabetes medications and published prices of the at issue drugs in this

District.


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                                      FACTUAL ALLEGATIONS

       A.     Diabetes and Insulin Therapy

                            Diabetes: A Growing Epidemic

       238.   Diabetes is a disease that occurs when a person’s blood glucose, also called

blood sugar, is too high. In a non-diabetic person, the pancreas secretes the hormone

insulin, which controls the rate at which food is converted to glucose, or sugar, in the blood.

When there is not enough insulin or cells stop responding to insulin, too much blood sugar

stays in the bloodstream. Over time, that can cause serious health problems, such as heart

disease, vision loss and kidney disease.

       239.   There are two basic types of diabetes. Roughly 90-95% of diabetics

developed the disease because they do not produce enough insulin or have become

resistant to the insulin their bodies do produce. Known as Type 2, this form of diabetes is

often developed later in life. While Type 2 patients can initially be treated with tablets, in

the long term most patients have to switch to insulin injections.

       240. Type 1 diabetes occurs when a patient completely ceases insulin production.

In contrast to Type 2 patients, people with Type 1 diabetes do not produce any insulin and,

without regular injections of insulin, they will die.

       241.   Insulin treatments are a necessary part of life for those who have diabetes

and interruptions to a diabetic’s insulin regimen can have severe consequences. Missed or

inadequate insulin therapy can trigger hyperglycemia and then diabetic ketoacidosis. Left

untreated, diabetic ketoacidosis can lead to loss of consciousness and death within days.

       242.   The number of Americans with diabetes has exploded in the last half century.

In 1958, only 1.6 million people in the United States had diabetes. By the turn of the

century, that number had grown to over ten (10) million. Fourteen (14) years later, the


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count tripled again. Now over thirty (30) million people—9.4% of the country—live with

the disease.

       243.    Likewise, the prevalence of diabetes in Mississippi has been steadily

increasing as well, approximately 400,000 Mississippi adults now live with diabetes and

another 750,000 have prediabetes.

       244.    The burden of diabetes is not equally distributed in Mississippi. Diabetes is

significantly more prevalent in impoverished regions such as the Mississippi Delta. Nearly

1 in 4 Mississippians who earn less than $25,000 a year have diabetes.

       245.    Minority communities are also disproportionally affected by this disease—

nearly 20% of Black Mississippians have diabetes.

                             Insulin: A Century Old Drug

       246.    Despite its potentially deadly impact, diabetes is a highly treatable illness.

For patients who are able to follow a prescribed treatment plan consistently, the health

complications associated with the disease are avoidable.

       247.    Unlike many high-burden diseases, treatment for diabetes has been

available for almost a century.

       248.    In 1922, Frederick Banting and Charles Best, while working at the University

of Toronto, pioneered a technique for removing insulin from an animal pancreas that

could then be used to treat diabetes. After discovery, Banting and Best obtained a patent

and then sold it to the University of Toronto for $1 (equivalent of $14 today), explaining

“[w]hen the details of the method of preparation are published anyone would be free to

prepare the extract, but no one could secure a profitable monopoly.”

       249.    After purchasing the patent, the University of Toronto contracted with

Defendants Eli Lilly and Novo Nordisk to scale their production. Under this arrangement,


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Eli Lilly and Novo Nordisk were allowed to apply for patents on variations to the

manufacturing process.

      250.   Although early iterations of insulin were immediately perceived as

lifesaving, there have been numerous incremental improvements since its discovery. The

earliest insulin was derived from animals and, until the 1980s, was the only treatment for

diabetes.

      251.   While effective, animal-derived insulin created the risk of allergic reaction.

This risk was lessened in 1982 when synthetic insulin, known as human insulin, was

developed by Defendant Eli Lilly. Eli Lilly marketed this insulin as Humulin. The

development of human insulin benefited heavily from government and non-profit funding

through the National Institute of Health and the American Cancer Society.

      252.   Over a decade later, Defendant Eli Lilly developed the first analog insulin,

Humalog, in 1996.

      253.   Analog insulin is laboratory grown and genetically altered insulin. Analogs

are slight variations on human insulin that make the injected treatment act more like the

insulin naturally produced and regulated by the body.

      254.   Other rapid-acting analogs are Defendant Novo Nordisk’s Novolog and

Defendant Sanofi’s Apidra, with similar profiles. Diabetics use these rapid-acting insulins

in combination with longer-acting insulins, such as Sanofi’s Lantus and Novo Nordisk’s

Levemir.

      255.   Manufacturer Defendants introduced these rapid-acting and long-acting

analog insulins between 1996 and 2007.




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          256.   In 2015, Sanofi introduced Toujeo, another long-acting insulin also similar

to Lantus, however Toujeo is highly concentrated, making injection volume smaller than

Lantus.

          257.   In 2016, Eli Lilly introduced Basaglar, which is a long-acting insulin that is

biologically similar to Sanofi’s Lantus.

          258.   Even though insulin was first extracted nearly one hundred (100) years ago,

only Defendants Eli Lilly, Novo Nordisk and Sanofi manufacture insulin in the United

States.

          259.   Many of the at-issue diabetes medications are now off patent. However, the

Manufacturers have engaged in illicit tactics to maintain their complete market

dominance.

          260. Due in large part to their ability to stifle all competition, Manufacturer

Defendants make 99% of the insulins in the market today.

                                Current Insulin Landscape

          261.   While insulin today is generally safer and more convenient to use than when

originally developed in 1922, there remain questions whether the overall efficacy of insulin

has significantly improved over the last twenty (20) years.

          262.   For example, while long-acting analogs may have certain advantages over

human insulins, such as affording more flexibility around mealtime planning, it has yet to

be shown that analogs lead to better long-term outcomes.

          263.   A recent study published in the Journal of American Medical Association

suggests that older human insulins may work just as well as newer analog insulins for

patients with Type 2 diabetes.




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         264.   When discussing the latest iterations of insulins, Harvard Medical School

professor David Nathan recently stated:

         I don’t think it takes a cynic such as myself to see most of these [insulins] are
         being developed to preserve patent protection. The truth is they are
         marginally different, and the clinical benefits of them over the older drugs
         have been zero.

         265.   Moreover, all of the insulins at issue in this case have either been available

in the same form since the late 1990s/early 2000s or are biologically equivalent to insulins

that were available then.

         266.   Dr. Kasia Lipska, a Yale researcher and author of a 2018 study in the Journal

of the American Medical Association on the cost of insulin, explained:

         We’re not even talking about rising prices for better products here. I want to
         make it clear that we’re talking about rising prices for the same product . . .
         there’s nothing that’s changed about Humalog. It’s the same insulin that’s
         just gone up in price and now costs ten times more.

         267.   Nor have the production or research and development costs increased. In

fact, in the last ten (10) years, the production costs of insulin have decreased as

manufacturers simplified and optimized processes. A September 2018 study published in

BMJ Global Health calculated that, based on production costs, a reasonable price for a

year’s supply of human insulin is $48 to $71 per person and between $78 and $133 for

analog insulins—which includes delivering a profit to manufacturers.

         268.   Another recent study noted anecdotal evidence that the Manufacturers could

be profitable charging under $2 a vial. While the study estimated the total cost (including

device and cold-chain distribution) to produce a vial of analog insulin was $2.50, the study

noted:

         If we are wrong on [the $2.50 cost estimate] it would be by overestimating
         them. In short, [while we calculate] costs are likely around $2.50 pen/vial . .
         . in discussion with Biocon (a foreign insulin manufacturer) we were told


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       insulin price in India was ∼$2/vial and Biocon is “comfortably profitable” at
       that level. In another discussion we were told Sanofi offered Lantus at under
       $1.60 in certain emerging markets national tenders.

       269.   These figures stand in stark contrast to the $5,705 that a diabetic spent, on

average, for insulin in 2016.

       270.   Further, while research and development costs often make up a large

percentage of the price of a drug, in the case of insulin the initial basic research—original

drug discovery and patient trials—was performed one hundred (100) years ago.

       271.   Even the more recent costs, such as developing the recombinant DNA

fermentation process and the creation of insulin analogs, were incurred decades ago.

       272.   Today, Manufacturer Defendants only spend a fraction of the billions of

dollars in revenue they generate from the at-issue drugs on research and development.

       273.   Despite this decrease in production costs and no new research and

development, the reported price of insulins has risen astronomically over the last fifteen

(15) years.

                       Insulin Adjuncts: Type 2 Medications

       274.   Over the past decade, Manufacturer Defendants have also released a number

of combination or non-insulin medications that help control the level of insulin in the

bloodstream of Type 2 diabetics.

       275.   In 2010, Novo Nordisk released Victoza as an adjunct to insulin to improve

glycemic control. In 2014, Eli Lilly released a similar drug, Trulicity, and in 2017, Novo

Nordisk did the same with Ozempic. In 2016, Sanofi released Soliqua, a combination

insulin and insulin adjunct drug.

       276.   Victoza, Trulicity and Ozempic are all medications known as glucagon-like

peptide-1 receptor agonists (“GLP-1”) and are similar to the GLP-1 hormone that is already


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produced in the body. Each of these drugs can be used in conjunction with insulins to

control diabetes. Soliqua is a combination GLP-1 and long acting human insulin analog.

       277.   Today, Manufacturer Defendants have a dominant position in the market for

all diabetes medications. The following is a list of diabetes medications at issue in this

lawsuit.




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       B.     The Dramatic Rise in the Price of Diabetes Medications

       278.   In 2003, PBMs began their rise to power (which will be discussed in greater

detail in the next section).

       279.   That same year, the price of insulin began its dramatic rise to its current

exorbitant level.

       280. Since 2003, the list price of certain insulins has increased in some cases

by more than 1000%; an astounding increase especially when compared to a general

inflation rate of 8.3% and a medical inflation rate of 46% in this time period.

       281.   By 2016, the average price per month of the four most popular types of

insulin rose to $450 — and costs continue to rise, so much so that now one in four diabetics

are skimping on or skipping lifesaving doses. This behavior is dangerous to a diabetic’s

health and can lead to a variety of complications and even death.

       282.   Since 1997, Defendant Eli Lilly has falsely inflated the list price of a vial of

Humulin R (500U/ML) from $165 to $1784 (See Figure 2).




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     Figure 2: Rising reported prices of Humulin R (500U/mL)
                          from 1997-2021




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       283.   Since 1996, Defendant Eli Lilly has falsely inflated the list price for a package

of pens of Humalog from less than $100 to $663 and from less than $50 for a vial to $342

(See Figure 3).

          Figure 3: Rising reported prices of Humalog vials and pens
                               from 1996-2021




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      284.   Novo Nordisk has falsely inflated its list prices—from 2006 to 2020, Levemir

rose from $162 to $555 for pens and from under $100 to $370 per vial (See Figure 4).

         Figure 4: Rising reported prices of Levemir from 2006-2021




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       285.    From 2002 to 2020, Novo Nordisk falsely inflated the list price of Novolog

from $108 to $671 for a package of pens and from less than $50 to $347 for a vial (See

Figure 5).

             Figure 5: Rising reported prices of Novolog vials and pens
                                  from 2002-2021




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       286.    Defendant Sanofi has kept pace as well, falsely inflating the list price for

Lantus, the top-selling analog insulin, from less than $200 in 2006, to over $500 in 2020

for a package of pens and from less than $50 to $340 for a vial (See Figure 6).

              Figure 6: Rising reported prices of Lantus vials and pens
                                  from 2001-2021




       287.    Manufacturer     Defendants’    non-insulin   diabetes   medications   have

experienced similar recent price increases. For example, since 2015 Eli Lilly has falsely

inflated the list price of Trulicity almost 50%.

       288. Driven by these price hikes, payors’ and diabetics’ spending on diabetes

medications has skyrocketed with totals in the tens of billions of dollars.




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         Defendant Manufacturers Have Increased Prices in Lockstep

       289.   The timing of the list price increases reveal that each Manufacturer

Defendant has not only dramatically increased prices for the at-issue diabetes treatments,

they have done so in perfect lockstep.

       290. In thirteen (13) instances since 2009, competitors Sanofi and Novo Nordisk

raised the reported prices of their insulins, Lantus and Levemir, in tandem, taking the

same price increase down to the decimal point within a few days of each other.

       291.   This practice of increasing drug prices in lockstep with competitors is known

as “shadow pricing” and, as healthcare expert Richard Evans from SSR Health recently

stated, “is pretty much a clear signal that your competitor does not intend to price-compete

with you.”

       292.   In 2016, Novo Nordisk and Sanofi’s lockstep increases for the at-issue drugs

were responsible for the highest drug price increases in the entire pharmaceutical industry.

       293.   Eli Lilly and Novo Nordisk have engaged in the same lockstep behavior with

respect to their rapid-acting analog insulins, Humalog and Novolog. Figure 7

demonstrates this collusive behavior with respect to Lantus and Levemir. Figure 8

demonstrates this behavior with respect to Novolog and Humalog.




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       Figure 7: Rising reported prices of long-acting insulins




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      Figure 8: Rising reported prices of rapid-acting insulins




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      294.   Figure 9 demonstrates this behavior with respect to the human insulins, Eli

Lilly’s Humulin and Novo Nordisk’s Novolin.

        Figure 9: Rising reported price increases for human insulins




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      295.   Figure 10 demonstrates Defendants’ lockstep price increases for their Type

2 drugs, Trulicity, Victoza, Ozempic and Soliqua.

                Figure 10: Rising reported prices of Type 2 drugs




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       296.   Figure 11 shows how, collectively, Manufacturer Defendants have

exponentially raised the prices of insulin products in near perfect unison.

                    Figure 11: Lockstep insulin price increases




       297.   Because of Manufacturer Defendants’ collusive price increases, nearly a

century after the discovery of insulin, diabetes medications have become unaffordable for

many diabetics.

       C.     Pharmaceutical Payment and Supply Chain

       298.   The prescription drug industry consists of a deliberately opaque network of

entities engaged in multiple distribution and payment structures. These entities include

drug manufacturers, wholesalers, pharmacies, health plans/third party payors, pharmacy

benefit managers and patients.

       299.   Generally speaking, branded prescription drugs, such as the at-issue

diabetes medications, are distributed in one of two ways: (1) from manufacturer to

wholesaler, wholesaler to pharmacy and pharmacy to patient or (2) from manufacturer to

mail order pharmacy to patient.

       300.   The pharmaceutical industry, however, is unique in that the pricing chain is

distinct from the distribution chain. The prices for the drugs distributed in the


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pharmaceutical chain are different for each participating entity: different actors pay

different prices set by different entities for the same drugs. The unifying factor is that the

price that each entity in the pharmaceutical chain pays for a drug is directly tied to the

manufacturer’s list price.

       301.   There is no transparency in this pricing system; typically, only a brand drug’s

list price—also known as its Average Wholesale Price (AWP) or the mathematically-related

Wholesale Acquisition Cost (WAC)—is available. To note, “Wholesale Acquisition Cost” is

not the final price that wholesalers (or any other entity in the pharmaceutical pricing

chain) pay for the Manufacturers’ drugs. The final price that a wholesaler pays the

Manufacturers is less than WAC because of post-purchase discounts.

       302.   Drug manufacturers self-report AWP or other prices upon which AWP is

based to publishing compendiums such as First DataBank, Redbook and others who then

publish that price.

       303.   As a direct result of the PBMs’ conduct, AWP persists as the most commonly

and continuously used reported price in reimbursement and payment calculations and

negotiations for both payors and patients.

                               Drug Costs for Diabetics

       304.    Whether insured or not, all Mississippi diabetics pay a substantial part of

their diabetic drug costs based on the false list prices generated by the Insulin Pricing

Scheme.

       305.   Uninsured diabetic must pay the full, point-of-sale prices (based on the false

prices generated by the Insulin Pricing Scheme) every time they fill their prescriptions. In

Mississippi, 12% of the population—or 357,138 Mississippians are uninsured.

Approximately 60,000 of uninsured Mississippians are diabetic. As a direct result of the


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Insulin Pricing Scheme, the prices uninsured Mississippians have had to pay for the at-

issue life-sustaining drugs has skyrocketed over the last fifteen years.

       306.   The uninsured are not the only patients saddled with high costs. Insured

diabetics also often pay a significant portion of a drug’s price out-of-pocket including in

deductibles, coinsurance requirements, and/or copayment requirements.

       307.   Thus, nearly all Mississippi diabetics have been damaged by having to pay

for diabetes medications out-of-pocket based upon the specific false prices generated by

the Insulin Pricing Scheme. In many cases, the Mississippi diabetics have been priced out

of these life-sustaining drugs.

       308. In addition, these exorbitant indefensible out-of-pocket costs make it more

difficult for patients to adhere to their medications, resulting in avoidable complications

and higher overall healthcare costs. An American Diabetes Association working group

recently noted that “people with high cost-sharing are less adherent to recommended

dosing, which results in short- and long-term harm to their health.” The overall economic

impact from the loss of productivity and increased healthcare costs that result from

diabetics underdosing on their insulin has been deeply damaging to the State.

       D.     PBMs’ Role in the Pharmaceutical Payment Chain

       309.   PBMs are at the center of the convoluted pharmaceutical payment chain, as

illustrated in Figure 12:




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         314.   Even where PBM Defendant’s pharmacies purchase drugs from wholesalers,

their costs are set by direct contracts with the Manufacturers.

         315.   In addition, and of particular significance here, PBM Defendants contract

with pharmaceutical manufacturers, including Manufacturer Defendants. PBMs receive

from the Manufacturers rebates, fees and the other consideration that are paid back to the

PBM (defined herein as Manufacturer Payments).

         316.   These relationships allow PBMs to exert tremendous influence over what

drugs are available throughout Mississippi, on what terms and at what prices.

         317.   Thus, PBMs are at the center of the flow of money in the pharmaceutical

supply chain. In sum:

               PBMs negotiate the price that payors pay for prescription drugs (based on
                false prices generated by the Insulin Pricing Scheme);

               they separately negotiate a different (and often lower) price that pharmacies
                in their networks receive for that same drug;

               they set the amount in fees that the pharmacy pays back to the PBM for each
                drug sold (based on false prices generated by the Insulin Pricing Scheme);

               they set the price paid for each drug sold through their mail order
                pharmacies (based on false prices generated by the Insulin Pricing Scheme);
                and

               they negotiate the amount that the Manufacturers pay back to the PBM for
                each drug sold (based on false prices generated by the Insulin Pricing
                Scheme).

         318.   Yet, for the majority of these transactions, only the PBMs are privy to the

amount that any other entity in this supply chain is paying or receiving for the exact same

drugs.

         319.   In every interaction that PBMs have within the pharmaceutical pricing chain

they stand to profit from the false prices generated by the Insulin Pricing Scheme.



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          The Rise of the PBMs in the Pharmaceutical Supply Chain

      320.   When they first came into existence in the 1960s, PBMs functioned largely

as claims processors. Over time, however, they have taken on a larger and larger role in

the pharmaceutical industry. Today, PBMs wield significant control over the drug pricing

system.

      321.   One of the roles PBMs took on, as discussed above, was negotiating with

drug manufacturers ostensibly on behalf of payors. In doing so, PBMs affirmatively

represented that they were using their leverage to drive down drug prices.

      322.   In the early 2000s, PBMs started buying pharmacies.

      323.   When a PBM combines with a pharmacy, it has additional incentive to

collude with Manufacturers to keep certain prices high.

      324.   These perverse incentives still exist today with respect to both retail and mail

order pharmacies housed within the PBMs’ corporate families.

      325.   More recently, further consolidation in the industry has afforded PBMs a

disproportionate amount of market power.

      326.   In total, nearly forty (40) different PBM entities have merged or otherwise

been absorbed into what are now the PBM Defendants.

      327.   In addition, each of the PBM Defendants are now owned by other significant

players within the pharmaceutical chain: Express Scripts merged with Cigna in a $67

billion-dollar deal, Caremark was bought by the largest pharmacy in the United States,

CVS for $21 billion, CVS also now owns Aetna following a $69 billion-dollar deal and

OptumRx was acquired by the largest health insurance company in the United States,

UnitedHealth Group.

      328.   Figure 13 depicts this consolidation within the PBM market.


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                            Figure 13: PBM consolidation




       329.   After merging or acquiring all of their competitors and now backed by multi-

billion-dollar corporations, PBM Defendants have taken over the market in the past

decade—controlling over 75% of the market and managing pharmacy benefits for over 270

million Americans.

       330.   Business is booming for PBM Defendants. Together, they report more than

$300 billion in annual revenue.

       331.   PBMs are able to use the consolidation in the market as leverage when

negotiating with other entities in the pharmaceutical pricing chain. Last year, industry

expert Lindsay Bealor Greenleaf from the Advice and Vision for the Healthcare Ecosystem

(ADVI) consulting described this imbalance in power, “it’s really difficult to engage in any



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type of fair negotiations when one of the parties has that kind of monopoly power . . . I

think that is something that is going to continue getting attention, especially as we see

more of these payors and PBMs continue to try to further consolidate.”

                  Insular Nature of the Pharmaceutical Industry

      332.     The insular nature of the PBM and pharmaceutical industry has provided

PBM Defendants with ample opportunity for contact and communication with their

competitors, as well as with Manufacturer Defendants, in order to devise and agree to the

Insulin Pricing Scheme.

      333.     Each Manufacturer Defendant is a member of the Pharmaceutical Research

and Manufacturers of America (“PhRMA”) and has routinely communicated through

PhRMA’s meetings and platforms in furtherance of the Insulin Pricing Scheme.

      334.     David Ricks, CEO of Eli Lilly, Paul Hudson, CEO of Sanofi and Douglas

Langa, Executive Vice President of Novo Nordisk, are all part of the members of

the PhRMA board of directors and/or part of the PhRMA executive leadership team.

      335.     PBM Defendants also routinely communicate through direct interaction

with the PBMs and the Manufacturers at PBM trade associations and industry

conferences.

      336.     Each year during the relevant time period, the main PBM trade association,

the Pharmaceutical Care Management Association (“PCMA”), held several yearly

conferences, including its Annual Meeting and its Business Forum conferences.

      337.     The current board of the PCMA includes Amy Bricker, President of Express

Scripts, Heather Cianfrocco, CEO of OptumRx, and Alan Lotvin, Executive Vice President

of CVS Caremark. Past board members include John Prince, President and COO of Optum,

Inc. (and former CEO of OptumRx); and Tim Wentworth, CEO of Evernorth.


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       338.     All PBM Defendants are members of and, as a result of their leadership

positions, control the PCMA. Each Manufacturer Defendant is an affiliate member of this

organization.

       339.     The PCMA annual conferences appear to be at the center of the Insulin

Pricing Scheme.

       340.     Every year, high-level representatives and corporate officers from both PBM

and Manufacturer Defendants attend these conferences to meet in person and engage in

discussions, including those in furtherance of the Insulin Pricing Scheme.

       341.     In fact, for at least the last six (6) years, all of the Manufacturer Defendants

have been “Presidential Sponsors” of these PBM conferences.

       342.     Notably, many of the forums at these conferences are specifically advertised

as offering opportunities for private, non-public communications. For example, as

Presidential Sponsors of these conferences, Manufacturer Defendants each hosted

“private meeting rooms” that offer “excellent opportunities for . . . one-on-one interactions

between PBM and pharma executives.”

       343.     From at least 2010-2019, representatives from each Manufacturer

Defendant met privately with representatives from each PBM Defendant during both the

Annual Meetings and Business Forum conferences that the PCMA held each year.

       344.     Prior to these meetings dedicated teams of executives from each Defendant

would spend weeks preparing PCMA “pre-reads” and reports in preparation for these

meetings. These reports not only demonstrate the deep involvement of each Defendant in

the Insulin Pricing Scheme, but they also reflect the tangled web that gave rise to

the scheme.




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      345.     In addition, all PCMA members, affiliates and registered attendees of these

conferences are invited to join PCMA-Connect, “an invitation-only LinkedIn Group and

online networking community.” As PCMA members, PCMA-Connect provides PBM and

Manufacturer Defendants with a year-round, non-public online forum to engage in private

discussions in furtherance of the Insulin Pricing Scheme.

      346.     Notably, key at-issue lockstep price increases occurred shortly after the

Defendants met at PCMA meetings.          For example, on September 26 and 27, 2017

the PCMA held its annual meeting where each of the Manufacturer Defendants hosted

private rooms and executives from each Defendant engaged in several meetings

throughout the conference. Several days after the conference, on October 1, 2017,

Sanofi increased Lantus’s list price by 3% and Toujeo’s list by 5.4%. A few weeks

later Novo Nordisk recommended that the company make a 4% list price increase on

January 1, 2018 to match the Sanofi increase, which was approved Nov 3, 2017.

      347.     Likewise, on May 31, 2014, Novo Nordisk raised the list price of Levemir

several hours after Sanofi took its list price increase on Lantus and this occurred

only a few weeks after a PCMA spring conference in Washington DC.

      348.     Communications between PBM Defendants are facilitated by the fluidity and

frequency with which executives move from one PBM Defendant to another. Examples

include:

              Mark Thierer worked as an executive at the PBM Medco (now Express
               Scripts) until he became the CEO of OptumRx in 2016;

              Albert Thigpen was a Senior Vice President at CVS Caremark prior to
               becoming a Senior Vice President at OptumRx in 2011; and

              Bill Kiefer was a Vice President of Express Scripts before becoming a Senior
               Vice President at OptumRx in 2015.



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       E.     The Insulin Pricing Scheme

       349.   The market for the at-issue diabetes medications is unique in that it is highly

concentrated with little to no generic/biosimilar options and the drugs have similar

efficacy and risk profiles. In fact, PBMs and the Manufacturer Defendants treat the at-

issue drugs as commodity products in constructing the PBMs’ formularies.

       350.   In such a market, where manufacturing costs have significantly decreased,

PBMs should have great leverage in negotiating with the Manufacturer Defendants to drive

prices down in exchange for formulary placement.

       351.   But the PBMs do not want the prices for diabetes medications to go down

because they make more money on higher prices. So do the Manufacturers.

       352.   As a result, Defendants have found a way to game the system for their mutual

benefit—the Insulin Pricing Scheme. Consequently, the insulin market does not function

as a normal market in which competition leads to a decrease in prices.

       353.   PBM Defendants’ formularies are at the center of the Insulin Pricing

Scheme. Given the asymmetry of information between payors and PBM Defendants and

the costs associated with making formulary changes, most payors accept the standard

formularies offered by the PBMs.

       354.   Controlling the standard formularies gives PBM Defendants a crucial

point of leverage over the system.

       355.   Manufacturer Defendants recognize that because PBM Defendants have

such a dominant market share, if they chose to exclude a particular diabetes medication

from their standard formularies, or give it a non-preferred position, it could mean billions

of dollars in profit loss for Manufacturer Defendants.




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       356.   For example, Olivier Brandicourt, Sanofi’s Chief Executive Officer, in a

recent interviewed stressed the importance of the PBMs’ standard formularies: “if you look

at the way [CVS Caremark] is organized in the U.S . . . 15 million [lives] are part of [CVS

Caremark’s standard] formulary and that’s very strict, all right. So, [if we were not included

in CVS Caremark’s standard formulary] we wouldn’t have access to those 15 million lives.”

       357.   Manufacturer Defendants also recognize that the PBM Defendants profits

are directly tied to the Manufacturers’ list prices.

       358.   Because the Manufacturer Defendants know that—contrary to their public

representations—PBM Defendants make more money from increasing prices, over the

course of the last fifteen years and working in coordination with the PBMs, the

Manufacturers have falsely inflated their list prices for the at-issue drugs exponentially

and paid larger and larger amounts of Manufacturer Payments back to the PBMs.

       359.   In exchange for the Manufacturers inflating these prices and paying the

PBMs substantial amounts in Manufacturer Payments, PBM Defendants grant

Manufacturer Defendants’ diabetes medications with the most elevated price and that is

the most profitable to the PBMs preferred status on their standard formularies.

       360.   Thus—and contrary to their public representations—the PBM Defendants’

agreements with the Manufacturer Defendants (and the standard formularies that result

from these agreements) are incentivizing and are responsible for the precipitous price

increases for the at-issue diabetes medications.

       361.   At all times relevant hereto the PBM Defendants have known that the list

prices for the at-issue drugs are grossly inflated and false for this reason.

       362.   Despite this knowledge, PBMs include this false price in their contracts to

set the rate that payors pay for the at-issue drugs.


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       363.   As a result of the Insulin Pricing Scheme, every diabetic and payor has been

overcharged for the at-issue drugs because of these false list prices.

       364.   Importantly, the Insulin Pricing Scheme is a coordinated effort between the

Manufacturer and PBM Defendants, that each agreed to and participated in and that

created enormous profits for all of Defendants. For example:

             Manufacturers and PBMs are in constant communication and regularly
              meet and exchange information to construct and refine the PBM formularies
              that fuel the scheme. As part of these communications, the Manufacturers
              are directly involved in determining not only where their own diabetes
              medications are placed on the PBMs’ formularies and with what restrictions,
              but also determining the same for competing products;

             Manufacturers and PBMs share confidential and proprietary information
              with each other in furtherance of the Insulin Pricing Scheme, such as market
              data gleaned from the PBMs’ drug utilization tracking efforts and mail order
              pharmacy claims, internal medical efficacy studies and financial data.
              Defendants then use this information in coordination to set the false prices
              for the at-issue medications and construct their formularies in the manner
              that is most profitable for both sets of Defendants. The data that is used to
              further this coordinated scheme is compiled, analyzed and shared either by
              departments directly housed within the PBM or by subsidiaries of the PBM,
              as is the case with OptumRx which utilizes OptumInsight and Optum
              Analytics; and

             Manufacturers and PBMs engage in coordinated outreach programs directly
              to patients, pharmacies and prescribing physicians to convince them to
              switch to the diabetes medications that are more profitable for the PBMs and
              Manufacturers, even drafting and editing letters in tandem to send out to
              diabetes patients on behalf of the PBMs’ clients.

       365.   Far from using their prodigious bargaining power to lower drug prices as

they claim, Defendants use their dominant positions to work together to generate billions

of dollars at the expense of Mississippi diabetics and the State.




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       F.       Defendants Admit That They Have Engaged in The Insulin
                Pricing Scheme and That It Is Harming Diabetics

       366.     On April 10, 2019, the United States House of Representatives Committee

on Energy and Commerce held a hearing on Defendants’ Insulin Pricing Scheme titled,

“Priced Out Of A Lifesaving Drug: Getting Answers on the Rising Cost of Insulin.”8

       367.     Representatives from all Defendants testified at the hearing and each

acknowledged before Congress that the price for insulin has increased exponentially in the

past fifteen (15) years.

       368.     Further, each Defendant explicitly admitted that the price that diabetics

have to pay out-of-pocket for insulin is too high. For example:

               Dr. Sumit Dutta, Chief Medical Officer of OptumRx stated, “A lack of
                meaningful competition allows the [M]anufacturers to set high [reported]
                prices and continually increase them which is odd for a drug that is nearly
                100 years old and which has seen no significant innovation in decades. These
                price increases have a real impact on consumers in the form of higher out-
                of-pocket costs.”

               Thomas Moriarty, Chief Policy and External Affairs Officer and General
                Counsel for CVS Health testified, “A real barrier in our country to achieving
                good health is cost, including the price of insulin products which are too
                expensive for too many Americans. Over the last several years, [reported]
                prices for insulin have increased nearly 50 percent. And over the last ten
                years, [reported] price of one product, Lantus, rose by 184 percent.”

               Mike Mason, Senior Vice President of Eli Lilly when discussing how much
                diabetics pay out-of-pocket for insulin stated “it’s difficult for me to hear
                anyone in the diabetes community worry about the cost of insulin. Too many
                people today don’t have affordable access to chronic medications . . .”

               Kathleen Tregoning, Executive Vice President External Affairs at Sanofi,
                testified, “Patients are rightfully angry about rising out-of-pocket costs and
                we all have a responsibility to address a system that is clearly failing too
                many people. . . we recognize the need to address the very real challenges of
                affordability . . . Since 2012, average out-of-pocket costs for Lantus have
                risen approximately 60 percent for patients . . .”


8 https://www.congress.gov/event/116th-congress/house-event/109299?s=1&r=3.




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              Doug Langa, Executive Vice President of Novo Nordisk, stated, “On the issue
               of affordability . . . I will tell you that at Novo Nordisk we are accountable for
               the [reported] prices of our medicines. We also know that [reported] price
               matters to many, particularly those in high-deductible health plans and
               those that are uninsured.”

       369.    Notably, none of the testifying Defendants claimed that the significant

increase in the price of insulin was related to competitive factors such as increased costs

or improved clinical benefit.

       370.    None of the Defendants pointed to any other participant in the

pharmaceutical pricing chain as responsible for the exorbitant price increases for these

diabetes medications—nor could they—for these Defendants collectively are solely

responsible for the price of almost every single vial of insulin sold in the United States.

       371.    Defendants admitted that they agreed to and did participate in the Insulin

Pricing Scheme and that the rise in prices was a direct result of the scheme.

       372.    For example, at the April 2019 Congressional hearing Novo Nordisk’s

President, Doug Langa, explained Novo Nordisk’s and PBM Defendants’ role in

perpetuating the “perverse incentives” of the Insulin Pricing Scheme:

       [T]here is this perverse incentive and misaligned incentives (in the insulin
       pricing system) and this encouragement to keep [reported] prices high. And
       we’ve been participating in that system because the higher the [reported]
       price, the higher the rebate . . . There is a significant demand for rebates. We
       spend almost $18 billion in rebates in 2018 . . . [I]f we eliminate all the
       rebates . . . we would be in jeopardy of losing [our formulary] positions.
       (Emphasis added).

       373.    Eli Lilly, too, has admitted that it raises reported prices as a quid pro quo for

formulary positions. At the April 2019 Congressional hearing, Mike Mason, Senior Vice

President of Eli Lilly testified:

       Seventy-five percent of our [reported] price is paid for rebates and discounts
       to secure [formulary position] . . . $210 of a vial of Humalog is paid for



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         discounts and rebates. . . We have to provide rebates [to PBMs] in order to
         provide and compete for [formulary position].

         374.     Sanofi has also conceded its participation in the Insulin Pricing Scheme.

When testifying at the April 2019 Congressional hearing, Kathleen Tregoning, Executive

Vice President for External Affairs of Sanofi, testified:

         The rebates are how the system has evolved. . . I think the system became
         complex and rebates generated through negotiations with PBMs are being
         used to finance other parts of the healthcare system and not to lower prices
         to the patient.

         375.     PBM Defendants also admitted at the April 2019 Congressional hearing that

they grant preferred, or even exclusive, formulary position because of higher Manufacturer

Payments paid by Manufacturer Defendants.

         376.     Amy Bricker, President of Express Scripts, when asked to explain why

Express Scripts did not grant an insulin with a lower reported price preferred formulary

status, answered, “Manufacturers do give higher [payments] for exclusive [formulary]

position . . .”

         377.     While all of the Defendants acknowledged their participation in the Insulin

Pricing Scheme before Congress, in an effort to avoid culpability for the precipitous price

increase each Defendant group pointed the finger at the other as the more responsible

party.

         378.     PBM Defendants specifically testified to Congress that Manufacturer

Defendants are solely responsible for their price increases and that the Manufacturer

Payments that the PBMs receive are not correlated to rising insulin prices.

         379.     This statement is objectively false. A February 2020 study by the Leonard D.

Schaeffer Center for Health Policy & Economics at the University of South California titled

“The Association Between Drug Rebates and List Prices,” found that an increase in the


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amount that the Manufacturers pay back to the PBMs is directly correlated to an increase

in prices—on average, a $1 increase in Manufacturer Payments is associated with a $1.17

increase in price—and that reducing or eliminating Manufacturer Payments could result

in lower prices and reduced out-of-pocket expenditures.

       380. Further, in large part because of the increased list prices, and related

Manufacturer Payments, PBMs profit per prescription has grown exponentially over the

same time period that insulin prices have been increasing. By way of example, since 2003

Defendant Express Scripts has seen its profit per prescription increase over 500 percent

per adjusted prescription.

       381.   The Manufacturers, on the other hand, argued before Congress that the

PBMs were to blame for high insulin prices because of their demands for higher

Manufacturer Payments in exchange for formulary placement. As a result, the

Manufacturers argue, they have not been profiting off insulin due to declining net prices

of these drugs.

       382.   However, that also is not true. A 2020 study by JAMA recently published in

the Wall Street Journal provides data suggesting that the net prices of branded insulin

products have actually increased by 51% in the past ten years.

       383.   In addition, a 2020 study from the Institute of New Economic Thinking

titled, “Profits, Innovation and Financialization in the Insulin Industry,” demonstrates

that Manufacturer Defendants are still making substantial profits from the sale of insulin

products regardless of any Manufacturer Payments they are sending back to the PBMs.

During the same time period when insulin price increases were at their steepest,

distributions to Manufacturers’ shareholders in the form of cash dividends and share

repurchases totaled $122 billion. In fact, during this time period the Manufacturers spent


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a significantly lower proportion of profits on research and development compared to

shareholder payouts.

       384.    In January 2021 the U.S. Senate Finance Committee issued a report titled

“Insulin: Examining the Factors Driving the Rising Cost of a Century Old Drug” that

detailed Congress’s findings after reviewing over 100,000 pages of internal company

documents from Sanofi, Novo Nordisk, Eli Lilly, CVS Caremark, Express Scripts,

OptumRx and Cigna (“Senate Insulin Report”). The Senate Insulin Report concluded,

inter alia:

               a.      Manufacturer Defendants are retaining more revenue from insulin
               than in the 2000s—for example, Eli Lilly has reported a steady increase
               in Humalog revenue for more than a decade—from $1.5 billion in 2007 to
               $3 billion in 2018;

               b.     Manufacturer Defendants have aggressively raised the list price
               of their insulin products absent significant advances in the efficacy of the
               drugs; and

               c.     Manufacturer Defendants only spend a fraction of their revenue
               related to the at-issue drugs on research and development—Eli Lilly spent
               $395 million on R&D costs for Humalog, Humulin and Basaglar between
               2014-2018 during which time the company generated $22.4 billion in
               revenue on these drugs.

       385.    The truth is—despite their finger pointing in front of Congress—

Manufacturers and PBMs are both responsible for their concerted efforts in creating the

Insulin Pricing Scheme. This reality was echoed in the statement from the Senate Insulin

Report, summarizing Congress’s findings of their two-year probe into the Insulin Pricing

Scheme9:

       [M]anufacturers and [PBMs] have created a vicious cycle of price increases
       that have sent costs for patients and taxpayers through the roof . . . This
       industry is anything but a free market when PBMs spur drug makers to hike

9 https://www.finance.senate.gov/imo/media/doc/Grassley-

Wyden%20Insulin%20Report%20(FINAL%201).pdf


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       list prices in order to secure prime formulary placement and greater rebates
       and fees.

       G.      Defendants Profit Off the Insulin Pricing Scheme

       386.    For Manufacturer Defendants, the Insulin Pricing Scheme affords them the

ability to pay PBM Defendants significant, yet undisclosed, Manufacturer Payments in

exchange for formulary placement—which garners Manufacturer Defendants greater

revenues from sales—without decreasing their profit margins. During the relevant time

period, PBM Defendants granted preferred formulary position to each at-issue drug in

exchange for large Manufacturer Payments and inflated prices.

       387.    Manufacturer Defendants also use the inflated price to earn hundreds of

millions of dollars in additional tax breaks by basing their deductions for donated insulins

on the inflated reported price.

       388. PBM Defendants profit off the false prices created by the Insulin Pricing

Scheme in a myriad of ways, including (1) retaining a significant—yet undisclosed—

percentage of the Manufacturers Payments, (2) using the inflated price to generate profits

from pharmacies in their network and (3) relying on the inflated price to drive up the

PBMs’ profits through their own mail order pharmacies.

            PBMs Pocket a Majority of Manufacturers’ Secret Payments

       389.    The first way in which the PBMs profit off the Insulin Pricing Scheme is by

keeping a significant portion of the secret Manufacturer Payments.

       390.    The amount that the Manufacturers pay back to the PBMs has accelerated to

represent a large percentage of the list price of diabetes medications.




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       391.    Historically, when PBMs contracted with payors, the contract allowed the

PBM to keep all or at least some of the Manufacturer Payments they received, rather than

pass them along to the payor.

       392.   Over time, payors have secured contract provisions guaranteeing them all or

some portion of the “rebates” paid by the Manufacturers to the PBMs. But—critically—

“rebates” are only a portion of the total secret Manufacturer Payments.

       393.   In this regard, PBM and Manufacturer Defendants have created a “hide-the-

ball” system where the consideration exchanged between them (and not shared with

payors) is labeled and relabeled. As more payors moved to contracts that require PBMs to

pass a majority of the manufacturer “rebates” through to the payor, PBMs have begun

renaming the Manufacturer Payments in order to keep a larger portion of this money.

Payments once known as “rebates” are now called administrative fees, volume discounts,

service fees, inflation fees or other industry jargon terms designed to obfuscate and distract

from the substantial sums being secretly exchanged.

       394.   And these renamed secret Manufacturer Payments are indeed substantial. A

recent heavily redacted complaint filed by Defendant Express Scripts revealed that

Express Scripts now retains up to 13 times more in “administrative fees” than it passes

through to payors in formulary rebates.

       395.   In addition, the PBMs have come up with numerous ingenious methods to

hide these renamed Manufacturer Payments in order keep them for themselves.

       396.   For example, with regard to the Manufacturer Payments now known as

“inflation fees,” the PBMs often create a hidden gap between how much the Manufacturers

pay them to increase their prices and the amount in “price protection guarantees” that the

PBMs agree to pay back to their client payors.


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       397.   In particular, the Manufacturer Defendants often pay the PBM Defendants

“inflation fees” in order to increase the price of their diabetes medications. The thresholds

for these payments are typically set around 6% to 8%—if the Manufacturer Defendants

raise their prices by more than 6% (or 8%) during a specified time period they pay the PBM

Defendants an additional “inflation fee” (based on a percentage of the reported prices).

       398.   For many of their clients, the PBMs have separate “price protection

guarantees” that state that if the overall drug prices for that payor increase by more than a

set amount, then the PBMs will revert a portion of that amount back to these clients.

       399.   The PBMs set these “price protection guarantees” at a higher rate than the

thresholds that trigger the Manufacturers’ “inflation fees,” usually around 10%-15%.

       400. If the Manufacturers increase their list prices more than the 6% (or 8%)

inflation fee rate but less than the 10%-15% client price protection guarantee rate, then the

PBMs keep 100% of these “inflation fee” payments.             This is a win-win for the

Manufacturers and PBMs—they get to mutually retain and share all of the benefit of these

price increases.

       401.   Another method that the PBMs have devised to hide the renamed

Manufacturer Payments is through the use of “rebate aggregators.”

       402.   Rebate aggregators, sometimes referred to as rebate group purchasing

organizations (“GPOs”), are entities that negotiate for and collect payments from drug

manufacturers, including the Manufacturer Defendants, on behalf of a large group of

pharmacy benefit managers (including the PBM Defendants) and different entities that

contract for pharmaceutical drugs.




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       403.   These rebate aggregators are often affiliated with or owned by the PBM

Defendants, such as Ascent Health Services (Express Scripts), Coalition for Advanced

Pharmacy Services and Emisar Pharma Services (OptumRx) and Zinc (CVS Caremark).

       404. The PBMs carefully guard the revenue streams from their rebate aggregator

activities, hiding them in complex contractual relationships and not reporting them

separately in their quarterly SEC filings.

       405.   Certain rebate aggregator companies are located offshore, for example, in

Switzerland (Express Scripts’ Ascent Health) or in Ireland (Emisar Pharma Services),

making oversight even more difficult.

       406. The Senate Insulin Report contained the following observation on these

rebate aggregators:

       [I]t is noteworthy that industry observers have suggested that the recent
       partnership between Express Scripts and Prime Therapeutics may serve as a
       vehicle to avoid increasing legislative and regulatory scrutiny related to
       administrative fees by channeling such fees through a Swiss-based group
       purchasing organization (GPO), Ascent Health. While there are several
       regulatory and legislative efforts underway to prohibit manufacturers from
       paying administrative fees to PBMs, there is no such effort to change the
       GPO safe harbor rules. New arrangements used by PBMs to collect fees
       should be an area of continued investigative interest for Congress.

       407.   Because the PBMs are able to hide (and retain) a majority of the secret

Manufacturer Payments that they receive, they are able to make significant profits on the

Insulin Pricing Scheme.

       408. Even in the rare cases where certain sophisticated payor clients receive a

portion of the Manufacturer Payments from their particular pharmacy benefit manager

(whether it is a PBM Defendant or not), those payors are still significantly overcharged as

a direct result of the Insulin Pricing Scheme given the extent to which Defendants have

falsely inflated the prices of the at-issue drugs.


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        Insulin Pricing Scheme Allows PBMs To Profit Off Pharmacies

       409. A second way that PBM Defendants profit off the Insulin Pricing Scheme is

by using the false price generated by the scheme to profit off the pharmacies with whom

they contract, including those in Mississippi.

       410.    PBM Defendants decide which pharmacies are included in the PBM’s

network and how much they will reimburse these pharmacies for each drug dispensed.

       411.    PBMs pocket the spread between the amount that the PBMs get paid by

their clients for the at-issue drugs (which are based on the false prices generated by the

Insulin Pricing Scheme) and the amount the PBM reimburses the pharmacy (which is

often less).

       412.    PBMs do not disclose to their clients or network pharmacies how much the

PBM is receiving from or paying to the other.

       413.    This spread pricing, like the secret Manufacturer Payment negotiation,

happens behind closed doors. There is no transparency, no commitment from PBM

Defendants to take into account the cost effectiveness of a drug and no communication to

either the payor or the pharmacy to let them know if they are getting a fair deal.

       414.    The higher the Manufacturers inflate their prices, the more money the PBMs

make off this spread.

       415.    PBMs also use the Insulin Pricing Scheme to generate additional profits from

pharmacies by charging the pharmacies post-purchase fees, including DIR fees, based on

the false prices generated by the scheme—and again, the higher the list price for each

diabetes medication sold, the more the PBMs generate in these pharmacy fees.




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           Insulin Pricing Scheme Increases PBM Mail Order Profits

       416.   A third way PBMs profit off the Insulin Pricing Scheme is through the PBM

Defendants own mail order and retail pharmacies. The higher the price that PBM

Defendants are able to get their customers, such as Mississippi diabetics and the State, to

pay for diabetes medications, the higher the profits PBM Defendants realize through their

mail order pharmacies.

       417.   Because the PBMs base the price they charge for the at-issue diabetes

medications on the false list price, the more the Manufacturers inflate these prices, the

more money the PBMs make.

       418.   PBMs also charge the Manufacturer Defendants fees related to their mail

order pharmacies, such as pharmacy supplemental discount fees, that are directly tied to

the false prices generated by the Insulin Pricing Scheme. Thus, once again, the higher the

price is, the more money the PBMs make on these fees.

       419.   A third way PBMs profit from the false prices generated by the Insulin

Pricing Scheme through their pharmacies is by way of an arbitrage purchase scheme.

Because of their coordinated efforts with the Manufacturers in furtherance of the Insulin

Pricing Scheme, the PBMs often know when the Manufacturers are going to raise their

prices. The PBMs use this knowledge to purchase large quantities of the at-issue drugs

prior to the price increases at a lower price. The PBMs then charge diabetics and payors

the higher price after the increase.

       420.   In sum, every way that the PBMs make money on diabetes medications is

directly tied to the false list prices generated by the Insulin Pricing Scheme. PBMs are not

lowering the price of diabetes medications as they publicly represent—rather they are

making billions of dollars by fueling these skyrocketing prices.


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       H.     The State and Mississippi Diabetics Purchase the At-Issue Drugs
              From Defendants

       421.   During the relevant time period, Mississippi diabetics were dispensed the at-

issue drugs by, and made out of pocket payments based on the false list prices generated

by the scheme to, each PBM Defendant’s mail order pharmacies and to CVS Caremark’s

retail pharmacies throughout Mississippi.

       422.   In addition, as a large government employer, the State provides health

benefits to its employees, retirees and their dependents and has spent millions of dollars a

year on the at-issue diabetes medications.

       423.   The State also spends millions of dollars a year purchasing the at-issue

diabetes medications for use at in state-run facilities.

       424.   To administer its health plan’s pharmaceutical programs, the State relies on

PBMs as administrative agents, for the alleged purposes of limiting administrative burden

and controlling pharmaceutical drugs costs.

       425.   The State currently relies on CVS Caremark to provide the at-issue PBM and

pharmacy services to the State’s health plan. From 1996-2005, CVS Caremark also

provided PBM services to the State. These services included developing and offering

formularies for the State’s prescription plan, constructing and managing the State’s

pharmacy network (which included CVS Caremark’s retail and mail order pharmacies),

processing pharmacy claims and providing mail order pharmacy services to State.

       426.   In providing these services to the State, CVS Caremark set the amount the

State paid for the at-issue drugs in coordination with the Manufacturer Defendants and

utilizing the false prices generated by the Insulin Pricing Scheme.




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       427.   During the relevant time period, the State paid CVS Caremark for the at-

issue drugs based on the false list prices generated by the Insulin Pricing Scheme.

       428.   From 2006-2015, OptumRx provided PBM services to the State. These

services included developing and offering formularies for the State’s prescription plan,

constructing and managing the State’s pharmacy network (which included OptumRx’s

mail order pharmacies and CVS Caremark’s retail pharmacies), processing pharmacy

claims and providing mail order pharmacy services to State.

       429.   In providing these services to the State, OptumRx set the amount the State

paid for the at-issue drugs in coordination with the Manufacturer Defendants and utilizing

the false prices generated by the Insulin Pricing Scheme.

       430.   During the relevant time period, the State paid OptumRx for the at-issue

drugs based on the false list prices generated by the Insulin Pricing Scheme.

       431.   From 2016-2020, the State relied on the PBM Prime Therapeutics for

pharmacy benefit services. During this time period, Prime Therapeutics outsourced its

Manufacturer Payment contracting to Express Scripts’ rebate aggregator entity, Ascent

Health Services. Upon information and belief, through this relationship, during the

relevant time period, Express Scripts negotiated Manufacturer Payments related to the at-

issue purchases made by the State through its health plan.

       I.     Defendants Deceived Diabetic Mississippians and the State of
              Mississippi

       432.   At no time have either Defendant group disclosed the Insulin Pricing Scheme

or the false list prices produced by it.




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   Manufacturer Defendants Deceived the State and Mississippi Diabetics

       433.   At all times during the relevant time period, Manufacturer and PBM

Defendants knew that diabetics and payors, including the State, relied on the false list

prices generated by the Insulin Pricing Scheme to pay for the at-issue drugs. That is,

Mississippi diabetics and payors, including the State, relied on the false list prices by

purchasing diabetic medications at such prices.

       434.   Manufacturer and PBM Defendants further knew that Mississippi diabetics

and payors, including the State, expected and desired to pay the lowest fair-market price

possible for the at-issue drugs.

       435.   Manufacturer and PBM Defendants knew that the artificially inflated list

prices generated by the Insulin Pricing Scheme were false and completely untethered from

the actual prices that Defendants were paid for the drugs.

       436.   As the list prices for the at-issue drugs detached completely from actual

prices, the list prices became increasingly misrepresentative to the point of becoming

unlawful.

       437.   Despite this knowledge, Manufacturer Defendants caused the false list prices

generated by the Insulin Pricing Scheme to be published throughout Mississippi through

publishing compendia and in various promotional and marketing materials distributed by

entities downstream in the drug supply chain.

       438.   Manufacturer Defendants also published these prices to the PBMs and their

pharmacies who then knowingly use the false prices to set the amount payors, like the State

of Mississippi, and diabetics pay for the at-issue drugs.




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       439.   By publishing their prices throughout Mississippi, the Manufacturers held

these prices out as a reasonable price by which to base the prices diabetics and payor pay

for the at-issue drugs.

       440. These representations are false. Manufacturer Defendants knew that their

false list prices were not remotely related to the actual price Defendants receive for the at-

issue drugs and were not based on upon transparent or competitive factors such as cost of

production or research and development.

       441.   Notably, during the relevant time period, the Manufacturers published

prices in Mississippi of $300-$400 for the same at-issue drugs that they had profitably

priced at a $1.60 in markets that had not been corrupted by the Insulin Pricing Scheme.

       442.   The Manufacturers false list prices were artificially and arbitrarily inflated in

furtherance of the Insulin Pricing Scheme to generate profits for the Manufacturer and

PBM Defendants.

       443.   Manufacturer Defendants affirmatively withheld the truth from Mississippi

diabetics and the State and specifically made these misrepresentations in furtherance of

the Insulin Pricing Scheme and to induce reliance in payors and diabetics to purchase their

at-issue drugs.

       444.   PBM Defendants ensured that the Manufacturers’ false list prices harmed

diabetics and payors by requiring that their contracts with both pharmacies and with

payors include such prices as the basis for payment.

       445.   PBMs perpetuate the use of the false insulin prices because it allows them to

obscure the actual price any entity in the drug pricing chain is paying for the at-issue drugs.

This lack of transparency affords Defendants the opportunity to construct and perpetuate

the Insulin Pricing Scheme, and to profit therefrom.


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        PBM Defendants Deceived the State and Mississippi Diabetics

       446.    PBM Defendants have deceived the State of Mississippi and diabetic

Mississippians.

       447.    The PBM Defendants have consistently and repeatedly represented that: (a)

their interests are aligned with their payor clients; (b) they work to lower the price of the

at-issue drugs; and (c) that the Manufacturer Payments the PBMs’ receive and the PBMs’

formulary construction is for the benefit of diabetics and payors and is consistent, and in

accordance with, their payor clients’ interests of reducing drug costs and improving the

health of their beneficiaries.

       448.    PBMs understand that their payor clients and diabetics rely on the PBMs to

achieve the lowest prices for the at-issue drugs and to construct formularies designed to

improve their health.

       449.    At no time have the PBM Defendants disclosed their knowledge of the false

list prices for the at-issue drugs; to the contrary, the PBMs ensured that their clients and

diabetics paid based on those false list prices.

       450.    In addition to the general misrepresentations discussed in paragraphs 87-

90, 142, 160-61, 194-95, 204 and 209 throughout the relevant time period, PBM

Defendants have purposefully, consistently and routinely made misrepresentations

specifically about their Manufacturer Payment negotiations and formulary construction

related to the at-issue diabetes medications. Examples include:

              In a public statement issued on May 11, 2010, CVS Caremark represented
               that it was focused on diabetes to “help us add value for our PBM clients and
               improve the health of plan members . . . a PBM client with 50,000 employees
               whose population has an average prevalence of diabetes could save
               approximately $3.3 million a year in medical expenditures.”




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        On June 22, 2010, Andrew Sussman, Chief Medical Officer of CVS Caremark
         stated on national television that “CVS is working to develop programs to
         hold down [diabetes] costs.”

        In a public statement issued in November 2012, CVS Caremark represented
         that formulary decisions related to insulin products “is one way the company
         helps manage costs for clients.”

        On August 31, 2016, Glen Stettin, Senior Vice President and Chief
         Innovation Officer at Express Scripts released a statement that stated
         “[d]iabetes is wreaking havoc on patients, and it is also a runaway driver of
         costs for payors . . . [Express Scripts] helps our clients and diabetes patients
         prevail over cost and care challenges created by this terrible disease.”

         o Mr. Stettin continued on to represent that Express Scripts “broaden[s]
           insulin options for patients and bend[s] down the cost curve of what is
           currently the costliest class of traditional prescription drugs.”

        In January 2017, Tim Wentworth, CEO of Express Scripts represented that
         “without PBMs, and specifically without Express Scripts, our clients would
         pay [many times] more for [insulin].”

             o Mr Wentworth continued on to state Express Scripts is dedicated to
               controlling insulin prices because “we stand up for payers and
               patients.”

        On June 1, 2018, Mark Merritt, President of PCMA, in response to a question
         about PBMs’ role in the insulin pricing system stated, “[Through their
         formulary construction], PBMs are putting pressure on drug companies to
         reduce insulin prices.”

        CVS Caremark’s Chief Policy and External Affairs Officer testified during the
         April 2019 hearings that, CVS Caremark “has taken a number of steps to
         address the impact of insulin price increases. We negotiate the best possible
         discounts off the manufacturers’ price on behalf of employers, unions,
         government programs, and beneficiaries that we serve.”

        Chief Medical Officer of OptumRx, testified before the U.S. Congress in the
         April 2019 hearing that for “insulin products . . . we negotiate with brand
         manufacturers to obtain significant discounts off list prices on behalf of our
         customers.”

        The PCMA website contains the following misrepresentations,
         “the insulin market is consolidated, hindering competition and limiting
         alternatives, leading to higher list prices on new and existing brand insulins.
         PBMs work hard to drive down costs using formulary management and
         rebates.”



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      451.    PBM Defendants not only falsely represent that they negotiate with

Manufacturer Defendants to lower the price of the at-issue diabetes medications for

payors, but also for diabetic patients as well. Examples include:

             Express Scripts’ publicly available code of conduct states, “[a]t Express
              Scripts we’re dedicated to keeping our promises to patients and clients . . .
              This commitment defines our culture, and all our collective efforts are
              focused on our mission to make the use of prescription drugs safer and more
              affordable.” (Emphasis added).

             Amy Bricker, President at Express Scripts testified before Congress in April
              2019, “At Express Scripts we negotiate lower drug prices with drug
              companies on behalf of our clients, generating savings that are returned to
              patients in the form of lower premiums and reduced out-of-pocket costs.”
              (Emphasis added).

             Amy Bricker of Express Scripts also testified at the Congressional hearing
              that “Express Scripts remains committed to . . . patients with diabetes and
              creating affordable access to their medications.” (Emphasis added).

             OptumRx’s website has stated “[t]he services we provide help improve
              health outcomes for patients while making prescription drugs more
              affordable for plan sponsors and individuals, and more sustainable for the
              country . . . the reason is simple: drug manufacturers are responsible for the
              high cost of prescription drugs . . . OptumRx negotiates better prices with
              drug manufacturers for our customers and consumers . . . At OptumRx, our
              mission is helping people live healthier lives and to help make the health
              system work better for everyone. (Emphasis added).

             In its 2017 Drug Report, CVS Caremark stated that the goal of its pharmacy
              benefit plans is to ensure “that the cost of a drug is aligned with the value it
              delivers in terms of patient outcomes . . . in 2018, we are doing even more to
              help keep drugs affordable with our new Savings Patients Money initiative.”
              (Emphasis added).

             The PCMA website states, “PBMs have kept average out-of-pocket (OOP)
              payments flat for beneficiaries with commercial insurance.”

      452.    Not only have PBM Defendants intentionally misrepresented that they use

their market power to save payors and diabetics money, they have specifically, knowingly

and falsely disavowed that their conduct drives the false insulin list prices higher.

Examples include:


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             On an Express Scripts’ earnings call in February 2017, CEO Tim Wentworth
              stated, “Drugmakers set prices, and we exist to bring those prices down.”

             Larry Merlo, head of CVS Caremark sounded a similar refrain in February
              2017, “Any suggestion that PBMs are causing prices to rise is simply
              erroneous.”

             In 2017, Express Scripts’ Wentworth went on CBS News to again argue that
              PBMs play no role in rising drug prices, stating that PBMs work to “negotiate
              with drug companies to get the prices down.”

             During the April 2019 Congressional hearings, when asked if PBM-
              negotiated rebates and discounts were causing the insulin price to increase,
              OptumRx’s Chief Medical Officer answered, “we can’t see a correlation when
              rebates raise list prices.”

             In 2019, when testifying under oath before Congress on the rising price of
              insulins, Senior Vice President Amy Bricker of Express Scripts testified, “I
              have no idea why the prices [for insulin] are so high, none of it is the fault of
              rebates.”

       453.   Throughout the relevant time period, PBM Defendants’ have also

misrepresented that they are transparent about the Manufacturer Payments that they

receive and that they pass along (or do not pass along) to payors. As stated above, this

representation is false—PBM Defendants retain many times more in total Manufacturer

Payments than the traditional formulary “rebates” they may pass through—in whole or

part—to payors.

       454.   Despite this, in 2011, OptumRx’s President stated: “We want our clients to

fully understand our pricing structure . . . [e]veryday we strive to show our commitment

to our clients, and one element of that commitment is to be open and honest about our

pricing structure.”

       455.   In a 2017 CBS News interview, Express Scripts’ CEO, represented, among

other things, that Express Scripts “absolutely transparent” about the Manufacturer




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Payments they receive and that payors, “know exactly how the dollars flow” with respect

to these Manufacturer Payments.

      456.   When testifying before Congress in April 2019, Amy Bricker, President of

Express Scripts had the following exchange with Representative John Sarbanes of

Maryland regarding the transparency (and lack thereof) of the Manufacturer Payments:

      Ms. Bricker. The rebate system is 100 percent transparent to the plan
      sponsors and the customers that we service. To the people that hire us,
      employers of America, the government, health plans, what we negotiate for
      them is transparent to them. . . [However] the reason I'm able to get the
      discounts that I can from the manufacturer is because it’s confidential [to
      the public].

      Mr. Sarbanes. What about if we made it completely transparent? Who would
      be for that?

      Ms. Bricker. Absolutely not . . . it will hurt the consumer.

      Mr. Sarbanes. I don’t buy it.

      Ms. Bricker – prices will be held high.

      Mr. Sarbanes. I am not buying it. I think a system has been built that allows
      for gaming to go on and you have all got your talking points. Ms. Tregoning
      [of Sanofi], you have said you want to guarantee patient access and
      affordability at least ten times, which is great, but there is a collaboration
      going on here . . . the system is working for both of you at the expense of the
      patient. Now I reserve most of my frustration for the moment in this setting
      for the PBMs, because I think the lack of transparency is allowing for a lot of
      manipulation. I think the rebate system is totally screwed up, that without
      transparency there is opportunity for a lot of hocus-pocus to go on with the
      rebates. Because the list price ends up being unreal in certain ways except to
      the extent that it leaves certain patients holding the bag, then the rebate is
      negotiated, but we don't know exactly what happens when the rebate is
      exchanged in terms of who ultimately benefits from that. And I think we
      need more transparency and I do not buy the argument that the patient is
      going to be worse off, the consumer is going to be worse off if we have
      absolute transparency . . . I know when you started out, I understand what
      the mission was originally with the PBMs . . . But now things have gotten
      out of control. You are too big and the lack of transparency allows you to
      manipulate the system at the expense of the patients. So I don't buy the
      argument that the patient and consumer is going to get hurt if we have
      absolute transparency. (emphasis added)


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      457.   Moreover, in at least, 2005, 2010, 2015 and 2020, each PBM Defendant

directly misrepresented to the State that it constructs formularies and negotiates with the

Manufacturer Defendants for the benefit of the State and its diabetic beneficiaries by

lowering the price of the at-issue drugs and by promoting the health of diabetics. Examples

include:

             a.     On March 23, 2010, OptumRx represented that its “formulary
             strategy focuses on clinical efficacy and lowest net cost” and that it
             “optimizes rebates for its clients” because OptumRx “is not just a vendor, but
             a partner with the State of Mississippi.” OptumRx also represented that its
             programs “help patients better manage their diabetes therapy” and help
             “clients realize savings from a greater discount on diabetic supplies.”

             b.     On March 4, 2015, OptumRx represented that “its purchasing power
             with manufacturers enables [OptumRx] to . . . drive lower overall costs [for
             the State]” and that OptumRx’s “pricing philosophy is focused on full-
             disclosure and transparency.”

             c.    In quarterly reports in 2010, 2011, 2012 and 2013, OptumRx made
             representations to the State specifically about the at-issue drugs, including:

                           “Diabetes related medications include insulin . . . continue to
                    be a growing trend due to high utilization and costly brand name
                    agents, however many diabetic agents have recently been added to the
                    [OptumRx’s formulary management program] and costs are expected
                    to decrease in the coming year.”

                          OptumRx’s formulary management program “for the insulin
                    class will help manage the trend in this class. Targeted medications
                    include Levemir and Humalog products.”

                          “[The State’s] spend for Victoza has increased 167% in 2011
                    but [OptumRx] has a program in place to manage rising costs.”

                         “Insulin is the main cause of increased trend in diabetes
                    category; there is a diabetes category in [OptumRx’s formulary
                    management program] which helps manage overall trend”

                          “Medications for Diabetes are the top spend for [the State]
                    mainly due to price increases. Insulins are part of [OptumRx’s
                    formulary management program], so [the State] is paying the lowest
                    net cost.”


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              d.     In April 2005, CVS Caremark represented to the State that it
              “successfully and cost-effectively administered the [State’s] pharmacy
              benefit program.”

              e.    On March 22, 2010, CVS Caremark’s Vice President of Strategic
              Proposals represented to the State that CVS Caremark’s PBM model
              “improv[ed] savings for the State of Mississippi.”

              f.      On March 4, 2015, CVS Caremark’s Vice President of Client Financial
              Analysis and Proposals represented to the State that “our capabilities allow
              us to identify unique opportunities that improve member health and reduce
              total health care costs for our clients” and that CVS Caremark “aggressively
              negotiat[es] discounts of drug prices.”

              g.     On April 15, 2005, Express Scripts represented to the State that “we
              have decided day in and day out to put our plan sponsors – not drug
              manufacturers – first. These decisions are reflected in the way we build our
              formularies, in the way we write our contracts with manufacturers,
              suppliers, and retail networks . . .” and that Express Scripts formulary
              selections are based on “products that provide the lowest cost . . .”

              h.     On March 4, 2015, Express Scripts’ Senior Vice President of Sales &
              Account Management represented to the State that “[Express Scripts is]
              uniquely positioned to provide the [State] and your members with the best
              path for achieving your goals, with success in providing lowest net cost in the
              pharmacy benefit and optimal health outcomes” and that Express Scripts
              “collaborates with our clients to develop formularies and manage rebate
              contracts proven to drive lowest net cost.”

       458.   The PBMs representations are false.

       459.   Contrary to their representations that their interests are aligned with

diabetics and payors, the PBMs have used their power to negotiate Manufacturer

Payments, and to construct formularies, to benefit themselves by favoring high-priced

diabetic drugs (which generate larger profits for PBMs).

       460. Contrary to their representations that they lower the price of the at-issue

drugs for diabetics—as Defendants now have expressly admitted before Congress—PBMs’

formulary construction and Manufacturer Payment negotiations have caused the amount

that diabetics pay out of pocket to significantly increase.


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       461.   Contrary to their representations that they lower the price for payors, the

PBMs’ formulary construction and Manufacturer Payment negotiations have significantly

driven up the net price paid for payors. Both European payors/consumers and federally

administered health care programs, which purchase the at-issue drugs but are not

impacted by the Insulin Pricing Scheme, pay significantly lower net/actual prices than

payors affected by the Insulin Pricing Scheme, like the State.

       462.   Contrary to their representations that they work to promote the health of

patients, as a result of the PBMs’ conduct many diabetics have been priced out of these

life-sustaining medications. As discussed further below, the impact of this has been

severe—and in some cases fatal.

       463.   Both PBM and Manufacturer Defendants knew that these representations

were false when they made them and affirmatively withheld the truth regarding the false

list prices for diabetic treatments from the State and from diabetic Mississippians.

       464.   Defendants concealed the falsity of these representations by closely guarding

their pricing structures, agreements and sales figures.

       465.   Manufacturer Defendants do not disclose to payors or the public their actual

prices they receive for the at-issue drugs or the amount in Manufacturer Payments they

offer to and pay to the PBM Defendants.

       466.   PBM Defendants do not disclose the details of their agreements with

Manufacturer Defendants or the Manufacturer Payments they receive from them—nor do

they disclose the details related to their agreements with payors and pharmacies.

       467.   Defendants do not disclose the actual prices for the at-issue drugs.




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       468.    Each Defendant also conceals its false and deceptive conduct by signing

confidentiality agreements with any entity in the supply chain who know the actual prices

of the at-issue drugs.

       469.    PBM Defendants have gone as far as suing governmental entities to block

the release of details on their pricing agreements with Manufacturers and pharmacies.

       470.    Even when audited by payors, PBM Defendants often still refuse to disclose

their agreements with Manufacturers and pharmacies, relying on overly broad

confidential agreements, claims of trade secrets and other unnecessary restrictions.

       471.    Each Defendant’s effort to conceal its pricing structures for the at-issue

drugs is evidence that each Defendant knows its conduct is false and deceptive.

       472.    To make matters worse, Mississippi diabetics, and diabetic beneficiaries of

the State’s health plans, institutions and programs, have no choice but to pay based on

Defendants’ false list prices because they need these medications to survive, and

Manufacturer Defendants make virtually all of the diabetes medications available in

Mississippi.

       473.    In sum, the entire insulin pricing structure created by the Defendants—from

the false price, to the inclusion of the false price in payor contracts, to the non-transparent

Manufacturer Payments, to the misuse of formularies, to the PBMs’ representations that

their interests are aligned with diabetics and payors and that they work to lower prices and

promote the health of diabetics—is false.

       474.    Diabetic Mississippians and the State paid for the at-issue diabetes

medications at the false prices generated by the Insulin Pricing Scheme because they relied

on these prices as reasonable bases for their life sustaining medications.




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       475.    Diabetic Mississippians and the State did not know, because the Defendants

affirmatively concealed, that (i) the list prices were falsely inflated; (ii) the list prices were

manipulated to satisfy PBM profit demands; and (iii) the list prices bore no relationship to

the prices paid for, or the pricing structure of, the at-issue drugs as they were sold to PBMs.

       J.      The Insulin Pricing Scheme Has Damaged the State of
               Mississippi and Diabetic Mississippians

The Insulin Pricing Scheme Has Damaged the State as Payor and Purchaser
                          of the At-Issue Drugs

       476.    Defendants’ Insulin Pricing Scheme has cost the State of Mississippi

hundreds of millions of dollars in overcharges.

       477.    The State of Mississippi has been directly damaged by the Insulin Pricing

Scheme as a payor/purchaser of Defendants’ at-issue diabetes medications.

       478.    The State pays for the at-issue drugs through its health plans and for use in

state-run facilities based on false list prices generated by the Insulin Pricing Scheme.

       479.    Importantly, because of Defendants’ success in hiding the Insulin Pricing

Scheme, no payor, including the State, has any idea that the prices for these particular at-

issue diabetes medications have been falsely inflated such that the prices are unlawful.

       480. As a result, the State has been unknowingly overpaying millions of dollars

every year for Manufacturer Defendants’ diabetes medications.

       481.    Thus, the Insulin Pricing Scheme has directly and proximately caused the

State to substantially overpay for diabetes medications.

       482.    Because the State continues to pay for the at-issue drugs based on the false

prices generated by the Insulin Pricing Scheme, the harm to the State is ongoing.




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     The Insulin Pricing Scheme Has Damaged the State By Increasing its
                Healthcare Costs and Decreasing Productivity

       483.   As discussed below, the rising price for the at-issue drugs has had a

devastating effect on the health of diabetics. It has also has caused a staggering increase

in healthcare costs to the State.

       484.   As a direct result of the Insulin Pricing Scheme, 1 in 4 Mississippi diabetics

can no longer afford their diabetes medication and are forced to ration and skip doses. This

forced lack of adherence to their diabetes medications leads to substantial additional

healthcare costs.

       485.    One national model projected that improved adherence to diabetes

medication would avert 699,000 emergency department visits and 341,000

hospitalizations annually, for a saving of $4.7 billion. The model further found that

eliminating the loss of adherence would lead to another $3.6 billion in savings, for a

combined potential savings of $8.3 billion.

       486.   Much of the increased healthcare costs caused by the Insulin Pricing Scheme

are shouldered by the State. As a result of the Insulin Pricing Scheme, the amount

Mississippi spends each year on diabetes-related healthcare costs has risen dramatically

during the relevant time period, now totaling more than a $1 billion a year.

       487.   Dr. Stephen Farrow, executive director of the Biloxi, Mississippi-based

National Diabetes and Obesity Research Institute, explained the devastating effect

diabetes and lack of adherence this has on the healthcare system, “If we don’t do

something, our national health system will collapse. There will be too much blindness, too

many people on dialysis. Our country will go broke.”




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       488. Lack of adherence to diabetes medications also has a significant adverse

effect on labor productivity in terms of absenteeism (missing work due to health-related

reasons), presenteeism (being present at work but not productive), and disability (inability

to perform necessary physical tasks at work).

       489.   This decrease in work productivity has further damaged the State by injuring

its economy and decreasing its tax revenue.

       The Insulin Pricing Scheme Has Damaged Mississippi Diabetics

       490. PBM and Manufacturer Defendants have exploited the drug pricing and

payment system to extract billions in profits at the expense of Mississippi diabetics.

       491.   As discussed above, Mississippi diabetics have been damaged by

Defendants’ Insulin Pricing Scheme by having to pay at least a portion of their at-issue

purchases out-of-pocket based on Defendants’ false prices generated by the Insulin Pricing

Scheme.

       492.   If Defendants’ prices were not falsely inflated as a result of the Insulin

Pricing Scheme each of the above-described diabetic Mississippians would have paid

significantly less for the at-issue diabetes medications during the relevant time period.

Diabetic Mississippians have been overcharged by millions of dollars as a result of the

Insulin Pricing Scheme.

       493.   In addition to financial losses, for many diabetic Mississippians, the Insulin

Pricing Scheme has cost them their health and emotional well-being. Unable to afford

Defendants’ price increases, many diabetics in Mississippi have begun to engage in highly

risky behaviors with respect to their disease such as rationing their insulin, skipping their

refills, injecting expired insulin, reusing needles, and avoiding doctors’ visits. To

compensate for their lack of insulin, some patients starve themselves, foregoing one or


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even two meals a day. These practices—which ineffectively control blood sugar levels—can

lead to serious complications such as kidney disease and failure, heart disease and heart

attacks, infection, amputation, and blindness.

       494.   Even when diabetics can still afford their diabetic medications, as a direct

result of PBM Defendants shifting which diabetes medications are favored on their

formularies, diabetics are often forced to switch medications every few years or go through

a lengthy appeal process (or try the favored drug first) before receiving the patient’s

preferred medication.

       495.   Switching diabetic mediations can be detrimental to a diabetics’ health

including, negatively impacting their blood sugar control for months causing dizziness,

blurred vision, weakness, fainting and shakiness.

       496.   The Insulin Pricing Scheme has pushed, and will continue to push, access to

these lifesaving drugs out of reach for many diabetes patients in Mississippi.

       497.   Because Mississippi diabetics continue to pay for the at-issue drugs based on

the false prices generated by the Insulin Pricing Scheme, the harm is ongoing.

       K.     Defendants’ Recent Efforts to Address Insulin Pricing Falls Far
              Short of Addressing the Problem

       498.   In reaction to the mounting political and public outcry, Defendants recently

have introduced programs ostensibly aimed at lowering the cost of insulins.

       499.   These affordability measures fail to address the structural issues that have

given rise to the price hikes. Rather, these steps are merely public relations stunts that do

not solve the problem.

       500. For example, in March 2019, Defendant Eli Lilly announced that it would

produce an authorized generic version of Humalog, “Insulin Lispro,” and promised that it



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would “work quickly with supply chain partners to make [the authorized generic] available

in pharmacies as quickly as possible.”

       501.      However, in the months after Eli Lilly's announcement, reports raised

questions about the availability of “Insulin Lispro” in local pharmacies.

       502.      Following this a Congressional staff report was issued examining the

availability of this drug.10 The investigative report, Inaccessible Insulin: The Broken

Promise of Eli Lilly's Authorized Generic, concluded that Eli Lilly's lower-priced,

authorized generic insulin is widely unavailable in pharmacies across the country, and that

the company has not taken meaningful steps to increase insulin accessibility and

affordability.

       503.      The conclusion of the report was that: “Eli Lilly has failed to deliver on its

promise to put a more-affordable insulin product on the shelves. Instead of giving patients

access to its generic alternative, this pharmaceutical behemoth is still charging

astronomical prices for a drug people require daily and cannot live without.”

       504.      In 2019, Novo Nordisk partnered with Walmart to offer ReliOn brand

insulins for a discounted price at Walmart. However, experts have warned that the

Walmart/Novo Nordisk insulins are not substitutes for most diabetics’ regular insulins

and should only be used in an emergency or when traveling. In particular, for many

diabetics, especially Type 1 diabetics, these insulins can be dangerous. In fact, in August

2019, a Type 1 diabetic who could no longer afford his $1,200 a month insulin prescription

died months after switching to ReliOn brand insulin due to complications from the

disease.



10 https://www.fdanews.com/ext/resources/files/2019/12-16-19-

InaccessibleInsulinreport.pdf?1576536304.


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       505.    Thus, Defendants’ “lower priced” insulin campaigns have not addressed the

problem. Mississippi diabetics and the State continue to suffer great harm as a result of

the Insulin Pricing Scheme.

                            TOLLING OF STATUTE OF LIMITATIONS

       506.    Plaintiff State of Mississippi is not subject to any applicable statute of

limitations.

       507.    Even assuming, arguendo, that the State were subject to applicable statutes

of limitations, in the alternative, the State asserts that it diligently pursued and

investigated the claims asserted in this Third Amended Complaint. Through no fault of its

own, the State did not receive inquiry notice nor learn of the factual basis for its claims in

this Third Amended Complaint and the injuries suffered therefrom until recently.

Consequently, the following tolling doctrines apply.

       A.      Discovery Rule Tolling

       508.    Neither the State, nor Mississippi diabetics, had no way of knowing about

the Insulin Pricing Scheme.

       509.    As discussed above, PBM and Manufacturer Defendants refused to disclose

the actual prices of diabetes medications realized by Defendants, the details of the

Defendants’ negotiations and payments between each other or their pricing structures and

agreements—labeling them trade secrets and protecting them with confidentiality

agreements.

       510.    Each Defendant group also affirmatively blamed the other for the price

increases described herein, and disavowed their roles in the Insulin Pricing Scheme, both

during their congressional testimonies, directly to client payors and through the media.




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       511.   The State did not discover and did not know of facts that would have caused

a reasonable person to suspect, that Defendants were engaged in the Insulin Pricing

Scheme, nor would a reasonable and diligent investigation have disclosed the true facts.

       512.   Even today, lack of transparency in the pricing of diabetes medications and

the arrangements, relationships and agreements between and among Manufacturer

Defendants and PBM Defendants that result from the Insulin Pricing Scheme continue to

obscure Defendants’ unlawful conduct from the State.

       513.   For these reasons, all applicable statutes of limitation have been tolled by

operation of the discovery rule with respect to claims identified herein.

       B.     Fraudulent Concealment Tolling

       514.   Any applicable statutes of limitation have also been tolled by the Defendants’

knowing and active concealment and denial of the facts alleged herein throughout the time

period relevant to this action, as described above.

       C.     Estoppel

       515.   Defendants were under a continuous duty to disclose to the State and

Mississippi diabetics the true character, quality and nature of the prices upon which

payments for diabetes medications were based, and the true nature of the services being

provided.

       516.   Based on the foregoing, Defendants are estopped from relying on any

statutes of limitations in defense of this action.

       D.     Continuing Violations

       517.   Any applicable statutes of limitations are also tolled because Defendants’

activities have not ceased and still continue to this day and thus any causes of action are

not complete and do not accrue until the tortious and anticompetitive acts have ceased.


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                                        CLAIMS FOR RELIEF

                              FIRST CAUSE OF ACTION

      Mississippi Consumer Protection Act. Miss. Code §§ 75-24-1, et seq
                         (Against All Defendants)

       518.   The State, on behalf of itself and as parens patriae on behalf of diabetic

Mississippians re-alleges and incorporates herein by reference each of the allegations

contained in the preceding paragraphs.

       519.   The State alleges that any and all possible conditions precedent to filing this

Mississippi Consumer Protection Act claim to seek damages have been performed or have

occurred. By correspondence from the Office of the Attorney to the Defendants dated May

17, 2021, prior to filing this lawsuit, the State reasonably attempted to resolve its claims

through an informal dispute settlement program approved by the Attorney General with

each Defendant. See Miss. Code Ann. § 75-24-15(2). Defendants failed to adequately

respond to the State’s request to resolve these claims.

       520.   Defendants are “persons” within the meaning of, and subject to, the

provisions of the Mississippi Consumer Protection Act, e.g., Miss. Code § 75-24-3(a).

       521.   By engaging in the Insulin Pricing Scheme, as described herein, Defendants

have committed acts of unfair and deceptive trade practices and acts in the conduct of

trade or commerce within the State, including in this District, as prohibited by Miss. Code

§ 75-24-5, directly or indirectly, affecting and causing harm to Mississippi diabetics and

the State.

       522.   Defendants have repeatedly and willfully engaged in the following conduct,

which constitutes a deceptive trade practice and a violation of the Mississippi Consumer

Protection Act, including but not limited to:



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        “[R]epresenting that goods or services have . . . characteristics . . . which they
         do not have . . .” Miss. Code § 75-24-5(2)(e). In particular:

         o A characteristic of every commodity in Mississippi’s economy is its price,
           which is represented by every seller to every buyer that the product being
           sold is being sold at a legal, competitive, and fair market value.

         o At no point did Defendants reveal that the prices associated with the
           lifesaving diabetic treatments at issue herein were not legal, competitive
           or at fair market value and were completely untethered from the actual
           prices realized by either Defendant group.

         o At no point did Defendants disclose that the prices associated with the
           at-issue drugs were generated by the Insulin Pricing Scheme.

         o In furtherance of Defendants’ false and deceptive conspiracy, at least
           once a year for each year during the relevant time period, Defendants
           reported and published false prices for each at-issue drug and in doing
           so represented that the reported prices were the actual, legal and fair-
           market prices for these drugs.

         o Despite knowing these prices were false, PBM Defendants ensured that
           the Manufacturers’ false list prices harmed diabetics and payors by
           requiring that their contracts with both pharmacies and with payors
           include such prices as the basis for payment.

         o In addition, with respect to the PBM Defendants, by granting the at-issue
           drugs preferred formulary position on their standard formularies—
           formulary positions that the PBMs represent are reserved for reasonably
           priced drugs and that are meant to promote the health of diabetics—PBM
           Defendants knowingly and purposefully utilized and profited from the
           false prices that the PBMs knew were generated by the Insulin Pricing
           Scheme.

         o By granting the at-issue diabetes medications preferred formulary
           positions, PBM Defendants ensured that prices generated by the Insulin
           Pricing Scheme would harm diabetics and payors, including the State.

         o PBM Defendants also misrepresented that their formularies were
           promoting the health of diabetic Mississippians, including diabetic
           beneficiaries of the State’s health plans and in state-run facilities.

         o Defendants’ representations are false, and at all relevant times
           Defendants knew they were false. Both sets of Defendants knew that the
           prices they reported and utilized are falsely inflated for the purpose of
           maximizing profits pursuant to the Insulin Pricing Scheme.




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                 o Defendants also knew that their formularies were not promoting the
                   health of diabetic Mississippians, including diabetic beneficiaries of the
                   State’s health plans, facilities and programs but rather were fueling the
                   precipitous price increases that were driving up the prices paid by
                   diabetics and payors, including the State.

                 o At all times relevant hereto, Defendants affirmatively withheld this truth
                   from diabetic Mississippians and the State even though Defendants knew
                   that the diabetic Mississippians’ and the State’s intention was to pay the
                   lowest possible fair market price for diabetes medications and
                   expectation was to pay a legal, competitive price that resulted from
                   transparent market forces.

                “[M]aking false or misleading statements of fact concerning the reasons for,
                 existence of, or amount of price reductions.” Miss. Code § 75-24-5(2)(k).

                 o In particular, at all relevant times, PBM Defendants made false and
                   misleading statements concerning the reasons for, existence of, and
                   amount of price reductions by misrepresenting that their formulary
                   construction and the Manufacturer Payments that the PBM Defendants
                   receive lower the overall price of diabetes medications and promote the
                   health of diabetics.

                 o At all times relevant hereto, these representations were false and
                   Defendants knew they were false when they made them. At all relevant
                   times, Defendants knew that the Manufacturer Payments and the PBMs’
                   negotiations with the Manufacturers were not reducing the overall price
                   of diabetes medications but rather are an integral part of the Insulin
                   Pricing Scheme and are responsible for artificially inflating the price of
                   diabetes medications.

           Defendants continue to make these misrepresentations and publish prices
            generated by the Insulin Pricing scheme; diabetic Mississippians and the State
            continue to purchase diabetes medications at Defendants’ prices as a result of
            the ongoing Insulin Pricing Scheme.

       523.      Defendants’ conduct and practice was also unfair to Mississippi consumers

and the State because it was likely to cause substantial injury and cannot be reasonably

avoided. See Miss. Code § 75-24-5(1). Furthermore, there are no countervailing benefits to

consumers that result from Defendants egregiously raising the price of the at-issue drugs.

In particular:

                Mississippi diabetics, including beneficiaries in the State’s health plans and
                 in state-run facilities, need these diabetes medications to survive.


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              Manufacturer Defendants make nearly every single vial of insulin available
               in Mississippi.

              The price increases for the at-issue drugs bear no relation to manufacturing
               or production cost increases or changes in supply and demand conditions.

              In fact, the prices have become so untethered from production costs, that
               insulins, which the Manufacturer Defendants could profitably price at less
               than $2 a vial, are now priced at up to $400 a vial.

              There are no conceivable benefits to diabetic Mississippians or the State to
               being forced to pay these egregious prices for medicines they need to stay
               alive. In fact, the opposite is true—as a direct result of Defendants’ egregious
               price increases, Mississippi diabetics’ financial security, health and
               wellbeing have been severely and detrimentally impacted and the State has
               overpaid millions of dollars for the at-issue drugs and incurred substantial
               increased healthcare costs.

       524.    Defendants acted knowingly and in a willful, wanton or reckless disregard

for the safety of others in committing the violations of the Mississippi Consumer

Protection Act described herein.

       525.    Each at-issue purchase diabetic Mississippians and the State made for

diabetes medications at the prices generated by the Insulin Pricing Scheme constitutes a

separate violation of the Mississippi Consumer Protection Act.

       526.    The Attorney General has determined that the imposition of an injunction

against Defendants prohibiting the conduct set forth herein is in the public interest, and

the State is seeking the entry of an injunction prohibiting Defendants’ conduct in violation

of the Mississippi Consumer Protection Act.

       527.    As a direct and proximate result of Defendants’ conduct in committing the

above and foregoing violations of the Mississippi Consumer Protection Act, Defendants

are directly and jointly and severally liable to the State for all equitable relief, restitution,

damages, punitive damages, penalties and disgorgement for which recovery is sought

herein, including but not limited to, diabetic Mississippians and the State paying inflated


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prices generated by the Insulin Pricing Scheme for diabetes medications every time they

paid for an at-issue drug. Further, due to the price inflation caused by the Insulin Pricing

Scheme, many Mississippi diabetics have been priced out of these life-sustaining drugs,

leading to serious health consequences. As result, the State has incurred increased

healthcare costs and decreased tax revenues.

                            SECOND CAUSE OF ACTION

                                 Unjust Enrichment
                               (Against All Defendants)

       528.   The State, on behalf of itself and as parens patriae on behalf of diabetic

Mississippians re-alleges and incorporates herein by reference each of the allegations

contained in the preceding paragraphs.

       529.   Defendants knowingly, willfully and intentionally deceived diabetic

Mississippians and the State and have received a financial windfall from the Insulin

Pricing Scheme at the expense of diabetic Mississippians and the State.

       530.   Defendants wrongfully secured and retained unjust benefits from diabetic

Mississippians and the State and as a result of the Insulin Pricing Scheme, in the form of

amounts paid for diabetes medications and fees and payments collected based on the

prices generated by the Insulin Pricing Scheme.

       531.   It is inequitable and unconscionable for Defendants to retain these benefits.

       532.   Defendants knowingly accepted the unjust benefits of their false and

deceptive conduct.

       533.   Accordingly, Defendants should not be permitted to retain the proceeds

from the benefits conferred upon them by diabetic Mississippians and the State. The State

seeks disgorgement of Defendants’ unjustly acquired profits and other monetary benefits



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resulting from their unlawful conduct and seeks restitution and/or recission, in an

equitable and efficient fashion to be determined by the Court.

       534.    There is no express contract governing the dispute at-issue. PBMs do not

contract with payors, including the State, on an individual drug basis. Nor do Mississippi

diabetics contract on an individual drug basis. The State’s claims do not arise out of a

contract, but rather are based on the larger false and deceptive scheme that drove up the

at-issue false list prices for all diabetics and payors.

       535.    As a direct and proximate cause of Defendants’ unjust enrichment at the

expense of diabetic Mississippians and the State as referenced above, diabetic

Mississippians and the State suffered ascertainable losses and damages as specified herein

in an amount to be determined at trial.

                               THIRD CAUSE OF ACTION

                                    Civil Conspiracy
                                (Against All Defendants)

       536.    The State, on behalf of itself and as parens patriae on behalf of diabetic

Mississippians re-alleges and incorporates herein by reference each of the allegations

contained in the preceding paragraphs.

       537.    Defendants’ entered into an agreement to artificially and unlawfully inflate

the prices of insulin and diabetes medications for their profit and gain. The Defendants’

agreement to engage in such unlawful act constitutes a civil conspiracy, and Defendants’

acts in furtherance thereof violated the Mississippi Consumer Protection Act and other

state laws referenced in this Third Amended Complaint.




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       538.   In particular, each of the PBM and Manufacturer Defendants agreed to and

carried out acts in furtherance of the Insulin Pricing Scheme that artificially and

egregiously inflated the price of diabetes medications.

       539.   Each Defendant made a conscious commitment to participate in the Insulin

Pricing Scheme.

       540.   Manufacturer Defendants work in coordination with each other and the

PBMs to raise the price of the at-issue drugs in lockstep and in furtherance of the Insulin

Pricing Scheme and then pay back a significant portion of those prices to PBM Defendants.

       541.   Contrary to their representations, PBMs worked in coordination with each

other and the Manufacturers to grant higher priced at-issue drugs preferred placement on

their formularies because these drugs were more profitable for Defendants.

       542.   Each Defendant shares a common purpose of perpetuating the Insulin

Pricing Scheme and neither PBM Defendants nor Manufacturer Defendants alone could

have accomplished the Insulin Pricing Scheme without their co-conspirators.

       543.   PBM Defendants need Manufacturer Defendants to inflate the reported

price of their diabetes medications and to make secret payments back to PBM Defendants

in order for PBM Defendants to profit off the Insulin Pricing Scheme.

       544.   Manufacturer Defendants need PBM Defendants to grant their diabetes

medications preferred formulary placement in order to maintain access to a majority of

payors and diabetics.

       545.   As discussed throughout this Third Amended Complaint, the Insulin Pricing

Scheme resulted from explicit agreements between the Defendants related to the at-issue

Manufacturer Payments and formulary construction, constant communications between

the Defendants, regular in-person meetings (which included Defendants’ C-suite level


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executives) and joint outreach programs between Defendants to construct, refine and

promote the standard formularies and related Manufacturer Payments that fuel

Defendants’ fraudulent conspiracy.

      546.    In addition to direct evidence of an agreement, Defendants’ conspiracy is

also demonstrated by the following indirect evidence that Defendants conspired to engage

in false and deceptive conduct:

             Several key lockstep price increases occurred shortly after PCMA
              conferences, which included private executive exchanges and meetings that
              appear to be focused on developing and maintaining the Insulin Pricing
              Scheme, which all Manufacturer and PBM Defendants attended;

             During certain years when some of the largest at-issue price increases
              occurred, including in 2013 and 2014, certain PBMs worked directly with
              each other to negotiate Manufacturer Payments in exchange for preferred
              formulary placement;

             Defendants refuse to disclose the details of their pricing structures,
              agreements and sales figures in order maintain the secrecy of the Insulin
              Pricing Scheme;

             Numerous ongoing government investigations, hearings and inquiries have
              targeted the Insulin Pricing Scheme and the collusion between the
              Manufacturer and PBM Defendants, including:

              o In 2016, Manufacturer and PBM Defendants received civil investigative
                demands from at least the State of Washington relating to the pricing of
                their insulin products and their relationships with PBM Defendants;

              o In 2017, Manufacturer Defendants received civil investigation demands
                from the States of Minnesota, California and Florida related to the
                pricing of their insulin products and their relationships with the PBMs;

              o Letters from numerous senators and representatives in recent years to
                the Justice Department and the Federal Trade Commission asking them
                to investigate potential collusion among Defendants;

              o A 2017 House Oversight committee investigation into the corporate
                strategies of drug companies, including Manufacturer Defendants,
                seeking information on the increasing price of drugs and manufacturers
                efforts to preserve market share and pricing power;




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              o Several 2019 hearings before both the Senate Financing Committee and
                the House Oversight and Reform Committees on the Insulin Pricing
                Scheme and the collusion between the PBMs and the Manufacturers; and

              o Senate Finance Committee’s recent two-year probe into the Insulin
                Pricing Scheme and the conspiracy between the Manufacturers and the
                PBMs that resulted in the Senate Insulin Report.

      The astronomical rise in the price of the at-issue drugs coincides with PBM
       Defendants’ rise to power within the pharmaceutical pricing system starting in
       2003.

              MOTION FOR INJUNCTION PURSUANT TO MISS. CODE 75-24-
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       547.   The State, on behalf of itself and as parens patriae on behalf of diabetic

Mississippians re-alleges and incorporates herein by reference each of the allegations

contained in the preceding paragraphs.

       548.   By Defendants’ violations of the Mississippi Consumer Protection Act, the

State and Mississippi diabetic residents have suffered, and will continue to suffer injury,

loss and damage, as discussed herein.

       549.   The ongoing and threatened injury to the State and Mississippi diabetic

residents outweighs the harm that an injunction might do to Defendants.

       550.   As a direct and proximate result of the conduct of the Defendants in

committing the above and foregoing acts, the State moves this Honorable Court for

injunctive relief against the Defendants pursuant to Miss. Code 75-24-9, thereby enjoining

Defendants from committing future violations of the Mississippi Consumer Protection Act.

       551.   Granting an injunction is consistent with the public interest because it will

protect the health and economic interests of Mississippi residents and the State, as well as

the integrity of the Mississippi marketplace.




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                                                  JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff respectfully requests a

trial by jury on all issues so triable.

                                            PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, the State, bringing this action on behalf

of the State of Mississippi in its proprietary capacity on its own behalf, and on behalf of

Mississippi residents, respectfully prays for entry of judgment against the Defendants for

all the relief requested herein and to which the State may otherwise be entitled, specifically,

but without limitation, to-wit:

       A.      That the Court determine that Defendants have violated the Mississippi

               Consumer Protection Act, have been unjustly enriched and have engaged in

               a civil conspiracy;

       B.      That    this   Court       award   Plaintiff   damages,   restitution,   penalties,

               disgorgement and/or all other legal and equitable monetary remedies

               available under the state laws set forth in this Complaint and the general

               equitable powers of this Court, with interest and all exemplary and/or

               punitive damages that may be awarded, as necessary to address the harm

               caused by Defendants’ acts described in this Complaint;

       C.      That, in accordance with the Mississippi Consumer Protection Act (Miss.

               Code 75-24-9), Defendants, their affiliates, successors, transferees,

               assignees, and the officers, directors, partners, agents, and employees

               thereof, and all other persons acting or claiming to act on their behalf or in

               concert with them, be enjoined and restrained from in any manner

               continuing, maintaining or renewing the conduct, contract, conspiracy or


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        combination alleged herein in violation of the above stated Mississippi laws,

        or from entering into any other contract, conspiracy or combination having

        a similar purpose or effect, and from adopting or following any practice,

        plan, program or device having a similar purpose or effect;

  D.    That, in accordance with Miss Code. 75-24-11, this Court make any such

        additional orders or judgments, including restitution, as may be necessary

        to restore to the State and Mississippi diabetics any losses and/or damages

        incurred as a result of the Insulin Pricing Scheme;

  E.    That, in accordance with Miss Code. 75-24-19(1)(b), the State of Mississippi

        be awarded civil penalties of Ten Thousand Dollars ($10,000) for each

        purchase by the State and any Mississippi diabetic for an at-issue drug in

        Mississippi during the relevant time period at a price generated by the

        Insulin Pricing Scheme;

  F.    That, in accordance with Miss. Code 11-1-65, the State of Mississippi be

        awarded punitive damages because Defendants knowingly, willfully

        intentionally, with actual malice, or with reckless disregard for the rights of

        the State and its citizens, harmed the health, wellbeing and financial

        interests of diabetic Mississippians and the State;

  G.    That the State be awarded pre- and post-judgment interest as provided by

        law, and that such interest be awarded at the highest legal rate from and after

        the date of service of the initial complaint in this action;

  H.    That the State recover its costs of suit, including its reasonable attorney’s

        fees, as provided by law; and




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      I.      That the State be awarded such other, further and different relief as the case

              may require and the Court may deem just and proper under the

              circumstances.


RESPECTFULLY SUBMITTED this the 17th day of February, 2022.

                                   LYNN FITCH, ATTORNEY GENERAL
                                   STATE OF MISSISSIPPI


                               By: /s/ Tricia L. Beale
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                              CERTIFICATE OF SERVICE

        I, Tanya D. Ellis, counsel of record for the Plaintiff, hereby certify that on this day
I electronically filed the foregoing with the Clerk of the Court using the Court’s CM/ECF
system.

This the 17th day of February, 2022.
                                                   /s/ Tanya D. Ellis
                                                   Tanya D. Ellis
                                                   Counsel for Plaintiff




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